                           Case 22-2079, Document 48, 04/20/2023, 3502340, Page1 of 194
                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT
                  22-2079
Docket Number(s): ________________________________________                 _______________Caption [use short title]_____________________
            Leave to file Reply Brief
Motion for: ______________________________________________

________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
Leave to file reply brief in response to Keurig's response to
________________________________________________________
                                                                            In Re: JBR, Inc.
JBR's renewed petition for writ mandamus
________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________
             JBR, Inc.
MOVING PARTY:_______________________________________                Keurig
                                                     OPPOSING PARTY:____________________________________________

          ___Plaintiff                ___Defendant

          ✔
          ___Appellant/Petitioner    ___Appellee/Respondent

                Daniel Johnson Jr.
MOVING ATTORNEY:___________________________________                                 Leah Brannon
                                                          OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
Dan Johnson Law Group LLP
________________________________________________________ Cleary Gottlieb Steen & Hamilton LLP
                                                         _______________________________________________________________
1350 Old Bayshore Hwy Ste 520, Burlingame, CA 94010 _______________________________________________________________
________________________________________________________ 2112 Pennsylvania Ave NW, Washington, DC 20037

415-604-4500 / dan@danjohnsonlawgroup.com
________________________________________________________ 202-974-1508 / lbrannon@cgsh.com
                                                         _______________________________________________________________
                                    The Honorable Vernon S. Broderick
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                          FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                         INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):       Has this request for relief been made below?          ___Yes ___No
         ✔
        ___Yes     ___No (explain):__________________________             Has this relief been previously sought in this court? ___Yes ___No
        _______________________________________________                   Requested return date and explanation of emergency: ________________
                                                                          _____________________________________________________________
Opposing counsel’s position on motion:
                                                                          _____________________________________________________________
                          ✔
         ___Unopposed ___Opposed       ___Don’t Know
                                                                          _____________________________________________________________
Does opposing counsel intend to file a response:
                                                                          _____________________________________________________________
                             ✔
         ___Yes ___No ___Don’t          Know


Is oral argument on motion requested?           ✔
                                               ___Yes ___No (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?                   ✔
                                               ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:

 s/ Daniel Johnson Jr.
_________________________________      2023-04-20
                                  Date:__________________              ✔
                                                          Service by: ___CM/ECF ___Other [Attach proof of service]




Form T
F    T-1080
       1080 ((rev.12-13)
                  12 13)
  Case 22-2079, Document 48, 04/20/2023, 3502340, Page2 of 194




          22-2079
     United States Court of Appeals
                              for the

                    Second Circuit

                         In Re: JBR, INC.,
                                                             Petitioner.
       *************************************************
               JBR, INC., DBA Rogers Family Company,
                                                             Petitioner,
                               – v. –
 KEURIG GREEN MOUNTAIN INC., as successor to Keurig, Incorporated,
            FKA Green Mountain Coffee Roasters Inc.,
                                                            Respondent.

                 ––––––––––––––––––––––––––––––
      ON PETITION FROM THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF NEW YORK


DECLARATION OF DANIEL JOHNSON JR. IN SUPPORT OF
MOTION FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT
 OF RENEWED PETITION FOR WRIT OF MANDAMUS TO
   THE UNITED STATES DISTRICT COURT FOR THE
        SOUTHERN DISTRICT OF NEW YORK

                                    DANIEL JOHNSON JR.
                                    DAN JOHNSON LAW GROUP, LLP
                                    Attorneys for Petitioners JBR, Inc.
                                      d/b/a Rogers Family Company
                                    1350 Old Bayshore Highway, Suite 520
                                    Burlingame, California 94010
                                    (415) 604-4500
                                    dan@danjohnsonlawgroup.com
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page3 of 194




                                  DECLARATION

       I, Daniel Johnson Jr., declare and state as follows:

       1.     I am an attorney licensed to practice law in the State of California, and

I am admitted to practice before this Court. I am a partner at Dan Johnson Law

Group, LLP, and I am one of the attorneys representing Petitioner JBR, Inc. in the

above-captioned matter. I respectfully submit this declaration in support of

Petitioner JBR’s motion for leave to file a reply brief. This matter has not been set

for oral argument.

       2.     Respondent Keurig submitted a response brief on April 18, 2023

pursuant to this Court’s April 4, 2023 Order. Keurig’s 29-page brief includes a 12-

page factual summary and attaches 327 pages of addendum exhibits. Keurig’s

brief raises additional factual issues and arguments beyond what was addressed in

JBR’s previously filed writ submissions, and cites several new cases as well. A

reply brief will provide Petitioner JBR the opportunity to fully address the facts,

case law, and arguments relevant to the writ and provide a complete record with

respect to assertions made in Keurig’s brief. This is particularly important given

the lengthy procedural history and unique issues at stake in the nine-year litigation

at issue.

       3.     For the foregoing reasons, I believe that there is good cause to grant



                                              1
              Case 22-2079, Document 48, 04/20/2023, 3502340, Page4 of 194




JBR’s motion for leave to file a reply brief.

         4.     I have met and conferred with Respondent Keurig’s counsel, who

have indicated that they oppose Petitioner JBR’s motion for leave to file a reply

brief.

         I declare under the penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.



         Dated: April 20, 2023
                Napa, California

                                          /s/ Daniel Johnson Jr.
                                          Daniel Johnson Jr. (CA Bar No. 57409)
                                          DAN JOHNSON LAW GROUP, LLP
                                          1350 Old Bayshore Highway, Suite 520
                                          Burlingame, CA 94010
                                          Telephone: 415-604-4500
                                          dan@danjohnsonlawgroup.com




                                                2
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page5 of 194




                         CERTIFICATE OF COMPLIANCE


      I hereby certify that pursuant to Fed. R. App. P. 32(g)(1), the attached Motion

is proportionately spaced, has a typeface of 14 points and contains 270 words in

compliance with the Court’s Rules.



      Dated: April 20, 2023
             Napa, California

                                       /s/ Daniel Johnson Jr.
                                       Daniel Johnson Jr. (CA Bar No. 57409)
                                       DAN JOHNSON LAW GROUP, LLP
                                       1350 Old Bayshore Highway, Suite 520
                                       Burlingame, CA 94010
                                       Telephone: 415-604-4500
                                       dan@danjohnsonlawgroup.com




                                            3
Case 22-2079, Document 48, 04/20/2023, 3502340, Page6 of 194




                   EXHIBIT A
  Case 22-2079, Document 48, 04/20/2023, 3502340, Page7 of 194




          22-2079
     United States Court of Appeals
                              for the

                    Second Circuit

                         In Re: JBR, INC.,
                                                             Petitioner.
       *************************************************
               JBR, INC., DBA Rogers Family Company,
                                                             Petitioner,
                               – v. –
 KEURIG GREEN MOUNTAIN INC., as successor to Keurig, Incorporated,
            FKA Green Mountain Coffee Roasters Inc.,
                                                            Respondent.

                 ––––––––––––––––––––––––––––––
      ON PETITION FROM THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF NEW YORK


REPLY BRIEF IN SUPPORT OF RENEWED PETITION FOR
WRIT OF MANDAMUS TO THE UNITED STATES DISTRICT
 COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

                                    DANIEL JOHNSON JR.
                                    DAN JOHNSON LAW GROUP, LLP
                                    Attorneys for Petitioners JBR, Inc.
                                      d/b/a Rogers Family Company
                                    1350 Old Bayshore Highway, Suite 520
                                    Burlingame, California 94010
                                    (415) 604-4500
                                    dan@danjohnsonlawgroup.com
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page8 of 194




                   CORPORATE DISCLOSURE STATEMENT

      Petitioner is a privately held company and has no parent corporation or

stockholders.

                                      /s/ Daniel Johnson Jr.
                                      Daniel Johnson Jr.
                                      Dan Johnson Law Group LLP
                                      Counsel for Petitioners
                                      JBR, Inc., d/b/a Rogers Family Company

Dated: April 20, 2023




                                            i
              Case 22-2079, Document 48, 04/20/2023, 3502340, Page9 of 194




                                         TABLE OF CONTENTS

                                                                                                                      Page

CORPORATE DISCLOSURE STATEMENT ..........................................................i
TABLE OF AUTHORITIES ................................................................................... iii
INTRODUCTION ..................................................................................................... 1
ARGUMENT ............................................................................................................. 3
         1.       JBR Meets the Standard for Writ Relief ............................................... 3
         2.       The Delay Here is Extraordinary: Similar Cases have
                  Reached Trial in Far Less Time ............................................................ 6
         3.       Nothing Prevents the Court from Setting a Trial Date while
                  Motions for Summary Judgment are Pending ..................................... 11
         4.       The Delays in Judgment are Caused by the District Court, not
                  Plaintiffs .............................................................................................. 14
         5.       JBR’s Case Will Proceed More Quickly Before a New Judge ........... 18
         6.       Keurig’s Other Arguments Are Without Merit ................................... 20
CONCLUSION ........................................................................................................ 21




                                                             ii
             Case 22-2079, Document 48, 04/20/2023, 3502340, Page10 of 194




                                    TABLE OF AUTHORITIES
                                                                                                       Page(s)
Cases:
Bank of New York v. Meridien BIAO Bank Tanzania Ltd.,
  No. 95 CIV. 4856(SS), 1997 WL 53172 (S.D.N.Y. Feb. 10, 1997)....................12
Caruso Mgmt. Co. Ltd. v. Int'l Council of Shopping Centers,
  403 F. Supp. 3d 191 (S.D.N.Y. 2019) ...................................................................8
Clute v. Davenport Co.,
  116 F.R.D. 599 (D. Conn. 1987)..........................................................................11
Epic Games, Inc. v. Apple Inc.,
  559 F. Supp. 3d 898 (N.D. Cal. 2021) ...................................................................8
FTC v. Qualcomm,
  411 F. Supp. 3d 658 (N.D. Cal. 2019) ...................................................................8
In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig.,
   No. 17-MD-2785-DDC-TJJ, 2021 WL 2585065 (D. Kan. June 23, 2021) ...........8
In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig.,
   383 F. Supp. 3d 187 (S.D.N.Y. 2019) .................................................................14
In re Megan-Racine Assocs., Inc.,
   180 B.R. 375 (Bankr. N.D.N.Y. 1995) ................................................................12
In re Namenda Indirect Purchaser Antitrust Litig.,
   No. 115CV6549CMRWL, 2021 WL 2403727 (S.D.N.Y. June 11, 2021) ...........7
In re Nexium (Esomeprazole) Antitrust Litig.,
   42 F. Supp. 3d 231 (D. Mass. 2014) ......................................................................7
In re Ranbaxy Generic Drug Application Antitrust Litig.,
   573 F. Supp. 3d 459 (D. Mass. 2021) ....................................................................8
In re United States ex rel. Drummond,
   886 F.3d 448 (5th Cir. 2018) .................................................................................5
In re: Interest Rate Swaps Antitrust Litigation,
   16–MD–2704 (PAE) (S.D.N.Y.) ...........................................................................6
In re: London Silver Fixing, Ltd., Antitrust Litigation,,
   14-MD-2573 (VEC) (S.D.N.Y.) ............................................................................6


                                                       iii
             Case 22-2079, Document 48, 04/20/2023, 3502340, Page11 of 194




Linde v. Arab Bank, PLC,
  706 F.3d 92 (2d Cir. 2013).....................................................................................3
PepsiCo, Inc. v. The Coca-Cola Co.,
  1998 WL 547088 (S.D.N.Y. Aug. 27, 1998) .......................................................14
Sullivan v. Saint-Gobain Performance Plastics Corp.,
  No. 5:16-CV-125, 2020 WL 1329601 (D. Vt. Feb. 4, 2020) ..............................11
Tenneco, Inc. v. F.T.C.,
  689 F.2d 346 (2d Cir. 1982).................................................................................14
Toyoshima Corp. of California v. Gen. Footwear, Inc.,
  88 F.R.D. 559 (S.D.N.Y. 1980) ...........................................................................12
U.S. v. Siemens Corp.,
  621 F.2d 499 (2d Cir. 1980).................................................................................14
United States v. Dentsply Int'l, Inc.,
  399 F.3d 181 (3d Cir. 2005), 546 U.S. 1089, 126 S.Ct. 1023,
  163 L.Ed.2d 853 (2006) .......................................................................................14
United States v. Microsoft Corp.,
  87 F. Supp. 2d 30 (D.D.C. 2000) ...........................................................................8
ZF Meritor, LLC v. Eaton Corp.,
  696 F.3d 254 (3d Cir. 2012).................................................................................14

Other Authorities:
6 J. Moore, Moore’s Federal Practice ¶ 56.15[6] (1987)......................................... 11




                                                       iv
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page12 of 194




                                  INTRODUCTION

      Keurig’s opposition consists of little more than excuses to justify why Judge

Broderick has delayed ruling on the various motions in this case. The first excuse

is that the Judge has not decided summary judgment and until he does nothing else

will happen. The fact that the motions have been languishing on the Judge’s desk

for almost two years is not explained. Nor is there any explanation for why the

trial judge ignored this Court’s November order to decide the pending motions

(which include summary judgment motions) by January 17, 2023, or face another

writ of mandate. This Court gave the trial judge the option of selecting “alternate

remedies”, which presumably included returning JBR’s case to the MDL for

transfer to the Eastern District of California, where the case is venued. Instead,

Judge Broderick elected to order the parties to address outstanding confidentiality

designations, which has no impact on the summary judgment issues to be decided

other than what information will be redacted in the public version of the to-be-

written opinion. In short, JBR’s first petition was filed with this Court on

September 22, 2022, after this case was pending for more than eight years. The

case is now over nine years old. As the following will show, this Court should

enter an order directing the Judge to decide the pending summary judgment

motions, suggest to the JPML remand of JBR’s case for transfer to the Eastern

District of California, and set a trial date for the existing case.



                                                1
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page13 of 194




      The District Court has adopted an all-or-nothing approach to rulings, and in

the process has ensured that nothing — not a single one of JBR’s claims — is set

for trial after nine years of litigation. In its January 17, 2023 Order, the District

Court adopted a case management approach that prohibits trial (or remand to the

Eastern District of California) on every single one of JBR’s causes of action until

the District Court has waded through dozens of motions to seal briefings, two

dozen Daubert motions, and hundreds of pages of summary judgment briefing.

The District Court’s refusal to set a trial date on calendar or commence trial on a

subset of issues or causes of actions simply delays decision on every issue in the

case with no assurance that the situation will change in the next several years. It

has been long established that a court in a complex case can defer summary

judgment on some issues while proceeding to trial on others; the District Court

should have done so here and should do so now.

      There is simply no justification for the District Court’s avoidance of timely

decision making that is quite effectively delaying trial until a point in time when

most of JBR’s key witnesses will have died, retired, grown old or ill, or otherwise

become no longer available. Absent relief from this Court, the District Court case

will remain mired in years more of indecision with no trial date for a case relating

to events that happened well over a decade ago.




                                              2
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page14 of 194




                                     ARGUMENT

1.     JBR Meets the Standard for Writ Relief

       JBR easily meets the standard for relief. See Linde v. Arab Bank, PLC, 706

F.3d 92, 117 (2d Cir. 2013). If ever there was a case where JBR has no other

means to address its request for relief, this is it.

       JBR has spent the last seven years trying every conceivable procedural

means of requesting that the district court proceed with moving the case forward to

judgment; its motions to hasten justice were denied every time, but the timeline for

justice has never moved forward.

          • In 2016, JBR and all plaintiffs sought to move forward with discovery
            and were rebuffed by the court, which instead continued to stay
            discovery, delaying document production for two more years and
            depositions for three more years.
          • In 2017, JBR requested remand of some of its claims to California due
            to delays in decision on the motion to dismiss.
          • In spring 2020, JBR requested early summary judgment briefing, and
            the Court rejected the request.
          • In fall 2020, JBR requested a remand, an early summary judgment
            briefing, or an early trial on a subset of claims, and was rebuffed by
            the Court on each of these requests.
          • Finally, in 2021, JBR requested remand both with the trial court and
            the JPML, and its motion was denied.

Now, two more years have elapsed and there is no evidence that the Judge is likely

to issue a decision at any point in the near future. Indeed, even after JBR filed its

original writ papers, another seven months passed without any decision on

summary judgment or the Daubert motions at issue.


                                                3
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page15 of 194




      Keurig makes much of the district court’s decision to issue a 49-page

decision on a few motions to seal but ignores the fact that the district court has

explicitly stated it will not issue summary judgment papers until well after motions

to seal have been addressed. Even to the extent that the district court said it is

working diligently to resolve the case, the court gave no indication of a date certain

for decision on summary judgment, did not set a date for oral argument, and did

not give any indication of when it might set a trial date much less set an interim

trial date a few months out that could be later adjusted once the summary judgment

decision issues.

      It is ironic that Keurig focuses so much on the JPML’s Denial of JBR’s

Request for Remand in 2021 because that denial illustrates exactly why JBR is

entitled to relief. Specifically, JBR sought relief from both the district court and

JPML to prevent further delays and was rebuffed. Almost two years have elapsed

since the last request was denied, and JBR is still no closer to having its case

returned to California or set for trial. Under the circumstances, what else could

JBR do to seek relief from the prejudice to its case?

      Keurig’s suggestion that JBR just undertake the normal appeal process

would do nothing to address the delay because it could easily take several more

years before a judgment issues that will actually be ripe for appeal. Even once

there is a judgment ripe for appeal, JBR will be unable to request appropriate relief



                                              4
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page16 of 194




because the delay in judgment will have already happened and cannot be undone

by the appellate court ex post facto.

      In short, the district court’s denial of JBR’s motion for suggestion of remand

filed two years ago precisely illustrates why appellate relief is necessary now –

JBR exhausted its efforts to obtain remedies elsewhere (at both the district court

level and JPML) only to encounter yet another two-year delay in judgment. If the

Court here does not provide JBR its requested relief as sought in this writ, JBR will

likely face yet another two years before having its case returned to California, and

then will encounter further delays after remand as the California court readies the

case for trial. The writ is simply the only mechanism by which JBR can obtain

timely justice – there are no other means.

      The Court’s failure to set any timetable for trial or remand or ruling on

summary judgment over nine years into a case creates a delay in justice so severe

as to amount to a usurpation of well-established principles of law. In re United

States ex rel. Drummond, 886 F.3d 448 (5th Cir. 2018); In re Harris County, Case

No. 21-3637, ECF No. 6-1 (6th Cir. March 11, 2022) (“a party’s rights in one case

cannot be impinged upon ‘to create efficiencies in the MDL generally.’”).




                                             5
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page17 of 194




2.    The Delay Here is Extraordinary: Similar Cases have Reached Trial in
      Far Less Time

      The fact that this case is complex and involves voluminous evidence and

potentially large damage claims is no excuse for the nine years this case has gone

without judgment, remand, or setting of a trial date.

      Keurig points to other antitrust cases that have taken a long time but ignores

the fundamental difference in this case – it involves a case premised on a set of

conduct spearheaded by a single defendant. Each of the cited antitrust MDL cases

in Keurig’s brief is distinguishable because it involved a conspiracy of numerous

named defendants, which necessarily entails more complex discovery, the

involvement of multiple sets of defense counsel, the involvement of different

defense strategies by each defendant, and multiplication in motions and settlement

procedures. Add.145, Add.158-Add.180 (In re: Interest Rate Swaps Antitrust

Litigation, 16–MD–2704 (PAE) (S.D.N.Y.))(34 named defendants, including

Citibank, Bank of America, Barclays, Goldman Sachs, Morgan Stanley, JP Morgan

Chase, and Royal Bank of Scotland); Add.181, Add.190-Add.195 (In re: London

Silver Fixing, Ltd., Antitrust Litigation, 14-MD-2573 (VEC) (S.D.N.Y.)) (eight

defendants: Bank of America, Barclays, BNP Paribas, Deutsch Bank, HSBC,

Scotiabank, Standard Chartered, and UBS); Add.116, Add.142-Add.144 (In Re:

Domestic Airline Travel Antitrust Litigation, MDL No. 2656, Misc. No. 15-1404

(CKK) (D.D.C. 2015)) four defendants Southwest, American, Delta, and United in


                                             6
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page18 of 194




MDL consolidating 105 cases). None of Keurig’s cited cases involves the single

defendant situation here.

      The procedural context of this case is also unique compared to other antitrust

cases and should have resulted in faster time to judgment. This antitrust case

involved a preliminary injunction motion, which resulted in discovery at the outset

of the case followed by detailed amended pleadings that cited to all evidence

obtained during preliminary injunction phase discovery. This case did not involve

any parallel government investigation or criminal investigation of the kinds seen in

other antitrust cases; such investigations typically delay the start of civil discovery,

but there was nothing like that to hinder discovery in this matter. This case also

did not involve invocation of the Fifth Amendment, a common source of delay in

depositions in other antitrust cases.

      When one looks at antitrust cases that, like this one, involved a single

defendant in a Sherman Act Section 1 or Section 2 case, they have reached

judgment, or at least resulted in denial of the single defendant’s summary judgment

motion in far less time than this case. See In re Namenda Indirect Purchaser

Antitrust Litig., No. 115CV6549CMRWL, 2021 WL 2403727 (S.D.N.Y. June 11,

2021) (2021 decision on motion for summary judgment in case filed in 2015); In re

Nexium (Esomeprazole) Antitrust Litig., 42 F. Supp. 3d 231, 300-01 (D. Mass.

2014), aff'd, 842 F.3d 34 (1st Cir. 2016) (2016 MSJ in MDL case filed in 2012);



                                               7
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page19 of 194




Caruso Mgmt. Co. Ltd. v. Int'l Council of Shopping Centers, 403 F. Supp. 3d 191

(S.D.N.Y. 2019) (2019 decision on motion for summary judgment in antitrust case

filed in 2018); In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. &

Antitrust Litig., No. 17-MD-2785-DDC-TJJ, 2021 WL 2585065 (D. Kan. June 23,

2021), reconsideration denied, 568 F. Supp. 3d 1184 (D. Kan. 2021) (2021

summary judgment ruling in antitrust MDL filed in 2017); In re Ranbaxy Generic

Drug Application Antitrust Litig., 573 F. Supp. 3d 459 (D. Mass. 2021) (order

denying summary judgment in 2021 on antitrust actions filed in 2019); United

States v. Microsoft Corp., 87 F. Supp. 2d 30 (D.D.C. 2000) (2000 trial decision on

case filed in 1998); FTC v. Qualcomm 411 F. Supp. 3d 658 (N.D. Cal. 2019) (trial

in 2019, and decided the same year, only two years after complaint filed).

      Multiple large antitrust cases filed after this one are scheduled to proceed

from complaint to trial in half the time that this case will take to reach judgment.

See Epic Games, Inc. v. Apple Inc., 559 F. Supp. 3d 898 (N.D. Cal. 2021)

(monopolization case against Apple was filed in 2020, tried in 2021 with the

decision issuing only a few months after trial was completed); Add.196-Add.197

(In re HIV Antitrust Litigation, Case No. 3:19-cv-02573 (N.D. Cal.)) (2019

antitrust lawsuit against Gilead, Teva, J&J is scheduled for trial this year, four

years after the complaint was filed); Add.198-Add.199 (SaurikIT LLC v. Apple Inc,




                                              8
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page20 of 194




Case No. 4:20-cv-08733 (N.D. Cal.) (antitrust case against Apple filed in 2020 was

set for trial in 2024 pursuant to a scheduling order in 2022).

      Even an antitrust conspiracy case against 19 foreign defendants has been

resolved in less time than this case has taken to reach summary judgment. A class

action case filed in July 2014, several months after this case was filed, in the

Northern District of California alleged price fixing of capacitors. Add.200 (In Re

Capacitors Antitrust Litigation, Case No. 3:14-cv-03264 (N.D. Cal.)). That case

involved summary judgment motions filed by numerous defendants, as well as not

one but two trials — one in March 2020 (set by the Court in 2019, resulting in

mistrial due to the pandemic), and a second trial beginning in November 2021. In

Re Capacitors Antitrust Litigation, (N.D. Cal. Case No. 3:14-cv-03264), Add.200,

Add.214. That timeline is notable given that the case involved massive discovery

– 39 million Bates-numbered pages (mostly in Japanese) from over 100 document

custodians, plus depositions of over 90 individuals, Fifth Amendment invocation

by certain witnesses, and numerous issues relating to having foreign witnesses

testify in the U.S. Add. 204, Add.209 (In Re Capacitors Antitrust Litigation, Case

No. 3:14-cv-03264 (N.D. Cal.)); Add.215. Despite its complexity and multiple

trials, the case was fully resolved by settlements of both indirect purchasers and

direct purchasers. Add.200, Add.209, Add.215. Meanwhile, this case filed earlier




                                              9
           Case 22-2079, Document 48, 04/20/2023, 3502340, Page21 of 194




in time has not even resulted in one summary judgment decision or any case being

brought to trial.

       Other cases heavy with documents and involving substantively similar

claims and large damages claims have proceeded from complaint to trial in less

than five years, sometimes less than four. US Dominion, Inc. v. Fox News

Network, LLC, C.A. N21C-03-257 EMD (Del. Super. Ct.), is an excellent

illustration of the point made here. Dominion’s case alleging false statements by

Fox News was set for trial this month, just two years after the complaint was filed.

Add.218, Add.219, Add.223. In Dominion, Plaintiff was seeking $1.6 billion in

damages from Fox News. The case involves tens of millions of documents, and

the court pushed the case toward trial even while summary judgment was pending.

Add.218-Add.223. Likewise, Monster v. Vital Pharma., Case No. 5:18-cv-01882

(E.D. Cal.)), a false advertising case was tried to a verdict of $293 million just

over four years after the complaint was filed. Add.225, Add.227-Add.231;

Add.233-Add.234, Add.236-Add.237. That case involved two direct competitors,

extensive discovery, and a lengthy trial. Add.240-Add.242; Add.227-Add.231. In

contrast to these cases, Keurig does not cite a single Lanham Act or false statement

case where the district court took over nine years to decide summary judgment or

set a trial date.




                                             10
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page22 of 194




      Plaintiffs in this case, which involves a single defendant and common set of

facts, documents, and witnesses, should have been entitled to a trial long before

now. Instead, plaintiffs under the current schedule do not even have a scheduled

trial date and face the prospect that no trial will occur until at least 2025, over 10 or

11 years after the case was filed in 2014. The District Court has signaled that this

untenable delay in judgment will remain undisturbed unless this Court orders

JBR’s requested relief.

3.    Nothing Prevents the Court from Setting a Trial Date while Motions for
      Summary Judgment are Pending

      The delays in the trial date in this matter rest in part on the fundamentally

mistaken premise that a trial date cannot be set until summary judgment is fully

decided. This is little more than a red herring and wrong as a matter of law.

      As this Court is aware there is no requirement that summary judgment must

be decided before a case is set for trial. Clute v. Davenport Co., 116 F.R.D. 599,

599-600 (D. Conn. 1987) (“in interests of efficient management” the court elected

“to defer ruling on plaintiffs’ motion for summary judgment as to liability on their

securities claim until after the statute of limitations issue is decided”), citing 6 J.

Moore, Moore’s Federal Practice ¶ 56.15[6], at 56–613 (1987) (courts have

reserved ruling on summary judgment motions until after trial of a separate issue);

Sullivan v. Saint-Gobain Performance Plastics Corp., No. 5:16-CV-125, 2020 WL

1329601, at *1 (D. Vt. Feb. 4, 2020) (on diminution of property claims, “defer[ing]


                                               11
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page23 of 194




ruling on the motion for summary judgment until after the jury returns a verdict on

the class issues”); Toyoshima Corp. of California v. Gen. Footwear, Inc., 88

F.R.D. 559, 560 (S.D.N.Y. 1980) (discretion to proceed to trial and defer summary

judgment ruling “may be exercised where a part of the matter which is ripe for

summary judgment is intertwined with additional claims that must be decided at

trial.”); Bank of New York v. Meridien BIAO Bank Tanzania Ltd., No. 95 CIV.

4856(SS), 1997 WL 53172, at *4 (S.D.N.Y. Feb. 10, 1997); In re Megan-Racine

Assocs., Inc., 180 B.R. 375, 380 (Bankr. N.D.N.Y. 1995) (noting preference for

resolving issue at trial and exercising discretion to deny summary judgment even

though “[o]ften the denial of a motion for summary judgment is merely a tentative

and inconclusive ruling”). There are 17 causes of action in this case; some are

based on federal law and others on state law. In addition, there are more than 400

disputed issues of fact relating to the various causes of action. Keurig

conveniently ignores the Lanham Act and other claims that were ready for trial

years ago. At a minimum, as the recent Dominion v. Fox settlement and In Re

Capacitors Antitrust Litigation settlements illustrate, setting a trial date will force a

defendant to focus on its exposure and consider an out-of-court solution. As the

above case law makes clear, a summary judgment ruling is not a prerequisite for

setting a trial date. Continued delay serves the purposes of the defendant and

harms the plaintiff.



                                              12
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page24 of 194




      JBR has been summarily rebuffed on its repeated requests that the District

Court reach judgment on a subset of the issues in this matter so that at least a

portion of the case issues and claims reaches faster resolution and judgment even

while other claims proceed on a slower decision track due to more complex

discovery and summary judgment issues. Orig. Add.8451; Add.245 at fn.4 (“If

transfer is denied, JBR seeks to file its motions for summary judgment on its

Lanham Act and sham litigation claims, which JBR contends are ripe to file... If

JBR’s trial is not transferred, JBR seeks to have its entire case separately tried on

the earliest available trial date on the Court’s calendar ….”); Add.57 (requesting

trial date while motions for summary judgment were pending).

      JBR’s request was permitted by law, as discussed above, and logic dictated

that the approach was sound. The District Court summarily rejected JBR’s

request. If the District Court had agreed with JBR’s suggested approach, it would

have prevented the all-or-nothing situation the parties find themselves in now.

      Keurig’s brief rests on the false premise that the case can be entirely

resolved on summary judgment. Keurig’s position ignores that its summary

judgment motion is premised on a legal argument that Plaintiffs’ antitrust claims

will fail because new competitors entered the market and output went up. But



      1
        Citations to the Addendum filed with the 2022 Petition are indicated
with text “Orig.”

                                             13
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page25 of 194




Keurig’s argument is contrary to law of the case and controlling law – controlling

law the Court already relied upon in rejecting Keurig’s motion to dismiss four

years ago. In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., 383

F. Supp. 3d 187, 236 (S.D.N.Y. 2019), citing United States v. Dentsply Int'l, Inc.,

399 F.3d 181, 191 (3d Cir. 2005), cert. denied 546 U.S. 1089, 126 S.Ct. 1023, 163

L.Ed.2d 853 (2006) and ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 271 (3d

Cir. 2012); see also PepsiCo, Inc. v. The Coca-Cola Co., 1998 WL 547088, at *2 8

(S.D.N.Y. Aug. 27, 1998) (foreclosure of major distributors sufficient to show

substantial foreclosure); Tenneco, Inc. v. F.T.C., 689 F.2d 346, 351 (2d Cir. 1982);

U.S. v. Siemens Corp., 621 F.2d 499 (2d Cir. 1980). That same controlling law will

be the basis for denial of the summary judgment motion.

      The only way around this predicament is to order a date certain for trial (and

in JBR’s case, suggestion of remand to the Eastern District of California).

4.    The Delays in Judgment are Caused by the District Court, not Plaintiffs

      The delays in this case have nothing to do with how JBR and other plaintiffs

have litigated the matter, as the District Court has chosen to delay judgment on

numerous briefings filed by all parties. Indeed, the longest decisional delays by the

District Court have consistently been on motions filed by Keurig, not Plaintiffs.

      A most recent example is Keurig’s April 2022 appeal of Magistrate Judge

Cave’s comprehensive ruling that Keurig spoliated numerous forms of electronic



                                            14
           Case 22-2079, Document 48, 04/20/2023, 3502340, Page26 of 194




and hard copy evidence. Add.247. Keurig’s Rule 72 appeal of Judge Cave’s

spoliation order was filed more than one year ago — and the District Court has still

not ruled even though the District Court said three months ago that it was next

turning to ruling on that issue. Add.62. Similarly, it was Keurig that filed the

motions to dismiss that the District Court took over two and a half years to rule on

and over four years to issue an opinion, with a stay of discovery during most of

that period. Add.259 (DI-223, 226, 229, 231); Add.260 (DI-379); Add.261 (DI-

559).

        The situation with summary judgment appears no different. The District

Court’s January 17, 2023 Order decided plaintiffs’ motions to seal summary

judgment exhibits submitted nine months earlier but did not rule on Keurig’s

March 2022 motion to seal summary judgment exhibits, and requested yet

additional briefing. Add.62. Three further months passed and, even with the

benefit of that additional briefing, the District Court has still not ruled on Keurig’s

now year-old motion to seal nearly 400 summary judgment and Daubert motion

exhibits, which are mostly stale and by no means confidential. The District Court

further indicated that it will not rule on the thousands of pages of summary

judgment and Daubert motions filed by Keurig until after first ruling on Keurig’s

motion to seal. Add.62. The District Court has therefore signaled that its summary

judgment decision process could easily take another year or more on motions filed



                                              15
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page27 of 194




over a year and a half ago; the District Court’s 2.5 to 3-year timeline for a

summary judgment decision is consistent with the District Court’s timing practice

in summary judgment in other cases and consistent with how long the District

Court took to resolve Keurig’s motion to dismiss in this case. Orig. Add.278 (U.S.

Commodity Futures) (over 2½ years to decide summary judgment). In the

meantime, no trial date is set, and the District Court has offered no plan to set a

trial date until after those summary judgment motions are resolved.

      Keurig fixates on JBR’s joint requests with other plaintiffs to extend the

discovery period but ignores that Keurig was the cause of the delays that

necessitated those requested extensions. Keurig’s document production was

delayed due to gaps in Keurig’s production of critical emails and sales transactions

data, and required months of negotiation before Keurig finally acknowledged that

its productions were deficient. Orig. Add.1070; Orig. Add.841, Orig. Add.878-79.

      Keurig’s own discovery positions have also been a cause of delay in this

action. From 2014 through 2017, Keurig consistently opposed Plaintiffs’ repeated

requests to open discovery and commence document discovery and depositions,

and the District Court agreed with Keurig each time. Orig. Add.650, Orig.

Add.652. For example, JBR, along with other plaintiffs, requested in July 2016

that the District Court lift the stay of discovery that had been in place since 2014 so

that full discovery could proceed without having to await the District Court’s



                                             16
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page28 of 194




decision on Keurig’s motion to dismiss. Orig. Add.654. The District Court denied

the lion’s share of plaintiffs’ request, in particular not allowing any meaningful

document discovery or depositions. Orig. Add.659. Plaintiffs were opposed by

Keurig and rebuffed by the District Court on discovery again when it denied

plaintiffs’ April 24, 2017 request to open discovery; that denied request was

notable because it flagged the dangers that key witnesses’ memories were fading

due to the passage of time and previously testified to their inability to remember

events just two years prior to the deposition. Orig. Add.663.

      Keurig makes much of the fact that JBR deposed Keurig CTO Kevin

Sullivan in 2014, but ignores the prejudice caused by Keurig’s requested discovery

stay (granted by the Court), which denied JBR access to most of the documents

relevant to Sullivan’s conduct until 2018, four years after the deposition. JBR took

that 2014 deposition without the benefit of the 57,177 documents in Kevin

Sullivan’s files as well as over 266,739 additional documents produced by

members of Sullivan’s team – Jimmy Huang (Senior Director of Engineer), Bob

McCall (VP of Engineering), Ian Tinkler (VP of R&D), and Jim Shepherd

(Director of Engineering). In the interim, while JBR waited over four years for

production of these 323,916 documents, Kevin Sullivan died. In addition, and

contrary to Keurig’s assertion in its opposition that it (merely) spoliated three

important custodian’s files, Keurig failed to preserve the hard drives and/or hard



                                             17
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page29 of 194




copy documents of 23 Keurig custodians, including senior employees who

interacted closely with Sullivan — Huang, McCall, Tinkler, Shepherd, Keurig

President Michele Stacy, Keurig U.S. Sales Head John Whoriskey, and VP of

Communication Suzanne DuLong. Orig. Add.1076-Add.1077, Orig. Add.1079,

Orig. Add.1094, Orig. Add.1097-Add.1098, Orig. Add.1103, Orig. Add.1105-

Add.1106, Orig. Add.1108. JBR was therefore forever prevented from questioning

Sullivan concerning the emails relating to his actions in leading the development of

the Keurig 2.0 brewer, including the lock-out feature that is at the heart of the case.

      In short, plaintiffs have not with their briefings caused delays in this case.

The delays in this case are the results of the timing of the decisions by the District

Court and the positions taken by Keurig in this matter.

5.    JBR’s Case Will Proceed More Quickly Before a New Judge

      In normal circumstances, one would expect that a complex litigation such as

this one would proceed more quickly to judgment if the case remained before the

judge who presided over it for the past nine years. Unfortunately, the track record

of the District Court makes clear that the case will proceed far more rapidly if it is

transferred to a different judge, which the MDL rules require for JBR’s case.

      In particular, a new judge would be looking at this case as the trial judge and

would be able to review and decide the Daubert and Summary Judgment motions

limited to those that directly involve JBR and Keurig, a much smaller subset than



                                             18
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page30 of 194




those before Judge Broderick. Keurig filed nine Daubert motions in the MDL, but

only two of Keurig’s motions are against experts designated by JBR, and four out

of JBR’s six experts were left unchallenged by Keurig’s Daubert motions.

Add.262-Add.266. JBR filed or joined Daubert motions against four of Keurig’s

experts, but those motions can be resolved with or without JBR’s presence in the

MDL. Add.266-Add.267. With respect to summary judgment, all of the motions

relate to all plaintiffs as opposed to only JBR, so JBR’s transfer to the Eastern

District of California can be done without upsetting the schedule in the MDL.

Add.268-Add.269. To the extent the Eastern District of California wishes to

entertain further motions, JBR would be prepared to re-file any summary judgment

motions in California before the judge to whom the case is transferred after remand

from the MDL court.

      This is not a situation in which the District Court has already done the work

of rulings on pre-trial motions, hearing evidence, or selecting a jury. The District

Court has not so much as held a single hearing on this case in the past year. The

District Court has not issued even a single ruling relating to the 2021 summary

judgment or Daubert motions and appears to have not looked at the exhibits, given

that it has not yet ruled on Keurig’s or various third parties’ motions to seal

summary judgment and Daubert exhibits. Accordingly, there is no evidence of




                                             19
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page31 of 194




any work done by the District Court that will need to be re-done if the case is

transferred to a new judge.

      In short, it would be more efficient and speedier to transfer the case to the

Eastern District of California now while summary judgment and Daubert motions

are still pending rather than force JBR to wait years for the District Court to rule on

the motions, followed by more years for trial to be completed in this matter.

6.    Keurig’s Other Arguments Are Without Merit

      Keurig makes several additional arguments that are without merit. Keurig

claims that JBR failed to mention it requested relief from the MDL panel and was

denied. What Keurig failed to mention was the request was made more than two

years ago. Since then, more witnesses have retired or are about to retire, and both

of JBR’s founders have died. JBR’s requests have thus become more, not less

urgent. The fact that expert reports were submitted or that Keurig previously

cross-examined some of these witnesses in deposition does nothing to mitigate the

prejudice to JBR of being denied the opportunity to call these critical witnesses for

direct examination at trial regarding the details of their expert opinions; JBR would

instead need to bear the expense, time, and inconvenience of securing replacement

witnesses who may not necessarily have the same set of knowledge or expertise.

      Keurig also claims that JBR did not join in the spoliation motion, thus

questioning JBR’s sincerity in making this motion. Keurig failed to point out that



                                             20
           Case 22-2079, Document 48, 04/20/2023, 3502340, Page32 of 194




at the time Treehouse and other plaintiffs filed their motion in April 2021, which

the Magistrate granted, JBR had filed its request for relief from the MDL panel.

JBR stated on the record during the oral argument on the spoliation issues —

where Keurig had accused JBR of spoliation and Keurig’s argument was

summarily rejected — that the only reason it did not join Plaintiffs’ spoliation

motion was because JBR’s request before the MDL was pending and JBR did not

want joinder on pending motion practice to be a reason for the district court to

retain jurisdiction over JBR and refuse to remand the case to California at that

time. Add.254. Keurig ignores the fact that more than a year has passed since the

Magistrate found Keurig spoliated evidence and issued her 120-page ruling, which

took her only two and a half months after hearing oral argument. Despite the

importance that this ruling has on the case, Judge Broderick has not seen fit to rule

more than a year later.

                                  CONCLUSION

      The pace of this case and the lack of resolution brings to mind the famous

Duke Ellington lyric, “do nothing ‘til you hear from me, and you never will.” For

the foregoing reasons, this Court should order the District Court to proceed with a

trial schedule (and in JBR’s case, remand to the Eastern District of California)

irrespective of the summary judgment and Daubert motions that have yet to be

decided.



                                             21
Case 22-2079, Document 48, 04/20/2023, 3502340, Page33 of 194




                           Respectfully submitted,
                           JBR, Inc., d/b/a Rogers Family Company,
                           Petitioners

                           /s/ Daniel Johnson Jr.
                           Daniel Johnson Jr. (CA Bar No. 57409)
                           DAN JOHNSON LAW GROUP, LLP
                           1350 Old Bayshore Highway, Suite 520
                           Burlingame, CA 94010
                           Telephone: 415-604-4500
                           dan@danjohnsonlawgroup.com
                           Counsel for Petitioners
                           JBR, Inc., d/b/a Rogers Family Company




                                22
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page34 of 194




                      CERTIFICATE OF COMPLIANCE

      This brief complies with the word limit of Fed. R. App. P. 21(d)(1) because,

excluding the portions exempted by Fed R. App. P. 21(a)(2)(C),

      [X] this brief contains 5,170 words

      [ ] this brief uses monospaced type and contains [ ] lines

      This brief also complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because:

      [X] this brief has been prepared in a proportionally spaced typeface using

Microsoft Word in 14-point Times New Roman font; or

      [ ] this brief or other document has been prepared in a monospaced

typeface using [ ] in [ ].

      Dated: April 20, 2023

                                       /s/ Daniel Johnson Jr.
                                       Daniel Johnson Jr. (CA Bar No. 57409)
                                       DAN JOHNSON LAW GROUP, LLP
                                       1350 Old Bayshore Highway, Suite 520
                                       Burlingame, CA 94010
                                       Telephone: 415-604-4500
                                       dan@danjohnsonlawgroup.com




                                            23
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page35 of 194




                          CERTIFICATE OF SERVICE

      I certify that on April 20, 2023, this petition and the accompanying

addendum were filed electronically with the Clerk of the Second Circuit Court of

Appeals through the Court’s electronic filing system, which will accomplish

service on counsel for all parties.

      Dated: April 20, 2023

                                       /s/ Daniel Johnson Jr.
                                       Daniel Johnson Jr. (CA Bar No. 57409)
                                       DAN JOHNSON LAW GROUP, LLP
                                       1350 Old Bayshore Highway, Suite 520
                                       Burlingame, CA 94010
                                       Telephone: 415-604-4500
                                       dan@danjohnsonlawgroup.com




                                           24
Case 22-2079, Document 48, 04/20/2023, 3502340, Page36 of 194




                    EXHIBIT B
 Case 22-2079, Document 48, 04/20/2023, 3502340, Page37 of 194




         22-2079
    United States Court of Appeals
                             for the

                   Second Circuit

                        In Re: JBR, INC.,
                                                            Petitioner.
      *************************************************
              JBR, INC., DBA Rogers Family Company,
                                                            Petitioner,
                              – v. –
KEURIG GREEN MOUNTAIN INC., as successor to Keurig, Incorporated,
           FKA Green Mountain Coffee Roasters Inc.,
                                                           Respondent.

                ––––––––––––––––––––––––––––––
     ON PETITION FROM THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF NEW YORK


              ADDENDUM, VOL. 2
TO RENEWED PETITION FOR WRIT OF MANDAMUS TO
  THE UNITED STATES DISTRICT COURT FOR THE
       SOUTHERN DISTRICT OF NEW YORK

                                   DANIEL JOHNSON JR.
                                   DAN JOHNSON LAW GROUP, LLP
                                   Attorneys for Petitioners JBR, Inc.
                                     d/b/a Rogers Family Company
                                   1350 Old Bayshore Highway, Suite 520
                                   Burlingame, California 94010
                                   (415) 604-4500
                                   dan@danjohnsonlawgroup.com
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page38 of 194

                           TABLE OF CONTENTS




TAB DESCRIPTION                                                  VOL/PAGE
 1   Original Petition for Writ of Mandamus, filed 2022-09-22    1/Add.1
 2   Certified Order, 2d. Cir., Case No. 22-2079, issued 2022-11- 1/Add.40
     15
 3   Mandate, 2d. Cir., Case No. 22-2079, issued 2022-12-06      1/Add.41
 4   Table of Opinions issued by Hon. Judge Broderick in other   1/Add.42
     matters since 2022-11-15
 5   Table of Motions Outstanding, as of 2022-09-22              1/Add.43
 6   Docket Report for 14-md-2542 (excerpts)                     1/Add.50
 7   2022-04-19 [MDL-1818] Plaintiffs’ Letter to Hon. Judge      1/Add.57
     Broderick re Request for Trial Date
 8   2022-04-19 [MDL-1818-1] Exhibit A to Plaintiffs’ Letter     1/Add.60
 9   Suggestion of Remand in In Re: Areda and Zometa Products 1/Add.61
     Liability Litigation, M.D. Tenn., 06-CV-527, ECF No. 85,
     2011-08-09
10   2023-01-17 [MDL-1978] Opinion and Order regarding           1/Add.62
     motions to seal
11   2019-04-04 [MDL-560] Order regarding sealing of Order on 1/Add.111
     motion to dismiss
12   2019-04-16 [MDL-572] Joint letter regarding proposed        1/Add.114
     redactions
13   2019-04-16 [MDL-574] Order to unseal Opinion and Order      1/Add.115
14   Docket Report for 15-mc-1404, USDC, Dist of Columbia        2/Add.116
     (excerpts)
15   Docket Report for 16-md-2704, SDNY (excerpts)               2/Add.145
16   Docket Report for 14-md-2573, SDNY (excerpts)               2/Add.181
17   Docket Report for 19-cv-2573, NDCA (excerpts)               2/Add.196
18   Docket Report for 20-cv-8733, NDCA (excerpts)               2/Add.198
19   Docket Report for 14-cv-3264, NDCA (excerpts)               2/Add.200



                                        i
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page39 of 194

                           TABLE OF CONTENTS

TAB DESCRIPTION                                                 VOL/PAGE
20   IPP Motion for Preliminary Approval of Revised             2/Add.207
     Settlements, ECF No. 2812, 14-cv-3264, NDCA (excerpts)
21   DPP Motion for Preliminary Approval of Class Action        2/Add.213
     Settlement, ECF No. 2923, 14-cv-3264, NDCA (excerpts)
22   Docket Report for US Dominion, Inc. v. Fox News Network, 2/Add.218
     LLC, Case No. N21C-03-257, DE Superior Court (excerpts)
23   Docket Report for 18-cv-1882, EDCA (excerpts)              2/Add.225
24   Verdict Form, Case No. 18-cv-01882, CDCA                   2/Add.233
25   Order on Motion to Compel, Case No. 18-cv-01882, CDCA      2/Add.240
26   2020-09-29 Letter to Judge Cave, ECF No. 1104, Case No.    2/Add.243
     14-md-2542, SDNY
27   Notice of Motion and Objections to Magistrate Judge Cave’s 2/Add.247
     March 28, 2022 Opinion & Order, ECF No. 1816, Case No.
     14-md-2542, SDNY
28   2022-01-11 Transcript of Hearing on Spoliation Motion,     2/Add.249
     Case No. 14-md-2542, SDNY (excerpts)
29   Docket Report for 14-md-2542, SDNY (excerpts)              2/Add.258




                                       ii
       Case 22-2079, Document 48, 04/20/2023, 3502340, Page40 of 194

                                                           APPEAL,JURY,MDL,TYPE−A
                              U.S. District Court
                   District of Columbia (Washington, DC)
             CIVIL DOCKET FOR CASE #: 1:15−mc−01404−CKK

IN RE: DOMESTIC AIRLINE TRAVEL ANTITRUST         Date Filed: 10/13/2015
LITIGATION                                       Jury Demand: Plaintiff
Assigned to: Judge Colleen Kollar−Kotelly        Nature of Suit: 410 Anti−Trust
 Cases: 1:15−cv−01056−CKK                        Jurisdiction: Federal Question
        1:15−cv−01059−CKK
        1:15−cv−01072−CKK
        1:15−cv−01075−CKK
        1:15−cv−01084−CKK
        1:15−cv−01126−CKK
        1:15−cv−01761−CKK
        1:15−cv−01762−CKK
        1:15−cv−01753−CKK
        1:15−cv−01763−CKK
        1:15−cv−01767−CKK
        1:15−cv−01769−CKK
        1:15−cv−01770−CKK
        1:15−cv−01771−CKK
        1:15−cv−01843−CKK
        1:15−cv−01853−CKK
        1:15−cv−01854−CKK
        1:15−cv−01855−CKK
        1:15−cv−01856−CKK
        1:15−cv−01857−CKK
        1:15−cv−01858−CKK
        1:15−cv−01859−CKK
        1:15−cv−01860−CKK
        1:15−cv−01862−CKK
        1:15−cv−01861−CKK
        1:15−cv−01863−CKK
        1:15−cv−01864−CKK
        1:15−cv−01865−CKK
        1:15−cv−01866−CKK
        1:15−cv−01880−CKK
        1:15−cv−01881−CKK
        1:15−cv−01882−CKK
        1:15−cv−01883−CKK
        1:15−cv−01886−CKK
        1:15−cv−01888−CKK
        1:15−cv−01890−CKK
        1:15−cv−01891−CKK
        1:15−cv−01893−CKK
        1:15−cv−01894−CKK
        1:15−cv−01895−CKK
        1:15−cv−01896−CKK
        1:15−cv−01897−CKK
        1:15−cv−01898−CKK
        1:15−cv−01899−CKK


                                 Add.116
 Case 22-2079, Document 48, 04/20/2023, 3502340, Page41 of 194

1:15−cv−01900−CKK
1:15−cv−01901−CKK
1:15−cv−01903−CKK
1:15−cv−01904−CKK
1:15−cv−01905−CKK
1:15−cv−01906−CKK
1:15−cv−01907−CKK
1:15−cv−01754−CKK
1:15−cv−01908−CKK
1:15−cv−01765−CKK
1:15−cv−01909−CKK
1:15−cv−01910−CKK
1:15−cv−01911−CKK
1:15−cv−01912−CKK
1:15−cv−01913−CKK
1:15−cv−01914−CKK
1:15−cv−01915−CKK
1:15−cv−01916−CKK
1:15−cv−01917−CKK
1:15−cv−01921−CKK
1:15−cv−01922−CKK
1:15−cv−01923−CKK
1:15−cv−01925−CKK
1:15−cv−02002−CKK
1:15−cv−01878−CKK
1:15−cv−01879−CKK
1:15−cv−01902−CKK
1:15−cv−01876−CKK
1:15−cv−01874−CKK
1:15−cv−01873−CKK
1:15−cv−01872−CKK
1:15−cv−01871−CKK
1:15−cv−01870−CKK
1:15−cv−01869−CKK
1:15−cv−01868−CKK
1:15−cv−01867−CKK
1:15−cv−01919−CKK
1:15−cv−01918−CKK
1:15−cv−01884−CKK
1:15−cv−01887−CKK
1:15−cv−02096−CKK
1:15−cv−01889−CKK
1:15−cv−01892−CKK
1:15−cv−02003−CKK
1:15−cv−01885−CKK
1:16−cv−00132−CKK
1:16−cv−00257−CKK
1:16−cv−00718−CKK
1:15−cv−01755−CKK
1:15−cv−01756−CKK
1:15−cv−01759−CKK
1:15−cv−01760−CKK


                           Add.117
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page42 of 194

        1:15−cv−01757−CKK
        1:15−cv−01725−CKK
        1:15−cv−01741−CKK
        1:15−cv−01816−CKK
        1:15−cv−01924−CKK
        1:15−cv−01980−CKK
        1:15−cv−01985−CKK
        1:15−cv−01877−CKK
        1:15−cv−01875−CKK
        1:18−cv−02119−UNA
Case in other court: USCA, 19−07058
                     USCA, 19−07059
                     USCA, 19−07060
                     Judicial Panel on Multidistrict Litigation,
                     2656
Cause: 15:1 Antitrust Litigation
In Re
IN RE: DOMESTIC AIRLINE
TRAVEL ANTITRUST LITIGATION

Special Master
RICHARD A. LEVIE
JAMS
1155 F Street, NW
Suite 1150
Washington, DC 20004
(202) 942−9180

Non−Party Respondent
INTERNATIONAL AIR                                   represented by Thomas J. Lang
TRANSPORT ASSOCIATION                                              HAYNES AND BOONE, LLP
                                                                   800 17th Street, NW
                                                                   Suite 500
                                                                   Washington, DC 20006
                                                                   (202) 654−4521
                                                                   Fax: (202) 654−4278
                                                                   Email: thomas.lang@haynesboone.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   Michael James Scanlon
                                                                   HAYNES AND BOONE, LLP
                                                                   800 17th Street, NW
                                                                   Suite 500
                                                                   Washington, DC 20006
                                                                   202−654−4570
                                                                   Fax: 202−654−4249
                                                                   Email: michael.scanlon@haynesboone.com
                                                                   ATTORNEY TO BE NOTICED

Plaintiff
ELLIOT J. BLUMENTHAL
on behalf of himself and all others
similarly situated

Plaintiff
WILLIAM YOUMANS                                     represented by Kit A. Pierson
on behalf of himself and all others                                COHEN MILSTEIN SELLERS & TOLL

                                              Add.118
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page43 of 194

similarly situated                                       PLLC
                                                         1100 New York Avenue, NW
                                                         Suite 500 East Tower
                                                         Washington, DC 20005
                                                         (202) 408−4603
                                                         Fax: (202) 408−4699
                                                         Email: KPierson@cohenmilstein.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
SHAWN JAIN                                  represented by Gary Edward Mason
                                                           MASON LLP
                                                           5335 Wisconsin Avenue NW
                                                           Suite 640
                                                           Washington, DC 20015
                                                           202−429−2290
                                                           Fax: 202−429−2294
                                                           Email: gmason@masonllp.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
RACHEL GOLIAN                               represented by Ronald J. Aranoff
on behalf of herself and all others                        Wollmuth Maher & Deutsch LLP
similarly situated                                         500 Fifth Avenue
                                                           14th Floor
                                                           New York, NY 10110
                                                           212−382−3300
                                                           Email: raranoff@wmd−law.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
COLLEEN PANZINO                             represented by W. Scott Simmer
                                                           BARON & BUDD, P.C.
                                                           600 New Hampshire Avenue NW
                                                           10th Floor
                                                           Washington, DC 20037
                                                           202−333−4562
                                                           Fax: 202−337−1039
                                                           Email: ssimmer@baronbudd.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
CHRISTOPHER DEVIVO                          represented by Mark I. Labaton
New York, NY                                               ISAACS FRIEDBERG & LABATON
On Behalf of Themselves and All Others                     555 S. Flower Street
Similarly Situated                                         Suite 4250
                                                           Los Angeles, CA 90071
                                                           (213) 929−5534
                                                           Fax: (213) 955−5794
                                                           Email: mlabaton@iflcounsel.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
JACK SNIADO                                 represented by Barbara J. Hart
Hollywood, FL                                              GRANT & EISENHOFER, P.A.
On Behalf of Themselves and All Others                     485 Lexington Avenue
Similarly Situated                                         Ste 29th Floor

                                         Add.119
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page44 of 194

                                                            New York, NY 10017
                                                            646−722−8500
                                                            Email: bhart@gelaw.com
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Plaintiff
JULIA L. HOLT                                represented by Barbara J. Hart
On Behalf of Themselves and All Others                      (See above for address)
Similary Situated                                           LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Plaintiff
JAY WINTON                                   represented by Barbara J. Hart
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Plaintiff
LILIAN M. RAJI                               represented by Todd S. Garber
On behalf of herself and all others                         FINKELSTEIN, BLANKINSHIP,
similarly situated                                          FREI−PEARSON & GARBER, LLP
                                                            1311 Mamaroneck Avenue
                                                            Suite 220
                                                            White Plains, NY 10605
                                                            (914) 298−3281
                                                            Fax: (914) 824−1561
                                                            Email: tgarber@fbfglaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
STEVEN HERSH                                 represented by Linda P. Nussbaum
individually and on behalf of all those                     NUSSBAUM LAW GROUP, P.C.
similarly situated                                          1211 Avenue of the Americas
                                                            40th Floor
                                                            New York, NY 10036−8718
                                                            (917) 438−9102
                                                            Email: lnussbaum@nussbaumpc.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
ELIZABETH A. CUMMING                         represented by Warren T. Burns
                                                            BURNS CHAREST LLP
                                                            900 Jackson Street
                                                            Suite 500
                                                            Dallas, TX 75202
                                                            (469) 904−4550
                                                            Fax: (469) 444−5002
                                                            Email: wburns@burnscharest.com
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Plaintiff
KENNETH A. NELSON                            represented by Warren T. Burns
                                                            (See above for address)

                                          Add.120
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page45 of 194

                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
JONATHAN SHANKLE                            represented by Warren T. Burns
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
BRADFORD TOMLIN                             represented by Warren T. Burns
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
WHITNEY TOMLIN                              represented by Warren T. Burns
both individually and on behalf of all                     (See above for address)
others similarly situated                                  LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
MICHAEL KROMAR                              represented by Patrick J. Coughlin
                                                           SCOTT&SCOTT ATTORNEYS AT LAW
                                                           LLP
                                                           600 W. Broadway
                                                           Suite 3300
                                                           San Diego, CA 92101
                                                           619−233−4565
                                                           Fax: 619−233−0508
                                                           Email: pcoughlin@scott−scott.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
SHERI ROSALIA                               represented by Patrick J. Coughlin
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
CHRISTOPHER TURTZO                          represented by Patrick J. Coughlin
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
JOSH STAMPS                                 represented by Patrick J. Coughlin
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
RICHARD WARCHOL                             represented by Patrick J. Coughlin
                                                           (See above for address)
                                                           LEAD ATTORNEY

                                         Add.121
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page46 of 194

                                                                ATTORNEY TO BE NOTICED

Plaintiff
KAYLA REPAN                                       represented by Frederic S. Fox
                                                                 KAPLAN FOX & KILSHEIMER LLP
                                                                 800 Third Avenue
                                                                 38th Floor
                                                                 New York, NY 10022
                                                                 212−687−1980
                                                                 Email: ffox@kaplanfox.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
STATE−BOSTON RETIREMENT                           represented by Jay L. Himes
SYSTEM                                                           NEW YORK ATTORNEY GENERAL
on behalf of itself and all others similarly                     28 Liberty Street
situated                                                         New York, NY 10005
                                                                 212−416−6249
                                                                 Email: jay.himes@ag.ny.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
CURTIS PALMER                                     represented by Linda P. Nussbaum
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
CHARLES CURLEY                                    represented by Gregory E. Del Gaizo
Individually and on Behalf of All Others                         ROBBINS LLP
Similarly Situated                                               5040 Shoreham Place
                                                                 San Diego, CA 92122
                                                                 619−525−3990
                                                                 Fax: 619−525−3991
                                                                 Email: gdelgaizo@robbinsllp.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
DMITRIY BANGIYEV
Individually and on Behalf of All Others
Similarly Situated

Plaintiff
STELLA BANGIYEVA                                  represented by Gregory E. Del Gaizo
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
EILEEN SILVER                                     represented by Jayne Arnold Goldstein
on behalf of herself and all others                              MILLER SHAH LLP
similarly situated                                               1625 N. Commerce Parkway
                                                                 Suite S. 320
                                                                 Ft. Lauderdale, FL 33326
                                                                 954−903−3170
                                                                 Fax: 866−300−7367
                                                                 Email: jagoldstein@millershah.com
                                                                 LEAD ATTORNEY

                                               Add.122
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page47 of 194

                                                            ATTORNEY TO BE NOTICED

Plaintiff
AMY BESS                                      represented by Kimberly A. Kralowec
Individually and on behalf of all others                     KRALOWEC LAW, P.C.
similarly situated                                           750 Battery Street
                                                             Suite 700
                                                             San Francisco, CA 94111
                                                             (415) 546−6800
                                                             Fax: (415) 546−6801
                                                             Email: kkralowec@kraloweclaw.com
                                                             ATTORNEY TO BE NOTICED

Plaintiff
KATHRYN LAVIN                                 represented by Michael David Hausfeld
on behalf of herself and all others                          HAUSFELD LLP
similarly situated                                           888 16th Street NW
                                                             Ste 300
                                                             Washington, DC 20006
                                                             202−540−7200
                                                             Email: mhausfeld@hausfeld.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
MICHELE ANDRADE                               represented by Allan Steyer
on behalf of herself and all others                          STEYER LOWENTHAL
similarly situated                                           BOODROOKAS ALVAREZ & SMITH
                                                             LLP
                                                             One California Street
                                                             Third Floor
                                                             San Franciso, CA 94111
                                                             (415) 421−3400
                                                             Fax: (415) 421−2234
                                                             Email: asteyer@steyerlaw.com
                                                             LEAD ATTORNEY
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

Plaintiff
MICHAEL BACKUS                                represented by Matthew Gerend
on behalf of himself and all others                          KELLER ROHRBACK LLP
similarly situated                                           1201 Third Avenue
                                                             Suite 3200
                                                             Seattle, WA 98101
                                                             206−442−1563
                                                             Email: mgerend@kellerrohrback.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
BARBARA E. HARTLEY                            represented by Francis O. Scarpulla
on behalf of herself and all others                          LAW OFFICES OF FRANCIS O.
similarly situated                                           SCARPULLA
                                                             456 Montgomery Street
                                                             17th Floor
                                                             San Francisco, CA 94104
                                                             (415) 788−7210
                                                             Fax: (415) 788−0706
                                                             Email: fos@scarpullalaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                           Add.123
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page48 of 194

Plaintiff
ETHAN BRODSKY                                 represented by Shpetim Ademi
                                                             ADEMI & O'REILLY LLP
                                                             3620 East Layton Avenue
                                                             Cudahy, WI 53110
                                                             (414) 482−8000
                                                             Fax: (414) 482−8001
                                                             Email: sademi@ademilaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
JEFFREY ROBB                                  represented by Shpetim Ademi
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
VALBONA ALLA                                  represented by Shpetim Ademi
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
LOIS GIORDANO
individually and on behalf of all others
similarly situated

Plaintiff
YVETTE WHEELER                                represented by Warren T. Burns
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

Plaintiff
PETER EVERITT                                 represented by Warren T. Burns
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

Plaintiff
ELSIE M. JONES                                represented by Kimberly A. Justice
                                                             KESSLER TOPAZ MELTZER &
                                                             CHECK, LLP
                                                             280 King of Prussia Road
                                                             Radnor, PA 19087
                                                             (610) 667−7706
                                                             Fax: (610) 667−7056
                                                             Email: kjustice@ktmc.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
CHONG HUMMEL                                  represented by Kimberly A. Justice
INDIVIDUALLY AND ON BEHALF OF                                (See above for address)
ALL OTHERS SIMILARLY SITUATED                                LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED


                                           Add.124
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page49 of 194

Plaintiff
JEFFREY HARDIMON                              represented by Marc H. Edelson
ON BEHALF OF HIMSELF AND ALL                                 EDELSON & ASSOCIATES, LLC
OTHERS SIMILARLY SITUATED                                    3 Terry Drive
                                                             Suite 205
                                                             Newtown, PA 18940
                                                             (215) 867−2200
                                                             Fax: (267) 685−0676
                                                             Email: medelson@edelson−law.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
LEON COATS                                    represented by Allan Kanner
                                                             KANNER & WHITELEY, L.L.C.
                                                             701 Camp Street
                                                             New Orleans, LA 70130
                                                             (504) 524−5777
                                                             Fax: (504) 524−5763
                                                             Email: a.kanner@kanner−law.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
RON COATS                                     represented by Allan Kanner
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
SAMANTHA WHITE
on behalf of herself and all others
similarly situated

Plaintiff
SOLOMON FRIEDMAN                              represented by Nancy A. Kulesa
                                                             SCHATZ NOBEL IZARD, P.C.
                                                             20 Church Street
                                                             Suite 1700
                                                             Hartford, CT 06103
                                                             (860) 493−6292
                                                             Fax: (860) 493−6290
                                                             Email: nkulesa@snlaw.net
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
LARRY MORRISON                                represented by Jeffrey S. Abraham
Individually and on behalf of all others                     ABRAHAM FRUCHTER & TWERSKY
similarly situated                                           LLP
                                                             One Penn Plaza
                                                             Suite 2805
                                                             New York, NY 10119
                                                             (212) 279−5050
                                                             Fax: (212) 279−3655
                                                             Email: jabraham@aftlaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff


                                           Add.125
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page50 of 194

GABRIEL WATKINS                           represented by Michael Goldberg
on behalf of himself and all others                      BAKER BOTTS L.L.P.
similarly situated                                       910 Louisiana Street
                                                         Houston, TX 77002
                                                         (713) 229−1401
                                                         Fax: (713) 229−1522
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
JAMES L. STEWART                          represented by Azra Z. Mehdi
                                                         MEHDI FIRM, PC
                                                         One Market, Spear Tower
                                                         S−3600
                                                         San Francisco, CA 94105
                                                         (415) 293−8039
                                                         Fax: (415) 293−8001
                                                         Email: azram@themehdifirm.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
STEPHANIE JUNG                            represented by Steven N. Williams
on behalf of herself and all others                      COTCHETT, PITRE, SIMON &
similarly situated                                       MCCARTHY
                                                         840 Malcolm Road
                                                         Suite 200
                                                         Burlingame, CA 94010
                                                         (650) 697−6000
                                                         Fax: (650) 697−0577
                                                         Email: swilliams@cpmlegal.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Adam J. Zapala
                                                        COTCHETT, PITRE & MCCARTHY,
                                                        LLP
                                                        840 Malcolm Road
                                                        Suite 200
                                                        Burlingame, CA 94010
                                                        (650) 697−6000
                                                        Fax: (650) 697−0577
                                                        Email: azapala@cpmlegal.com
                                                        ATTORNEY TO BE NOTICED

Plaintiff
DEAN TED

Plaintiff
BONNIE FOSTER PATRICK

Plaintiff
LORRIE ANN COATES

Plaintiff
DELIA MELLEN
on behalf of herself, and all others
similarly situated

Plaintiff


                                       Add.126
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page51 of 194

DAVID MARKUN
on behalf of himself and all others
similarly situated

Plaintiff
AMELIA BELL
on behalf of herself and all other
similarly situated

Plaintiff
JUDAH NATHANSON
on behalf of himself and all others
similarly situated

Plaintiff
RICHARD P. IEYOUB, SR
both individually and on behalf of all
others similarly situated

Plaintiff
PAULA A. ATES
individually and on behalf of all those
similarly situated

Plaintiff
JENNIFER BERDAY                              represented by Lynn A. Toops
on behalf of herself and all others                         COHEN & MALAD LLP
similarly situated                                          One Indiana Square
                                                            Suite 1400
                                                            Indianapolis, IN 46204
                                                            (317)636−6481
                                                            Fax: (317)636−2593
                                                            Email: ltoops@cohenandmalad.com
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                           Richard E. Shevitz
                                                           COHEN & MALAD LLP
                                                           One Indiana Square
                                                           Suite 1400
                                                           Indianapolis, IN 46204
                                                           (317)636−6481
                                                           Fax: (317)636−2593
                                                           Email: rshevitz@cohenandmalad.com
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
KUMAR PATEL                                  represented by Natalie Finkelman Bennett
on behalf of themselves and all others                      MILLER SHAH LLP
similarly situated                                          1845 Walnut Street, Suite 806
                                                            Philadelphia, PA 19103
                                                            610−891−9880
                                                            Fax: 866−300−7367
                                                            Email: nfinkelman@millerlaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff

                                          Add.127
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page52 of 194

RAJESH PATEL                                 represented by Natalie Finkelman Bennett
on behalf of themselves and all others                      (See above for address)
similarly situated                                          LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
AARON LAY                                    represented by Gregory F. Coleman
on behalf of himself and all others                         GREG COLEMAN LAW PC
similarly situated                                          550 Main Avenue
                                                            Suite 600
                                                            Knoxville, TN 37902
                                                            865−247−0080
                                                            Fax: 865−522−0049
                                                            Email: greg@gregcolemanlaw.com
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Plaintiff
THERESA BROWN                                represented by Gregory F. Coleman
on behalf of herself and all others                         (See above for address)
similarly situated                                          LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Plaintiff
MICHAEL GARZEL

Plaintiff
GUILLERMO DE LA GARZA

Plaintiff
GAIL WOLFE

Plaintiff
ANGELINA CHANDLER

Plaintiff
CHARLES G. DIBRELL, III

Plaintiff
WILLIAM B. COTTRELL

Plaintiff
MICHAEL OHLSTEIN

Plaintiff
XAVIER BESS                                  represented by George A. Zelcs
Individually and on Behalf of All Those                     KOREIN TILLERY, LLC
Similarly Situated                                          205 North Michigan Avenue
                                                            Suite 1950
                                                            Chicago,, IL 60601
                                                            (312) 641−9750
                                                            Fax: (312) 641−9751
                                                            Email: gzelcs@koreintillery.com
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED


                                          Add.128
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page53 of 194

Plaintiff
JORDAN LEIGH                                represented by George A. Zelcs
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
ALANA COSTANTINO                            represented by George A. Zelcs
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
VINCENT PANFIL                              represented by John R. Malkinson
on behalf of themselves and all others                     MALKINSON & HALPERN, P.C.
similarly situated                                         208 S. LaSalle Street
                                                           Suite 1750
                                                           Chicago, IL 60604
                                                           (312) 427−9600
                                                           Fax: (312) 750−1912
                                                           Email: jmalkinson@mhtriallaw.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
RICHARD E. KRAFT                            represented by John R. Malkinson
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
LARISSA D. KOSITS                           represented by Elizabet C. Pritzker
                                                           PRITZKER LEVINE LLP
                                                           180 Grand Avenue
                                                           Suite 1390
                                                           Oakland, CA 94612
                                                           (415) 805−8532
                                                           Fax: (415) 366−6110
                                                           Email: ecp@pritzkerlevine.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
JONATHAN SCHUMACHER                         represented by W. Joseph Bruckner
                                                           LOCKRIDGE GRINDAL NAUEN
                                                           P.L.L.P.
                                                           100 Washington Avenue, S.
                                                           Suite 2200
                                                           Minneapolis, MN 55401
                                                           (612) 339−6900
                                                           Fax: (612) 339−0981
                                                           Email: wjbruckner@locklaw.com
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
                                            represented by

                                         Add.129
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page54 of 194

ELIZABETH WALKER                                                Tyner D. Helms
On Behalf of Herself and All Others                             BEASLEY, ALLEN, CROW, METHVIN,
Similarly Situated                                              PORTIS & MILES, P.C.
                                                                P.O. Box 4160
                                                                Montgomery, AL 36103
                                                                334−269−2343
                                                                Email: tyner.helms@beasleyallen.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Archie I. Grubb , II
                                                                BEASLEY, ALLEN, CROW, METHVIN,
                                                                PORTIS & MILES, P.C.
                                                                218 Commerce Street
                                                                Montgomery, AL 36104
                                                                (334) 269−2343
                                                                Fax: (334) 954−7555
                                                                Email: archie.grubb@beasleyallen.com
                                                                ATTORNEY TO BE NOTICED

Plaintiff
MARTIN POMEROY                                    represented by David Andrew Bain
on behalf of himself and all others                              LAW OFFICES OF DAVID A. BAIN,
similarly situated                                               LLC
                                                                 1050 Promenade II
                                                                 1230 Peachtree Street
                                                                 Atlanta, GA 30309
                                                                 (404) 724−9990
                                                                 Fax: (404) 724−9986
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
NELSON VALDES                                     represented by Louis I. Mussman
                                                                 Ku & Mussman, PA
                                                                 12550 Biscayne Blvd
                                                                 Suite 406
                                                                 Miami, FL 33181
                                                                 (305) 891−1322
                                                                 Fax: (305) 891−4512
                                                                 Email: louis@kumussman.com
                                                                 LEAD ATTORNEY
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
BOSTON AMATEUR BASKETBALL                         represented by Robert Joseph Barton
CLUB, III, LTD.                                                  BARTON & DOWNES LLP
on behalf of itself and all others similarly                     1633 Connecticut Avenue NW
situated                                                         Suite 200
                                                                 Washington, DC 20009
                                                                 202−734−5458
                                                                 Email: jbarton@bartondownes.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
LINDA WILLIAMS                                    represented by Gil D. Messina
on behalf of herself and all others                              MESSINA LAW FIRM, P.C.
similarly situated                                               961 Holmdel Road
                                                                 Holmdel, NJ 07733
                                                                 (732) 332−9300

                                               Add.130
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page55 of 194

                                                          Fax: (732) 332−9301
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Joseph M. Alioto
                                                          ALIOTO LAW FIRM
                                                          One Sansome Street
                                                          35th Floor
                                                          San Francisco, CA 94104
                                                          (415) 434−8900
                                                          Fax: (415) 434−9200
                                                          Email: jmalioto@aliotolaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Lawrence G. Papale
                                                          LAW OFFICES OF LAWRENCE G.
                                                          PAPALE
                                                          1308 Main Street
                                                          Suite 117
                                                          Saint Helena, CA 94574
                                                          (707) 963−1704
                                                          Fax: (707) 963−0706
                                                          Email: lgpapale@papalelaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
HOWARD ROBINSON                             represented by Robert Joseph Barton
on behalf of himself and all others                        (See above for address)
similarly situated                                         LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
LAX & COMPANY, INC.                         represented by Robert Joseph Barton
on behalf of themselves and all others                     (See above for address)
similarly situated                                         LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
BRIAN BANK                                  represented by Adam C. Belsky
on behalf of himself and all others                        GROSS & BELSKY P.C.
similarly situated                                         201 Spear Street
                                                           Suite 1100
                                                           San Francisco, CA 94105
                                                           (415) 544−0200
                                                           Fax: (415) 544−0201
                                                           Email: adam@grossbelsky.com
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                          Terry Gross
                                                          GROSS & BELSKY P.C.
                                                          201 Spear Street
                                                          Suite 1100
                                                          San Francisco, CA 94105
                                                          (415) 544−0200
                                                          Fax: (415) 544−0201
                                                          Email: terry@grossbelsky.com
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                         Add.131
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page56 of 194

Plaintiff
GLORIA GOLDBLATT                              represented by Eric B. Fastiff
individually and on behalf of all others                     LIEFF CABRASER HEIMANN &
similarly situated                                           BERNSTEIN, LLP
                                                             275 Battery Street
                                                             29th Floor
                                                             San Francisco, CA 94111−3339
                                                             415−956−1000
                                                             Fax: 415−956−1008
                                                             Email: efastiff@lchb.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
BREANNA JACKSON                               represented by Eric B. Fastiff
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
DAVID MCENERNEY                               represented by John D. Radice
on behalf of himself and all other                           RADICE LAW FIRM PC
similarly situated                                           34 Sunset Boulevard
                                                             Long Beach, NJ 08008
                                                             (646) 386−7688
                                                             Fax: (609) 385−0745
                                                             Email: jradice@radicelawfirm.com
                                                             ATTORNEY TO BE NOTICED

Plaintiff
SETH LYONS                                    represented by John D. Radice
on behalf of himself and all other                           (See above for address)
similarly situated                                           ATTORNEY TO BE NOTICED

Plaintiff
CHRISTINA CLEVELAND                           represented by Manfred P. Muecke
                                                             MANFRED, APC
                                                             600 Broadway Avenue
                                                             Suite 700
                                                             San Diego, CA 92101
                                                             619−550−4005
                                                             Fax: 619−550−4006
                                                             Email: mmuecke@manfredapc.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
GARRETT KINDELSPIRE                           represented by Manfred P. Muecke
on behalf of themselves and all others                       (See above for address)
similarly situated                                           LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
EDWARD PARK                                   represented by Jack W. Lee
on his own behalf and on behalf of all                       MINAMI TAMAKI LLP
others similarly situated                                    360 Post Street
                                                             8th Floor
                                                             San Francisco, CA 94108
                                                             (415) 788−9000
                                                             Fax: (415) 398−3887

                                           Add.132
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page57 of 194

                                                        Email: jlee@minamitamaki.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Plaintiff
SARAH TRAN
on behalf of herself and all others
similarly situated

Plaintiff
JUDY A. REIBER
on behalf of herself and all others
similarly situated

Plaintiff
CHEROKII VERDUZCO                         represented by Cadio Zirpoli
on behalf of herself and all others                      JOSEPH SAVERI LAW FIRM, LLP
similarly situated                                       601 California Street
                                                         Suite 1000
                                                         San Francisco, CA 94108
                                                         415−500−6800
                                                         Fax: 415−395−9940
                                                         Email: czirpoli@saverilawfirm.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Guido Saveri
                                                        SAVERI & SAVERI, INC.
                                                        706 Sansome Street
                                                        San Francisco, CA 94111
                                                        (415) 217−6810
                                                        Fax: (415) 217−6813
                                                        Email: guido@saveri.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Lisa Saveri
                                                        SAVERI & SAVERI, INC.
                                                        706 Sansome Street
                                                        San Francisco, CA 94111
                                                        (415) 217−6810
                                                        Email: Lisa@saveri.com
                                                        ATTORNEY TO BE NOTICED

                                                        Matthew D. Heaphy
                                                        SAVERI & SAVERI, INC.
                                                        706 Sansome Street
                                                        San Francisco, CA 94111
                                                        (415) 217−6810
                                                        Email: mheaphy@saveri.com
                                                        ATTORNEY TO BE NOTICED

Plaintiff
MINGLI CHEN                               represented by Jiangxiao Athena Hou
                                                         ZELLE LLP
                                                         44 Montgomery Street
                                                         Suite 3400
                                                         San Francisco, CA 94104
                                                         (415) 693−0700
                                                         Fax: (415) 693−0770
                                                         Email: ahou@zelle.com
                                                         LEAD ATTORNEY

                                      Add.133
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page58 of 194

                                                              ATTORNEY TO BE NOTICED

Plaintiff
RICHARD KING                                 represented by Hilary K. Scherrer
on behalf of himself and all others                         HAUSFELD LLP
similarly situated                                          888 16th Street, NW
                                                            Ste 300
                                                            Washington, DC 20006
                                                            202−540−7200
                                                            Fax: 202−540−7201
                                                            Email: hscherrer@hausfeldllp.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
MICHAEL COFFEY, JR.

Plaintiff
JAMES GRIMES                                 represented by Robert Joseph Barton
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
CHARLES CARTE                                represented by Lee Albert
on Behalf of Himself and a Class of All                     GLANCY PRONGAY & MURRAY LLP
Others Similarly Situated                                   122 East 42nd Street
                                                            Suite 2920
                                                            New York, NY 10168
                                                            (212) 682−5340
                                                            Fax: (212) 884−0988
                                                            Email: lalbert@glancylaw.com
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Plaintiff
CAROLYN COLLINS

Plaintiff
HOWARD COLLINS

Plaintiff
BRIAN CONNELLY

Plaintiff
ANTHONY DENINNO

Plaintiff
CHRISTOPHER FALCONETTI

Plaintiff
NATHAN FRANK
on behalf of himself and all others
similarly situated

Plaintiff
                                             represented by

                                          Add.134
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page59 of 194

CRAIG KELLY                                               Christopher T. Micheletti
on behalf of himself and all others                       ZELLE LLP
similarly situated                                        555 12th Street
                                                          Suite 1230
                                                          Oakland, CA 94607
                                                          415−693−0700
                                                          Fax: 415−693−0770
                                                          Email: cmicheletti@zellelaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
JUDAH MICHAEL
on behalf of themselves and all others
similarly situated

Plaintiff
RICHARD PRICE                               represented by Peter Leckman
                                                           LANGER, GROGAN & DIVER, P.C.
                                                           1717 Arch Street
                                                           Suite 4130
                                                           Philadelphia, PA 19130
                                                           215−320−0876
                                                           Fax: 215−320−5703
                                                           Email: pleckman@langergrogan.com
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Plaintiff
JON KELLAM                                  represented by Craig L. Briskin
                                                           MEHRI & SKALET, PLLC
                                                           1250 Connecticut Avenue, NW
                                                           Suite 300
                                                           Washington, DC 20036
                                                           (202) 822−5100
                                                           Fax: (202) 822−4997
                                                           Email: cbriskin@findjustice.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
ANDREW NEMIT                                represented by Craig L. Briskin
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
ISRAEL KATZ                                 represented by Ronald J. Aranoff
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
LEVIN SIMES LLP                             represented by Daniel T. LeBel
On Behalf of Itself and All Others                         CONSUMER LAW PRACTICE OF
Similarly Situated                                         DANIEL T. LEBEL
                                                           3 Embarcadero Center
                                                           Suite 1650
                                                           San Francisco, CA 94111
                                                           (415) 513−1414

                                         Add.135
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page60 of 194

                                                               Fax: (877) 563−7848
                                                               Email: danlebel@consumerlawpractice.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

Plaintiff
STEVEN YENINAS                                represented by Jeannine M. Kenney
                                                             HAUSFELD LLP
                                                             325 Chestnut Street
                                                             Ste 900
                                                             Philadelphia, PA 19106
                                                             215−985−3270
                                                             Fax: 215−985−3271
                                                             Email: jkenney@hausfeld.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                               Katie R. Beran
                                                               HAUSFELD LLP
                                                               325 Chestnut Street
                                                               Suite 900
                                                               Philadelphia, PA 19106
                                                               (215) 985−3270
                                                               Fax: (215) 985−3271
                                                               Email: kberan@hausfeld.com
                                                               ATTORNEY TO BE NOTICED

                                                               Seth R. Gassman
                                                               Hausfeld LLP
                                                               600 Montgomery St
                                                               Suite 3200
                                                               San Francisco, CA 94111
                                                               415−633−1908
                                                               Email: sgassman@hausfeld.com
                                                               ATTORNEY TO BE NOTICED

Plaintiff
KEITH ANDERSON                                represented by Robert Joseph Barton
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
BARBARA LAWRENCE CONE                         represented by Robert S. Kitchenoff
individually and on behalf of all others                     WEINSTEIN KITCHENOFF & ASHER
similarly situated                                           LLC
                                                             100 South Broad Street
                                                             Suite 705
                                                             Philadelphia, PA 19110
                                                             (215) 545−7200
                                                             Fax: (215) 545−6535
                                                             Email: kitchenoff@wka−law.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
ALEXIA ATTARD
individually and on behalf of all others
similarly situated

Plaintiff
                                              represented by

                                           Add.136
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page61 of 194

ROBERT DERINGER                                              David M. Cialkowski
individually, and on behalf of all others                    ZIMMERMAN REED, LLP
similarly situated                                           1100 IDS Center
                                                             80 South 8th Street
                                                             Minneapolis, MN 55402
                                                             (612) 341−0400
                                                             Fax: (612) 341−0844
                                                             Email: david.cialkowski@zimmreed.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
JACOB DOMBROSKI                                represented by James M. Dombroski
                                                              LAW OFFICES OF JAMES M.
                                                              DOMBROSKI
                                                              P.O. Box 751027
                                                              Petaluma, CA 94975
                                                              (707) 762−7807
                                                              Fax: (707) 769−0419
                                                              Email: jdomski@aol.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Plaintiff
MARISA DOMBROSKI                               represented by James M. Dombroski
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Plaintiff
TINA EVANS
individually, and on behalf of all others
similarly situated

Plaintiff
LARRY HORWITZ
individually, and on behalf of all others
similarly situated

Plaintiff
KENT BUSEK                                     represented by Daniel E. Gustafson
individually, and on behalf of all others                     GUSTAFSON GLUEK PLLC
similarly situated                                            120 South Sixth Street
                                                              Suite 2600
                                                              Minneapolis, MN 55402
                                                              (612) 333−8844
                                                              Fax: (612) 339−6622
                                                              Email: dgustafson@gustafsongluek.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Plaintiff
JEFFREY LARSON
individually, and on behalf of all others
similarly situated

Plaintiff
JOHN−GABRIEL LICHT                             represented by David M. Cialkowski
on behalf of himself and all others                           (See above for address)
similarly situated                                            LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                            Add.137
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page62 of 194

Plaintiff
AUDREY ONDRADE                                    represented by James M. Dombroski
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
SHARON PRICE
individually, and on behalf of all others
similarly situated

Plaintiff
JAMES J. RILEY
individually, and on behalf of all others
similarly situated

Plaintiff
ROBERT ROLLAND
individually and and on behalf of all
others similary situated

Plaintiff
SHEARSON PUBLISHING
on behalf of itself and all others similarly
situated

Plaintiff
TIMOTHY ST. CYR
individually and on behalf of all others
similarly situated

Plaintiff
STEVEN M. TRAUT WELLS, INC.                       represented by Daniel E. Gustafson
doing business as                                                (See above for address)
TRAUT WELLS                                                      LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
JAY TILAK                                         represented by Dianne M. Nast
individually, and on behalf of all others                        NastLaw LLC
similarly situated                                               1101 Market Street
                                                                 Suite 2801
                                                                 Philadelphia, PA 19107
                                                                 215−923−9300
                                                                 Fax: 215−923−9302
                                                                 Email: dnast@nastlaw.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
KATHERINE ROSE WARNOCK                            represented by Daniel J. Mogin
individually, and on behalf of all others                        MOGINRUBIN LLP
similarly situated                                               One America Plaza
                                                                 600 West Broadway
                                                                 Suite 3300
                                                                 San Diego, CA 92101
                                                                 619−798−5333
                                                                 Email: dmogin@moginrubin.com
                                                                 LEAD ATTORNEY

                                               Add.138
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page63 of 194

                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

Plaintiff
DAVID WELLS                                       represented by David M. Cialkowski
individually, and on behalf of all others                        (See above for address)
similarly situated                                               LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
EDWARD LAWRENCE                                   represented by Joseph M. Alioto
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
MICHAEL MARTIN                                    represented by Joseph M. Alioto
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
ROSEMARIE GABRIELE

Plaintiff
UNION LABOR LIFE INSURANCE                        represented by Paul L. Knight
COMPANY                                                          NOSSAMAN LLP
on behalf of itself and all others similarly                     1401 New York Avenue, NW
situated                                                         Suite 800
                                                                 Washington, DC 20005
                                                                 202−887−1400
                                                                 Fax: 202−466−3215
                                                                 Email: pknight@nossaman.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
HOWARD SLOAN KOLLER GROUP                         represented by Robert N. Kaplan
on behalf of itself and all others similarly                     KAPLAN FOX & KILSHEIMER LLP
situated                                                         850 Third Avenue
                                                                 4th Floor
                                                                 New York, NY 10022
                                                                 (212) 687−1980
                                                                 Fax: (212) 687−7714
                                                                 Email: rkaplan@kaplanfox.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
JENNIFER M. MCMAHON

Plaintiff
EDWARD C. PHILLIPS

Plaintiff
GAIL WARE
on behalf of herself and all others
similarly situated


                                               Add.139
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page64 of 194

Plaintiff
ARIA WINT
on behalf of herself and all others
similary situated

Plaintiff
KAREN BRUZDA

Plaintiff
ARVIND SUNDAR
on behalf of himself and all others
similarly situated

Plaintiff
ULLICO INC.                                       represented by Jay L. Himes
On behalf of itself and all others similarly                     (See above for address)
situated                                                         LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
CAROLYN COLLINS                                   represented by Allan Kanner
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
HOWARD COLLINS                                    represented by Allan Kanner
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
ROSEMARIE GABRIELE                                represented by Allan Kanner
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
PAUL MACOLINO
on behalf of himself and all others
similarly situated

Plaintiff
ERIC STETZLER                                     represented by Thomas P. Pier
                                                                 ALIOTO LAW FIRM
                                                                 One Sansome Street
                                                                 35th Floor
                                                                 San Francisco, CA 94104
                                                                 (415) 434−9200
                                                                 Fax: (415) 434−8900
                                                                 Email: tpier@aliotolaw.com
                                                                 LEAD ATTORNEY
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
ALL PLAINTIFFS                                    represented by Adam J. Zapala
                                                                 (See above for address)
                                                                 LEAD ATTORNEY

                                               Add.140
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page65 of 194

                                                      ATTORNEY TO BE NOTICED

                                                      Hilary K. Scherrer
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Michael David Hausfeld
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Steven N. Williams
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Cadio Zirpoli
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Lisa Saveri
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Matthew D. Heaphy
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff
WILLIAM RUBINSOHN                         represented by Lingel H. Winters
                                                         LAW OFFICES OF LINGEL H.
                                                         WINTERS
                                                         275 Battery Street
                                                         Suite 2600
                                                         San Francisco, CA 94111
                                                         (415) 398−2941
                                                         Fax: (415) 362−1431
                                                         Email: sawmill2@aol.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
AARON MULVEY                              represented by Aaron Kyle Mulvey
                                                         LAW OFFICES OF AARON K.
                                                         MULVEY PLLC
                                                         1327 Bar Harbor Drive
                                                         Dallas, TX 75232
                                                         (214) 282−5215
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
CAROLYN MULVEY                            represented by Aaron Kyle Mulvey
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
CATHERINE RICHMOND                        represented by CATHERINE RICHMOND
                                                         8061 Mozart Street
                                                         Round Rock, TX 78665

                                      Add.141
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page66 of 194

                                                        PRO SE

Plaintiff
JOSEPH HALL                               represented by JOSEPH HALL
                                                         8061 Mozart Street
                                                         Round Rock, TX 78665
                                                         PRO SE

Plaintiff
ELIZABETH MONTGOMERY                      represented by ELIZABETH MONTGOMERY
                                                         8061 Mozart Street
                                                         Round Rock, TX 78665
                                                         PRO SE


V.
Defendant
DELTA AIRLINES, INC                       represented by James Peter Denvir , III
a Delaware Corporation                                   BOIES, SCHILLER & FLEXNER LLP
                                                         1401 New York Avenue, NW
                                                         Washington, DC 20005
                                                         (202) 237−2727
                                                         Fax: (202) 237−6131
                                                         Email: jdenvir@bsfllp.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Michael S. Mitchell
                                                        BOIES, SCHILLER & FLEXNER LLP
                                                        1401 New York Avenue, NW
                                                        Washington, DC 20005
                                                        (202) 237−2727
                                                        Fax: (202) 237−6131
                                                        Email: mmitchell@bsfllp.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Defendant
UNITED AIRLINES, INC.                     represented by Kent Alan Gardiner
                                                         CROWELL & MORING LLP
                                                         1001 Pennsylvania Avenue, NW
                                                         Washington, DC 20004
                                                         202−624−2578
                                                         Email: kgardiner@crowell.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Paul Laurence Yde
                                                        FRESHFIELDS BRUCKHAUS
                                                        DERINGER US LLP
                                                        700 13th Street, NW
                                                        10th Floor
                                                        Washington, DC 20005
                                                        (202) 777−4530
                                                        Fax: (202) 777−4555
                                                        Email: paul.yde@freshfields.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Cheryl Anne Falvey
                                                        CROWELL & MORING LLP
                                                        1001 Pennsylvania Avenue, NW

                                      Add.142
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page67 of 194

                                                  Washington, DC 20004
                                                  (202) 624−2675
                                                  Email: cfalvey@crowell.com
                                                  ATTORNEY TO BE NOTICED

                                                  David Martin Schnorrenberg
                                                  CROWELL & MORING LLP
                                                  1001 Pennsylvania Avenue, N.W.
                                                  Washington, DC 20004
                                                  202−624−2664
                                                  Fax: 202−628−5116
                                                  Email: dschnorrenberg@crowell.com
                                                  ATTORNEY TO BE NOTICED

                                                  Luke P. van Houwelingen
                                                  CROWELL & MORING LLP
                                                  1001 Pennsylvania Ave., N.W.
                                                  1001 Pennsylvania Avenue, NW
                                                  Washington, DC 20004−2595
                                                  202−624−2583
                                                  Email: lvanhouwelingen@crowell.com
                                                  ATTORNEY TO BE NOTICED

Defendant
FREDERICK ISAACSON                    represented by W. Scott Simmer
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant
UNITED CONTINENTAL                    represented by Kent Alan Gardiner
HOLDINGS, INC.                                       (See above for address)
a Delaware corporation                               LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                  Paul Laurence Yde
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Cheryl Anne Falvey
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  David Martin Schnorrenberg
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
AMERICAN AIRLINES GROUP,              represented by Richard G. Parker
INC.                                                 GIBSON, DUNN & CRUTCHER, LLP
a Delaware corporation                               1050 Connecticut Avenue, N.W.
                                                     Washington, DC 20036
                                                     202−955−8503
                                                     Email: rparker@gibsondunn.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                  Benjamin G. Bradshaw
                                                  O'MELVENY & MYERS, LLP
                                                  1625 Eye Street, NW
                                                  Washington, DC 20006
                                                  (202) 383−5163

                                  Add.143
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page68 of 194

                                                                     Email: bbradshaw@omm.com
                                                                     ATTORNEY TO BE NOTICED

                                                                     Katrina M. Robson
                                                                     O'MELVENY & MYERS LLP
                                                                     1625 Eye Street, NW
                                                                     Washington, DC 20006
                                                                     (202) 220−5052
                                                                     Fax: (202) 383−5414
                                                                     Email: krobson@omm.com
                                                                     ATTORNEY TO BE NOTICED

Defendant
ABC CORPS. 1−100
inclusive

Defendant
JOHN DOES 1−100


V.
Interested Party
STEPHEN WILLETT                                     represented by Stephan F. Willett
                                                                   4503 Gilbertson Rd
                                                                   Fairfax, VA 22032
                                                                   (703) 855−3724
                                                                   Email: stephan.willett@yahoo.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

Interested Party
MICHAEL ARGIE                                       represented by MICHAEL ARGIE
                                                                   17055 Spanghurst Dr
                                                                   Walton Hills, OH 44146
                                                                   PRO SE


 Date Filed    #      Docket Text
 10/13/2015        1 COPY OF TRANSFER ORDER dated 10/13/15 from the Judicial Panel on
                     Multidistrict Litigation directing the transfer to the U.S. District Court for the District
                     of Columbia, with the consent of that court, assigned to the Honorable Judge Colleen
                     Kollar−Kotelly, for coordinated pretrial proceedings pursuant to 28 U.S.C.
                     1407.(MDL 2656) (ztnr) (Entered: 10/19/2015)
 10/23/2015        2 COPY OF CONDITIONAL TRANSFER ORDER (CTO−1) dated 10/23/2015 from
                     the Judicial Panel on Multidistrict Litigation directing the transfer to the U.S. District
                     Court for the District of Columbia, with the consent of that court, assigned to the
                     Honorable Colleen Kollar−Kotelly for coordinated pretrial proceedings pursuant to 28
                     U.S.C. 1407.(MDL 2656) (ztnr) (Entered: 10/28/2015)
 10/28/2015        3 COPY OF CONDITIONAL TRANSFER ORDER (CTO−2) dated 8/28/15 from the
                     Judicial Panel on Multidistrict Litigation directing the transfer to the U.S. District
                     Court for the District of Columbia with the consent of that court, assigned to the
                     Honorable Judge Colleen Kollar−Kotelly for coordinated pretrial proceedings pursuant
                     to 28 U.S.C. 1407.(MDL 2656) (ztnr) (Entered: 10/29/2015)
 10/30/2015        4 INITIAL PRACTICE AND PROCEDURE ORDER UPON TRANSFER PURSUANT
                     TO 28 U.S.C. § 1407. Signed by Judge Colleen Kollar−Kotelly on October 30, 2015.
                     (NS) (Entered: 10/30/2015)
 11/03/2015        5 ENTERED IN ERROR.....NOTICE of Appearance by Azra Z. Mehdi on behalf of
                     James L Stewart Associated Cases: 1:15−mc−01404−CKK,

                                               Add.144
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page69 of 194

                                                                                                    ECF
                                  U.S. District Court
                     Southern District of New York (Foley Square)
                   CIVIL DOCKET FOR CASE #: 1:16−md−02704−JPO

In re: Interest Rate Swaps Antitrust Litigation                 Date Filed: 06/03/2016
Assigned to: Judge J. Paul Oetken                               Jury Demand: Both
Related Cases: 1:16−cv−02858−JPO                                Nature of Suit: 410 Anti−Trust
                  1:16−cv−03542−JPO                             Jurisdiction: Federal Question
                  1:16−cv−04005−JPO
                  1:16−cv−04089−JPO
                  1:15−cv−09319−JPO
                  1:16−cv−04239−JPO
                  1:18−cv−05361−JPO
                  1:16−cv−04561−JPO
                  1:16−cv−04563−JPO
                  1:16−cv−04566−JPO
                  1:16−cv−05260−JPO
Cause: 15:15 Antitrust Litigation
Plaintiff
Mayor and City Council of Baltimore               represented by Cory Spencer Buland
Mayor and City Council of Baltimore                              Susman Godfrey LLP (NYC)
                                                                 560 Lexington Avenue 15th Floor
                                                                 New York, NY 10022
                                                                 212−336−8330
                                                                 Fax: 212−336−8340
                                                                 Email: cbuland@susmangodfrey.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                               Daniel Lawrence Brockett
                                                               Quinn Emanuel
                                                               51 Madison Avenue, 22nd Floor
                                                               New York, NY 10010
                                                               (212) 849−7000
                                                               Fax: (212) 849 7100
                                                               Email: danbrockett@quinnemanuel.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Elisha Brandis Barron
                                                               Susman Godfrey LLP (NYC)
                                                               1301 Avenue of the Americas, 32nd Floor
                                                               New York, NY 10019
                                                               (212)−336−8330
                                                               Fax: (212)−336−8340
                                                               Email: ebarron@susmangodfrey.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Steven Jeffrey Toll
                                                               Cohen Milstein Sellers & Toll PLLC (DC)
                                                               1100 New York Avenue, N.W.
                                                               Suite 500, West Tower
                                                               Washington, DC 20005
                                                               (202) 408−4600
                                                               Fax: (202) 408−4699
                                                               Email: stoll@cohenmilstein.com
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE

                                              Add.145
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page70 of 194

                                                                ATTORNEY TO BE NOTICED

                                                                William Christopher Carmody
                                                                Susman Godfrey LLP (NYC)
                                                                1301 Avenue of the Americas, 32nd Floor
                                                                New York, NY 10019
                                                                (212)−336−8330
                                                                Fax: (212)−336−8340
                                                                Email: bcarmody@susmangodfrey.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Mark Howard Hatch−Miller
                                                                Susman Godfrey LLP (NYC)
                                                                1301 Avenue of the Americas, 32nd Floor
                                                                New York, NY 10019
                                                                (212) 336−8330
                                                                Fax: (212) 336−8340
                                                                Email: mhatch−miller@susmangodfrey.com
                                                                ATTORNEY TO BE NOTICED

Plaintiff
Public School Teachers' Pension and               represented by Carol V. Gilden
Retirement Fund of Chicago                                       Cohen Milstein Sellers & Toll PLLC (IL)
on behalf of itself and all others similarly                     190 North LaSalle Street
situated                                                         Chicago, IL 60603
                                                                 (312) 357 0370
                                                                 Fax: (312)−357−0369
                                                                 Email: cgilden@cohenmilstein.com
                                                                 LEAD ATTORNEY
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

                                                                Daniel Lawrence Brockett
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                David Leray
                                                                Quinn Emanuel Urquhart & Sullivan, LLP
                                                                51 Madison Ave, 22nd Fl
                                                                New York, NY 10010
                                                                212−849−7630
                                                                Email: davidleray@quinnemanuel.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                John Douglas Richards
                                                                Cohen Milstein Sellers & Toll P.L.L.C.
                                                                88 Pine Street
                                                                14th, Floor
                                                                New York, NY 10005
                                                                212−838−7797
                                                                Fax: 212−838−7745
                                                                Email: drichards@cohenmilstein.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Michael Benjamin Eisenkraft
                                                                Cohen Milstein Sellers & Toll P.L.L.C.
                                                                88 Pine Street
                                                                14th, Floor
                                                                New York, NY 10005
                                                                (212) 838−7797

                                               Add.146
Case 22-2079, Document 48, 04/20/2023, 3502340, Page71 of 194

                                         Fax: (212) 838−7745
                                         Email: meisenkraft@cohenmilstein.com
                                         LEAD ATTORNEY
                                         ATTORNEY TO BE NOTICED

                                         Sascha Nicholas Rand
                                         Quinn Emanuel Urquhart & Sullivan LLP
                                         51 Madison Avenue
                                         Ste 23rd Floor
                                         New York, NY 10010
                                         212−849−7175
                                         Email: sascharand@quinnemanuel.com
                                         LEAD ATTORNEY
                                         ATTORNEY TO BE NOTICED

                                         Sharon Kunjumon Robertson
                                         Cohen Milstein Sellers & Toll P.L.L.C.
                                         88 Pine Street
                                         14th, Floor
                                         New York, NY 10005
                                         (212) 838−7797 x758−3042
                                         Fax: (212) 838−7745
                                         Email: srobertson@cohenmilstein.com
                                         LEAD ATTORNEY
                                         ATTORNEY TO BE NOTICED

                                         Steig Olson
                                         Quinn Emanuel
                                         51 Madison Avenue, 22nd Floor
                                         New York, NY 10010
                                         (212) 849−7000
                                         Fax: (212) 849−7100
                                         Email: steigolson@quinnemanuel.com
                                         LEAD ATTORNEY
                                         ATTORNEY TO BE NOTICED

                                         Steven Jeffrey Toll
                                         (See above for address)
                                         LEAD ATTORNEY
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         William Walter Leathem
                                         Jacobs Burns Orlove & Hernandez
                                         150 N. Michigan Avenue, Suite 1000
                                         Chicago, IL 60601
                                         312−327−3446
                                         Fax: 312−580−7175
                                         Email: wleathem@jbosh.com
                                         LEAD ATTORNEY
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Brent W. Johnson
                                         Cohen Milstein Sellers & Toll PLLC (DC)
                                         1100 New York Avenue, N.W.
                                         Suite 500, West Tower
                                         Washington, DC 20005
                                         (202) 408−4600
                                         Email: bjohnson@cohenmilstein.com
                                         ATTORNEY TO BE NOTICED

                                         Christopher James Bateman
                                         Cohen Milstein Sellers & Toll PLLC
                                         88 Pine Street

                          Add.147
Case 22-2079, Document 48, 04/20/2023, 3502340, Page72 of 194

                                         14th Floor
                                         New York, NY 10005
                                         (212)−838−7797
                                         Fax: (212)−838−7745
                                         Email: cbateman@cohenmilstein.com
                                         ATTORNEY TO BE NOTICED

                                         Daniel H. Silverman
                                         Cohen Milstein Sellers & Toll
                                         1100 New York Avenue, Nw, Suite 500w
                                         Washington, DC 20005
                                         (202)−408−4600
                                         Fax: (202)−408−4699
                                         Email: dsilverman@cohenmilstein.com
                                         ATTORNEY TO BE NOTICED

                                         Jonathan Bacon Oblak
                                         Quinn Emanuel
                                         51 Madison Avenue, 22nd Floor
                                         New York, NY 10010
                                         212−702−8156
                                         Fax: 212−702−8200
                                         Email: jonoblak@quinnemanuel.com
                                         ATTORNEY TO BE NOTICED

                                         Julie Goldsmith Reiser
                                         Cohen Milstein Sellers & Toll PLLC (DC)
                                         1100 New York Avenue, N.W.
                                         Suite 500, West Tower
                                         Washington, DC 20005
                                         (202)−408−4600
                                         Email: jreiser@cohenmilstein.com
                                         ATTORNEY TO BE NOTICED

                                         Marc Laurence Greenwald
                                         Quinn Emanuel Urquhart & Sullivan LLP
                                         51 Madison Avenue
                                         22nd Floor
                                         New York, NY 10010
                                         (212)−849−7000
                                         Fax: (212)−849−7100
                                         Email: marcgreenwald@quinnemanuel.com
                                         ATTORNEY TO BE NOTICED

                                         Maxwell Paden Deabler−Meadows
                                         Quinn Emanuel Urquhart & Sullivan
                                         51 Madison Avenue, 22nd Floor
                                         New York, NY 10010
                                         (518)−231−0200
                                         Email: maxmeadows@quinnemanuel.com
                                         ATTORNEY TO BE NOTICED

                                         Robert White Cobbs
                                         Cohen Milstein Sellers & Toll PLLC (DC)
                                         1100 New York Avenue, N.W.
                                         Suite 500, West Tower
                                         Washington, DC 20005
                                         (202)−408−4600
                                         Fax: (202)−408−4699
                                         Email: rcobbs@cohenmilstein.com
                                         ATTORNEY TO BE NOTICED

                                         Steven M. Edwards
                                         Quinn Emanuel Urquhart & Sullivan
                                         (NYC)

                          Add.148
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page73 of 194

                                                         51 Madison Avenue
                                                         New York, NY 10010
                                                         (212)−918−3000
                                                         Fax: (212)−918−3100
                                                         Email: stevenedwards@quinnemanuel.com
                                                         ATTORNEY TO BE NOTICED

                                                         William Sears
                                                         Quinn Emanuel Urquhart & Sullivan
                                                         (NYC)
                                                         51 Madison Avenue
                                                         New York, NY 10010
                                                         (212)−849−7631
                                                         Email: willsears@quinnemanuel.com
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Magnolia Regional Health Center            represented by R. Bryant McCulley
                                                          McCulley McCluer PLLC
                                                          2113 Middle Street, Suite 208
                                                          Sullivans Island, SC 29842
                                                          (205) 238−6757
                                                          Fax: (662) 368−1506
                                                          Email: bmcculley@mcculleymccluer.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Harrison County, Mississippi               represented by Harrison County, Mississippi
                                                          PRO SE

Plaintiff
Cullman Regional Medical Center, Inc.      represented by R. Bryant McCulley
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Policemen's Annuity & Benefit Fund         represented by Christopher M. Burke
Of Chicago                                                Korein Tillery, PC
                                                          707 Broadway
                                                          Suite 1410
                                                          San Diego, CA 92101
                                                          619−625−5621
                                                          Email: Cburke@KoreinTillery.com
                                                          ATTORNEY TO BE NOTICED

                                                         Peter Anthony Barile , III
                                                         Lowey Dannenberg, P.C.
                                                         44 South Broadway
                                                         Suite 1100
                                                         White Plains, NY 10601
                                                         914−733−7261
                                                         Fax: 914−997−0035
                                                         Email: pbarile@lowey.com
                                                         ATTORNEY TO BE NOTICED

                                                         Yifan Kate Lv
                                                         ScottScott, Attorneys At Law, LLP
                                                         707 Broadway, Suite 1000
                                                         San Diego, CA 92101
                                                         (619)−798−5300

                                        Add.149
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page74 of 194

                                                       Fax: (619)−233−0508
                                                       Email: klv@scott−scott.com
                                                       ATTORNEY TO BE NOTICED

Plaintiff
THE CITY OF PHILADELPHIA                  represented by Christopher M. Burke
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                       Peter Anthony Barile , III
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       William Leonard
                                                       Obermayer Rebmann Maxwell & Hippel
                                                       LLP
                                                       One Penn Cener, 1617 Jfk Blvd., Floor 19
                                                       Philadelphia, PA 19103
                                                       (215)−665−3228
                                                       Email: william.leonard@obermayer.com
                                                       ATTORNEY TO BE NOTICED

                                                       Yifan Kate Lv
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Tera Advanced Technologies, LLC           represented by David H Wollmuth
                                                         Wollmuth Maher & Deutsch LLP
                                                         500 Fifth Avenue, Suite 1200
                                                         New York, NY 10110
                                                         (212) 382−3300
                                                         Fax: (212) 382−0050
                                                         Email: DWollmuth@wmd−law.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Ryan Anthony Kane
                                                       Wallmuth Maher & Deutsch LLP
                                                       500 Fifth Avenue
                                                       New York, NY 10110
                                                       212−382−3300
                                                       Fax: 212−382−0050
                                                       Email: rkane@wmd−law.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Thomas P Ogden
                                                       Wollmuth Maher & Deutsch LLP
                                                       500 Fifth Avenue
                                                       New York, NY 10110
                                                       212−382−3300
                                                       Fax: 212−382−0050
                                                       Email: togden@wmd−law.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Brant Duncan Kuehn
                                                       Wollmuth Maher & Deutsch LLP
                                                       500 Fifth Avenue
                                                       New York, NY 10110
                                                       (212)−382−3300
                                                       Fax: (212)−382−0050
                                                       Email: bkuehn@wmd−law.com

                                      Add.150
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page75 of 194

                                                      ATTORNEY TO BE NOTICED

                                                      Fletcher William Strong
                                                      Wollmuth Maher & Deutsch LLP
                                                      500 Fifth Avenue
                                                      New York, NY 10110
                                                      212−382−3300
                                                      Fax: 212−382−0050
                                                      Email: fstrong@wmd−law.com
                                                      ATTORNEY TO BE NOTICED

                                                      R. Scott Thompson
                                                      Wollmuth Maher & Deutsch LLP
                                                      500 Fifth Avenue
                                                      New York, NY 10110
                                                      212−382−3300
                                                      Fax: 212−382−0500
                                                      Email: sthompson@WMD−LAW.COM
                                                      ATTORNEY TO BE NOTICED

                                                      Randall R. Rainer
                                                      Wollmuth Maher & Deutsch LLP
                                                      500 Fifth Avenue
                                                      New York, NY 10110
                                                      212−382−3300
                                                      Fax: 212−382−0050
                                                      Email: RRainer@wmd−law.com
                                                      ATTORNEY TO BE NOTICED

                                                      William Andrew Maher
                                                      Wollmuth, Maher & Deutsch, LLP
                                                      500 Fifth Avenue
                                                      New York, NY 10110
                                                      (212) 382−3300
                                                      Fax: (212)−382−0050
                                                      Email: wmaher@wmd−law.com
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Tera Group, Inc.                          represented by David H Wollmuth
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Ryan Anthony Kane
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Thomas P Ogden
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Brant Duncan Kuehn
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Fletcher William Strong
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      R. Scott Thompson
                                                      (See above for address)

                                      Add.151
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page76 of 194

                                                       ATTORNEY TO BE NOTICED

                                                       Randall R. Rainer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       William Andrew Maher
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff
TeraExchange, LLC                         represented by David H Wollmuth
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Ryan Anthony Kane
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Thomas P Ogden
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Brant Duncan Kuehn
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Fletcher William Strong
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       R. Scott Thompson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Randall R. Rainer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       William Andrew Maher
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Javelin Capital Markets LLC               represented by Robert Cummins , I
                                                         The Cummins Law Firm, P.C.
                                                         Two Canal Plaza
                                                         P.O. BOX 4600
                                                         Ste P.O. Box 4600
                                                         Portland, ME 04112
                                                         207−553−4712
                                                         Email: rcummins@nhdlaw.com
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Javelin SEF, LLC                          represented by David H Wollmuth
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                      Add.152
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page77 of 194


                                                        Ryan Anthony Kane
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Thomas P Ogden
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Robert Cummins , I
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Kansas City, Missouri Employees'          represented by Scott Allan Martin
Retirement System                                        Hausfeld LLP
                                                         165 Broadway, Suite 2301
                                                         New York, NY 00000
                                                         212−357−1195
                                                         Fax: 212−202−4322
                                                         Email: smartin@hausfeld.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Benjamin Galdston
                                                        Omnum Law APC
                                                        4350 Executive Drive
                                                        Suite 350
                                                        San Diego, CA 92121
                                                        858−539−9767
                                                        Email: bgaldston@bm.net
                                                        ATTORNEY TO BE NOTICED

                                                        Brandon Marsh
                                                        Saxena White P.A.
                                                        12750 High Bluff Drive
                                                        Ste 475
                                                        San Diego, CA 92130
                                                        858−997−0860
                                                        Fax: 858−369−0096
                                                        Email: bmarsh@hueston.com
                                                        ATTORNEY TO BE NOTICED

                                                        David R. Kaplan
                                                        Saxena White P.A.
                                                        505 Lomas Santa Fe Drive
                                                        Suite 180
                                                        Solana Beach, CA 92075
                                                        858−997−0860
                                                        Fax: 858−369−0096
                                                        Email: dkaplan@saxenawhite.com
                                                        ATTORNEY TO BE NOTICED

                                                        Lucas E. Gilmore
                                                        Bernstein Litowitz Berger & Grossmann
                                                        LLP
                                                        12481 High Bluff Drive, Suite 300
                                                        San Diego, CA 92130
                                                        (858)−720−3185
                                                        Fax: (858)−793−0323
                                                        Email: lucas.gilmore@blbglaw.com

                                      Add.153
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page78 of 194

                                                        ATTORNEY TO BE NOTICED

Plaintiff
Genesee County Employees'                 represented by David J Goldsmith
Retirement System                                        Schlam Stone & Dolan LLP
                                                         26 Broadway, 19th Fl.
                                                         New York, NY 10004
                                                         212−344−5400
                                                         Fax: 212−344−7677
                                                         Email: dgoldsmith@schlamstone.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Gregory Scott Asciolla
                                                        DiCello Levitt LLC
                                                        485 Lexington Avenue
                                                        Tenth Floor
                                                        New York, NY 10017
                                                        646−933−1000
                                                        Fax: 646−494−9648
                                                        Email: gasciolla@dicellolevitt.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jay L. Himes
                                                        New York State Office of the Attorney
                                                        General
                                                        28 Liberty Street
                                                        New York, NY 10007
                                                        212−416−6249
                                                        Email: jay.himes@ag.ny.gov
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Karin Elizabeth Garvey
                                                        DiCello Levitt LLC
                                                        485 Lexington Avenue
                                                        Tenth Floor
                                                        New York, NY 10017
                                                        646−933−1000
                                                        Fax: 646−494−9648
                                                        Email: kgarvey@dicellolevitt.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Matthew Joseph Perez
                                                        DiCello Levitt LLC
                                                        485 Lexington Avenue
                                                        Tenth Floor
                                                        New York, NY 10017
                                                        646−933−1000
                                                        Fax: 646−494−9648
                                                        Email: mperez@dicellolevitt.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Robin Ann Van Der Meulen
                                                        DiCello Levitt LLC
                                                        485 Lexington Avenue
                                                        Tenth Floor
                                                        New York, NY 10017
                                                        646−933−1000
                                                        Fax: 646−494−9648
                                                        Email: rvandermeulen@dicellolevitt.com

                                      Add.154
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page79 of 194

                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Daniel Lawrence Brockett
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff
LD Construction LLC                         represented by Jason Allen Zweig
on behalf of themselves and all others                     Keller Postman LLC
similarly situated                                         150 N Riverside Plaza
                                                           Suite 4100
                                                           Chicago, IL 60606
                                                           312−216−8667
                                                           Email: jaz@kellerpostman.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Steve W. Berman
                                                          Hagens Berman Sobol Shapiro LLP
                                                          (Seattle)
                                                          1918 8th, Avenue
                                                          Suite 3300
                                                          Seattle, WA 98101
                                                          (206) 623−7292
                                                          Fax: (206) 623−0594
                                                          Email: steve@hbsslaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
LDLJ Associates, L.P.                       represented by Jason Allen Zweig
on behalf of themselves and all others                     (See above for address)
similarly situated                                         LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Steve W. Berman
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
David Gardner                               represented by Jason Allen Zweig
on behalf of himself and all others                        (See above for address)
similarly situated                                         LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Steve W. Berman
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Harrison County, Mississippi                represented by George A. Zelcs
                                                           Korein Tillery, LLC
                                                           205 North Michigan Avenue
                                                           Suite 1950
                                                           Chicago, IL 60601
                                                           312−641−9750
                                                           Email: gzelcs@koreintillery.com
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE

                                         Add.155
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page80 of 194

                                                          ATTORNEY TO BE NOTICED

                                                          John Anton Libra
                                                          Korein Tillery, LLC
                                                          205 N. Michigan Avenue
                                                          Suite 1950
                                                          Chicago, IL 60601
                                                          312 641 9750
                                                          Email: JLibra@KoreinTillery.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          R. Bryant McCulley
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Magnolia Regional Health Center             represented by George A. Zelcs
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                          John Anton Libra
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Cullman Regional Medical Center, Inc.       represented by George A. Zelcs
on behalf of themselves and all others                     (See above for address)
similarly situated                                         LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                          John Anton Libra
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Plaintiff
THE CITY OF PHILADELPHIA                    represented by Chad Emerson Bell
On Behalf of Itself and All Others                         Korein Tillery
Similarly Situated                                         205 N. Michigan Ave. Suite 1950
                                                           Chicago, IL 60601
                                                           (312)−961−6112
                                                           Email: CBell@KoreinTillery.com
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                          George A. Zelcs
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          John Anton Libra
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED


                                         Add.156
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page81 of 194

                                                       Kate Lv
                                                       Scott+Scott, Attorneys at Law, LLP
                                                       Suite 1000
                                                       707 Broadway
                                                       San Diego, CA 92101
                                                       (619) 233−4565
                                                       Email: klv@scott−scott.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Randall P. Ewing , Jr.
                                                       Korein Tillery, LLC
                                                       205 No. Michigan Ave.
                                                       Chicago, IL 60601
                                                       (312)−641−9750
                                                       Fax: (312)−641−9751
                                                       Email: REwing@KoreinTillery.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Policemen's Annuity and Benefit Fund      represented by George A. Zelcs
of Chicago                                               (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                       John Anton Libra
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Kate Lv
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Michael Benjamin Eisenkraft
                                                       Cohen Milstein Sellers & Toll PLLC
                                                       88 Pine Street
                                                       14th Floor
                                                       New York, NY 10005
                                                       (212) 838−7797
                                                       Fax: (212) 838−7745
                                                       Email: meisenkraft@cohenmilstein.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Plaintiff
trueEX LLC                                represented by trueEX LLC
                                                         PRO SE

Plaintiff
Los Angeles County Employees              represented by Daniel Lawrence Brockett
Retirement Association                                   (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                       Daniel H. Silverman
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                       Add.157
          Case 22-2079, Document 48, 04/20/2023, 3502340, Page82 of 194


                                                                Michael Benjamin Eisenkraft
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED


V.
Consolidated Plaintiff
Triangle T Partners, LLC                          represented by David A. Langer
On behalf of itself and all others similarly                     Berger & Montague, P.C.
situated                                                         1622 Locust Street
                                                                 Philadelphia, PA 19103
                                                                 (215) 875−4644
                                                                 Fax: (215)−875−5707
                                                                 Email: dlanger@bm.net
                                                                 ATTORNEY TO BE NOTICED

                                                                Merrill G Davidoff
                                                                Berger & Montague PC (PA)
                                                                1818 Market Street, Suite 3600
                                                                Philadelphia, PA 19103
                                                                (215)−875−3000
                                                                Fax: (215)−875−4604
                                                                Email: mdavidoff@bm.net
                                                                ATTORNEY TO BE NOTICED

                                                                Michael C. Dell'Angelo
                                                                Berger & Montague, P.C.
                                                                1622 Locust Street
                                                                Philadelphia, PA 19103
                                                                (215) 875−3080
                                                                Fax: (215)−875−4604
                                                                Email: mdellangelo@bm.net
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED


V.
Petitioner
Lawrence W. Gardner                               represented by Jason Allen Zweig
on behalf of himself and all others                              (See above for address)
similarly situated                                               LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                Steve W. Berman
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED


V.
Defendant
Bank Of America Corporation                       represented by Adam Selim Hakki
                                                                 Shearman & Sterling LLP (NY)
                                                                 599 Lexington Avenue
                                                                 New York, NY 10022
                                                                 (212)−848−4924
                                                                 Fax: (646)−848−4924
                                                                 Email: ahakki@shearman.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                               Add.158
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page83 of 194


                                                       Richard Franklin Schwed
                                                       Shearman & Sterling LLP (NY)
                                                       599 Lexington Avenue
                                                       New York, NY 10022
                                                       212−848−5445
                                                       Fax: 646−848−5445
                                                       Email: rschwed@shearman.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Dennis Danai Kitt
                                                       Shearman & Sterling LLP (NY)
                                                       599 Lexington Avenue
                                                       New York, NY 10022
                                                       212−848−4000
                                                       Email: dennis.kitt@shearman.com
                                                       ATTORNEY TO BE NOTICED

                                                       John F. Cove , Jr.
                                                       Shearman & Sterling LLP
                                                       535 Mission Street, 25th Floor
                                                       San Francisco, CA 94105
                                                       415−616−1100
                                                       Fax: 415−616−1339
                                                       Email: john.cove@shearman.com
                                                       ATTORNEY TO BE NOTICED

Defendant
Bank of America, N.A.                      represented by Adam Selim Hakki
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Richard Franklin Schwed
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Dennis Danai Kitt
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED
                                                       John F. Cove , Jr.
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Merrill Lynch, Pierce, Fenner & Smith      represented by Adam Selim Hakki
Incorporated                                              (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Richard Franklin Schwed
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Dennis Danai Kitt
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       John F. Cove , Jr.
                                                       (See above for address)

                                        Add.159
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page84 of 194

                                                       ATTORNEY TO BE NOTICED

Defendant
Barclays PLC                          represented by Christopher J. Clark
                                                     Latham & Watkins LLP
                                                     1271 Avenue of the Americas
                                                     New York, NY 10020
                                                     212−906−1200
                                                     Fax: 212−751−4864
                                                     Email: christopher.clark2@lw.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                       James Ellis Brandt
                                                       Latham & Watkins LLP
                                                       1271 Avenue of the Americas
                                                       New York, NY 10020
                                                       212−906−1200
                                                       Fax: 212−751−4864
                                                       Email: james.brandt@lw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Lawrence Edward Buterman
                                                       Latham & Watkins LLP
                                                       1271 Avenue of the Americas
                                                       New York, NY 10020
                                                       212−906−1200
                                                       Fax: 212−751−4864
                                                       Email: lawrence.buterman@lw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       M. Theodore Takougang
                                                       Latham & Watkins LLP (NY)
                                                       885 Third Avenue
                                                       New York, NY 10022
                                                       (212)−906−1200
                                                       Fax: (212)−751−4864
                                                       Email: theodore.takougang@lw.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Margaret M. Zwisler
                                                       600 Hillmead Raod
                                                       Bethesda, MD 20817
                                                       301−469−7128
                                                       Email: peggyzwisler@gmail.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Jessica Danielle Rostoker
                                                       Latham & Watkins LLP
                                                       885 Third Avenue
                                                       New York, NY 10022
                                                       (212)−906−4737
                                                       Fax: (212)−751−4864
                                                       Email: jessica.rostoker@lw.com
                                                       ATTORNEY TO BE NOTICED

Defendant
Barclays Bank PLC                     represented by

                                  Add.160
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page85 of 194

                                                     Christopher J. Clark
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     James Ellis Brandt
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Lawrence Edward Buterman
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     M. Theodore Takougang
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Margaret M. Zwisler
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

Defendant
Barclays Capital Inc.                  represented by Christopher J. Clark
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     James Ellis Brandt
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Lawrence Edward Buterman
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     M. Theodore Takougang
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Margaret M. Zwisler
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

Defendant
BNP Paribas, S.A.                      represented by Leah Friedman
                                                      Latham & Watkins LLP
                                                      1271 Avenue of the Americas
                                                      New York, NY 10020
                                                      212−906−1200
                                                      Email: leah.friedman@freshfields.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                   Add.161
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page86 of 194


                                                      Marshall Howard Fishman
                                                      Goodwin Procter, LLP (NYC)
                                                      The New York Times Building
                                                      620 Eighth Avenue
                                                      New York, NY 10018−1405
                                                      212−813−8800
                                                      Fax: 212−355−3333
                                                      Email: mfishman@goodwinlaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Michael Lacovara
                                                      Latham & Watkins LLP
                                                      1271 Avenue of the Americas
                                                      New York, NY 10020
                                                      212−906−1200
                                                      Fax: 212−751−4864
                                                      Email: michael.lacovara@freshfields.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Christine Vanessa Sama
                                                      Goodwin Procter, LLP (NYC)
                                                      The New York Times Building
                                                      620 Eighth Avenue
                                                      New York, NY 10018−1405
                                                      (212)−459−7369
                                                      Fax: (212)−355−3333
                                                      Email: csama@goodwinlaw.com
                                                      ATTORNEY TO BE NOTICED

                                                      Elizabeth M. Zito
                                                      Goodwin Procter LLP
                                                      The New York Times Building
                                                      620 Eighth Avenue
                                                      New York, NY 10018
                                                      (212) 813−8800
                                                      Fax: (212) 355−3333
                                                      Email: ezito@goodwinlaw.com
                                                      ATTORNEY TO BE NOTICED

                                                      Jared Robin Killeen
                                                      Morgan Lewis & Bockius, LLP (PA)
                                                      1701 Market Street
                                                      Philadelphia, PA 19103
                                                      215−963−5478
                                                      Email: jared.killeen@morganlewis.com
                                                      ATTORNEY TO BE NOTICED

                                                      Meghan K. Spillane
                                                      Goodwin Procter LLP
                                                      The New York Times Building, 620 Eighth
                                                      Avenue
                                                      New York, NY 10018
                                                      (212) 813−8800
                                                      Fax: (212) 355−3333
                                                      Email: mspillane@goodwinlaw.com
                                                      ATTORNEY TO BE NOTICED

Defendant
BNP Paribas Securities Corp.           represented by Leah Friedman
                                                      (See above for address)
                                                      LEAD ATTORNEY

                                   Add.162
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page87 of 194

                                                     ATTORNEY TO BE NOTICED

                                                     Marshall Howard Fishman
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Michael Lacovara
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Christine Vanessa Sama
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Elizabeth M. Zito
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Jared Robin Killeen
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Meghan K. Spillane
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Citigroup, Inc.                        represented by Brad Scott Karp
                                                      Paul, Weiss, Rifkind, Wharton & Garrison
                                                      LLP (NY)
                                                      1285 Avenue of the Americas
                                                      New York, NY 10019
                                                      212−373−2384
                                                      Fax: 212−373−2384
                                                      Email: bkarp@paulweiss.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     Kenneth Anthony Gallo
                                                     Paul, Weiss, Rifkind, Wharton & Garrison
                                                     LLP (NYC)
                                                     1285 Avenue of the Americas
                                                     New York, NY 10019
                                                     202−223−7356
                                                     Fax: 202−223−7456
                                                     Email: kgallo@paulweiss.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Roberto Gonzalez
                                                     Paul, Weiss, Rifkind, Wharton & Garrison,
                                                     LLP (DC)
                                                     2001 K Street, N.W.
                                                     5th Floor
                                                     Washington, DC 20006
                                                     (202)−223−7316
                                                     Email: rgonzalez@paulweiss.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     William Clareman
                                                     Paul, Weiss, Rifkind, Wharton & Garrison

                                   Add.163
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page88 of 194

                                                   LLP (NY)
                                                   1285 Avenue of the Americas
                                                   New York, NY 10019
                                                   (212) 373−3000 x3248
                                                   Fax: (212) 492−0248
                                                   Email: wclareman@paulweiss.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Defendant
Citibank N.A.                          represented by Brad Scott Karp
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Kenneth Anthony Gallo
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Roberto Gonzalez
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   William Clareman
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Defendant
Citigroup Global Markets Inc.          represented by Brad Scott Karp
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Kenneth Anthony Gallo
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Roberto Gonzalez
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   William Clareman
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Defendant
Citigroup Global Markets Limited       represented by Brad Scott Karp
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Kenneth Anthony Gallo
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Roberto Gonzalez

                                   Add.164
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page89 of 194

                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    William Clareman
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Defendant
Credit Suisse Group AG                represented by David George Januszewski
                                                     Cahill Gordon & Reindel LLP
                                                     32 Old Slip
                                                     10005
                                                     New York, NY 10005
                                                     212−701−3352
                                                     Email: djanuszewski@cahill.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Elai Katz
                                                    Cahill Gordon & Reindel LLP
                                                    32 Old Slip
                                                    10005
                                                    New York, NY 10005
                                                    212−701−3039
                                                    Email: ekatz@cahill.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Herbert Scott Washer
                                                    Cahill Gordon & Reindel LLP
                                                    32 Old Slip
                                                    New York, NY 10005
                                                    212−701−3435
                                                    Email: hwasher@cahill.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jason Michael Hall
                                                    Cahill Gordon & Reindel LLP
                                                    32 Old Slip
                                                    New York, NY 10005
                                                    212−701−3154
                                                    Email: jhall@cahill.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Sheila Chithran Ramesh
                                                    Cahill Gordon & Reindel LLP
                                                    32 Old Slip
                                                    New York, NY 10005
                                                    212−701−3833
                                                    Email: sramesh@cahill.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Peter James Linken
                                                    Cahill Gordon & Reindel LLP
                                                    32 Old Slip
                                                    New York, NY 10005
                                                    212−701−3000
                                                    Email: peter.linken@freshfields.com
                                                    ATTORNEY TO BE NOTICED

                                  Add.165
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page90 of 194

Defendant
Credit Suisse AG                        represented by David George Januszewski
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Elai Katz
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Herbert Scott Washer
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Jason Michael Hall
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Sheila Chithran Ramesh
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant
Credit Suisse International             represented by David George Januszewski
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Elai Katz
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Herbert Scott Washer
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Jason Michael Hall
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Sheila Chithran Ramesh
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Peter James Linken
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Credit Suisse Securities (USA) LLC      represented by David George Januszewski
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED



                                     Add.166
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page91 of 194

                                                    Elai Katz
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Herbert Scott Washer
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jason Michael Hall
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Sheila Chithran Ramesh
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Peter James Linken
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
Deutsche Bank AG                      represented by Eric Peter Stephens
                                                     Jones Day (NYC)
                                                     250 Vesey Street 34th Floor
                                                     New York, NY 10381
                                                     (212)−326−3939
                                                     Fax: (212)−755−7306
                                                     Email: epstephens@jonesday.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Rebekah E Blake
                                                    Jones Day (NYC)
                                                    250 Vesey Street 34th Floor
                                                    New York, NY 10381
                                                    212−326−3939
                                                    Fax: (212) 755−7306
                                                    Email: reblake@jonesday.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Tracy V. Schaffer
                                                    Jones Day (NYC)
                                                    250 Vesey Street 34th Floor
                                                    New York, NY 10381
                                                    (212)−326−3427
                                                    Fax: (212)−755−7306
                                                    Email: tschaffer@jonesday.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Andrew Juan Turnier
                                                    Jones Day
                                                    600 Brickell Avenue
                                                    Suite 3300
                                                    Miami, FL 33131
                                                    305−714−9700
                                                    Email: aturnier@jonesday.com
                                                    ATTORNEY TO BE NOTICED


                                  Add.167
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page92 of 194

                                                     Ryan John Andreoli
                                                     Jones Day (NYC)
                                                     250 Vesey Street 34th Floor
                                                     New York, NY 10281
                                                     212−326−3494
                                                     Email: randreoli@jonesday.com
                                                     ATTORNEY TO BE NOTICED

                                                     Sevan Ogulluk
                                                     Hine & Ogulluk LLP
                                                     445 Broadhollow Road, Ste. 229
                                                     Melville, NY 11747
                                                     516−900−7660
                                                     Email: sogulluk@hineogulluk.com
                                                     ATTORNEY TO BE NOTICED

                                                     William J. Hine
                                                     Hine & Ogulluk LLP
                                                     445 Broadhollow Road, Ste. 229
                                                     Melville, NY 11747
                                                     516−900−7660
                                                     Fax: 516−900−7661
                                                     Email: wjhine@hineogulluk.com
                                                     ATTORNEY TO BE NOTICED

Defendant
Deutsche Bank Securities Inc.          represented by Eric Peter Stephens
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     Rebekah E Blake
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Tracy V. Schaffer
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Andrew Juan Turnier
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Ryan John Andreoli
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Sevan Ogulluk
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     William J. Hine
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
The Goldman Sachs Group, Inc.          represented by Joseph Laurence Motto
                                                      Winston & Strawn LLP
                                                      35 W. Wacker Dr.
                                                      Chicago, IL 60601
                                                      (312) 558−3728
                                                      Email: jmotto@winston.com

                                   Add.168
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page93 of 194

                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Mark Steven Geiger
                                                       Sullivan & Cromwell, LLP(NYC)
                                                       125 Broad Street
                                                       New York, NY 10004
                                                       (212)−558−7943
                                                       Email: geigerm@sullcrom.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Richard C. Pepperman , II
                                                       Sullivan and Cromwell, LLP(NYC)
                                                       125 Broad Street
                                                       New York, NY 10004
                                                       (212) 558−3493
                                                       Fax: (212) 558−3588
                                                       Email: peppermanr@sullcrom.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Robert Y. Sperling
                                                       Paul, Weiss, Rifkind, Wharton & Garrison
                                                       LLP
                                                       1285 Avenue of the Americas
                                                       New York, NY 10019
                                                       212−373−3000
                                                       Email: rsperling@paulweiss.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Susannah Providence Torpey
                                                       Winston & Strawn LLP (NY)
                                                       200 Park Avenue
                                                       New York, NY 10166
                                                       212−294−6700
                                                       Fax: 212−294−4700
                                                       Email: storpey@winston.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       George Eric Mastoris
                                                       Winston & Strawn LLP (NY)
                                                       200 Park Avenue
                                                       New York, NY 10166
                                                       (212) 294−4623
                                                       Fax: (212) 294−4700
                                                       Email: gmastoris@winston.com
                                                       ATTORNEY TO BE NOTICED

                                                       Staci Lynn Yablon
                                                       Paul, Weiss, Rifkind, Wharton & Garrison
                                                       LLP
                                                       1285 Avenue of the Americas
                                                       New York, NY 10019
                                                       212−373−3000
                                                       Email: syablon@paulweiss.com
                                                       ATTORNEY TO BE NOTICED

Defendant
Goldman Sachs & Co.                   represented by

                                  Add.169
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page94 of 194

                                                  Joseph Laurence Motto
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Mark Steven Geiger
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Richard C. Pepperman , II
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Robert Y. Sperling
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Susannah Providence Torpey
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  George Eric Mastoris
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Staci Lynn Yablon
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Goldman Sachs Bank USA                represented by Joseph Laurence Motto
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED
                                                  Mark Steven Geiger
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Richard C. Pepperman , II
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Robert Y. Sperling
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Susannah Providence Torpey
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  George Eric Mastoris

                                  Add.170
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page95 of 194

                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Staci Lynn Yablon
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Goldman Sachs Financial Markets,      represented by Joseph Laurence Motto
L.P.                                                 (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Mark Steven Geiger
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Richard C. Pepperman , II
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Robert Y. Sperling
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Susannah Providence Torpey
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  George Eric Mastoris
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Staci Lynn Yablon
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Goldman Sachs International           represented by Joseph Laurence Motto
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Mark Steven Geiger
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Richard C. Pepperman , II
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Robert Y. Sperling
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE

                                   Add.171
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page96 of 194

                                                    ATTORNEY TO BE NOTICED

                                                    Susannah Providence Torpey
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    George Eric Mastoris
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Staci Lynn Yablon
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
J.P. Morgan Chase & Co.               represented by Andrew David Lazerow
                                                     Covington & Burling, L.L.P. (DC)
                                                     One City Center, 850 10th Street NW
                                                     Washington, DC 20001
                                                     202−662−5081
                                                     Email: alazerow@cov.com
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                    John S. Playforth
                                                    Covington & Burling LLP
                                                    1201 Pennsylvania Avenue, Nw
                                                    Washington, DC 20004
                                                    (202)−662−5635
                                                    Fax: (202)−662−6291
                                                    Email: jplayforth@cov.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Katharine Mitchell−Tombras
                                                    Covington & Burling, L.L.P. (DC)
                                                    One City Center, 850 10th Street NW
                                                    Washington, DC 20001
                                                    (202)−662−5174
                                                    Email: kmitchelltombras@cov.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Robert D. Wick
                                                    Covington & Burling, LLP
                                                    850 10th Street NW
                                                    Washington DC, DC 20001
                                                    202−662−6000
                                                    Email: rwick@cov.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

Defendant
J.P. Morgan Chase Bank, N.A.          represented by Andrew David Lazerow
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED


                                  Add.172
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page97 of 194

                                                  John S. Playforth
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Katharine Mitchell−Tombras
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Robert D. Wick
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

Defendant
J.P. Morgan Securities LLC            represented by Andrew David Lazerow
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  John S. Playforth
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Katharine Mitchell−Tombras
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Robert D. Wick
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

Defendant
J.P. Morgan Securities PLC            represented by Andrew David Lazerow
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  John S. Playforth
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Katharine Mitchell−Tombras
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Robert D. Wick
                                                  (See above for address)

                                  Add.173
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page98 of 194

                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

Defendant
Royal Bank of Scotland PLC             represented by Arthur J. Burke
                                                      Davis Polk & Wardwell
                                                      450 Lexington Avenue
                                                      New York, NY 10017
                                                      (212)−450−4000
                                                      Fax: (212)−450−3352
                                                      Email: arthur.burke@davispolk.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     James Irving McClammy
                                                     Davis Polk & Wardwell LLP
                                                     450 Lexington Avenue
                                                     New York, NY 10017
                                                     (212) 450−4584
                                                     Fax: (212) 450−3584
                                                     Email: mcclammy@dpw.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kelly Lynn McNamee
                                                     Greenberg Traurig, P.A
                                                     54 State Street
                                                     6th Floor
                                                     Albany, NY 12207
                                                     518−689−1400
                                                     Email: kelly.mcnamee@davispolk.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant
The Royal Bank of Scotland Group       represented by Arthur J. Burke
PLC                                                   (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     James Irving McClammy
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kelly Lynn McNamee
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant
RBS Securities Inc.                    represented by Arthur J. Burke
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     James Irving McClammy
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kelly Lynn McNamee

                                   Add.174
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page99 of 194

                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant
UBS AG                                 represented by Daniel G. Swanson
                                                      Gibson, Dunn & Crutcher LLP (CA2)
                                                      333 S. Grand Avenue, Suite 4600
                                                      Los Angeles, CA 90070
                                                      (213)−229−7148
                                                      Fax: (213)−229−6148
                                                      Email: dswanson@gibsondunn.com
                                                      ATTORNEY TO BE NOTICED

                                                     Elliott Morris Bacon
                                                     Katten Muchin Rosenman LLP (Chicago)
                                                     525 W. Monroe St.
                                                     Chicago, IL 60661
                                                     312−902−5608
                                                     Email: elliott.bacon@katten.com
                                                     ATTORNEY TO BE NOTICED

                                                     Gil M. Soffer
                                                     Katten Muchin Rosenman LLP
                                                     525 W. Monroe
                                                     Chicago, IL 60661
                                                     (312)−902−5474
                                                     Fax: (312)−902−1061
                                                     Email: gil.soffer@kattenlaw.com
                                                     ATTORNEY TO BE NOTICED

                                                     Michaela Holcombe
                                                     Katten Muchin Rosenman LLP
                                                     550 S Tryon Street
                                                     Suite 2900
                                                     Charlotte, NC 28202
                                                     704−344−3074
                                                     Email: michaela.holcombe@kattenlaw.com
                                                     ATTORNEY TO BE NOTICED

                                                     Peter Ginewicz Wilson
                                                     Katten Muchin Rosenman LLP (Chicago)
                                                     525 W. Monroe St.
                                                     Chicago, IL 60661
                                                     (312)−902−5649
                                                     Fax: (312)−902−1061
                                                     Email: peter.wilson@katten.com
                                                     ATTORNEY TO BE NOTICED

                                                     Shannon Gross
                                                     525 W. Monroe Street
                                                     Chicago, IL 60661
                                                     312−902−5442
                                                     Email: shannon.gross@kattenlaw.com
                                                     ATTORNEY TO BE NOTICED

Defendant
UBS Securities LLC                     represented by Daniel G. Swanson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                     Elliott Morris Bacon
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                   Add.175
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page100 of 194


                                                   Gil M. Soffer
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Michaela Holcombe
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Peter Ginewicz Wilson
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Shannon Gross
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
HSBC Bank USA, N.A.                   represented by Andrew S. Marovitz
                                                     Mayer Brown LLP (Chicago)
                                                     71 South Wacker Drive
                                                     Chicago, IL 60606
                                                     (312)−701−7116
                                                     Fax: (312)−706−8651
                                                     Email: amarovitz@mayerbrown.com
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                   Britt Marie Miller
                                                   Mayer Brown LLP
                                                   71 South Wacker Drive
                                                   Chicago, IL 60606
                                                   (312) 782−0600
                                                   Email: courtnotification@mayerbrown.com
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Richard A. Spehr
                                                   Mayer Brown LLP (NY)
                                                   1221 Avenue of the Americas
                                                   New York, NY 10020−1001
                                                   (212) 506−2500
                                                   Fax: (212) 262−1910
                                                   Email: rspehr@mayerbrown.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Defendant
HSBC Securities (USA) Inc.            represented by Andrew S. Marovitz
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                   Britt Marie Miller
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Richard A. Spehr
                                                   (See above for address)

                                  Add.176
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page101 of 194

                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Defendant
Morgan Stanley                        represented by Daniel Slifkin
                                                     Cravath, Swaine & Moore LLP
                                                     825 Eighth Avenue
                                                     New York, NY 10019
                                                     (212) 474−1000
                                                     Fax: (212) 474−3700
                                                     Email: dslifkin@cravath.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Michael A Paskin
                                                    Cravath, Swaine & Moore LLP
                                                    825 Eighth Avenue
                                                    New York, NY 10019
                                                    (212) 474−1000
                                                    Fax: (212) 474−3700
                                                    Email: mpaskin@cravath.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Damaris Hernandez
                                                    Cravath, Swaine & Moore LLP
                                                    825 Eighth Avenue
                                                    New York, NY 10019
                                                    (212)−474−1486
                                                    Fax: (212)−474−3700
                                                    Email: dhernandez@cravath.com
                                                    ATTORNEY TO BE NOTICED

Defendant
Morgan Stanley Bank, N.A.             represented by Daniel Slifkin
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Michael A Paskin
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Damaris Hernandez
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
Morgan Stanley & Co. LLC              represented by Daniel Slifkin
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Michael A Paskin
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Damaris Hernandez
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED


                                  Add.177
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page102 of 194

Defendant
Morgan Stanley Capital Services LLC      represented by Daniel Slifkin
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                     Michael A Paskin
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Damaris Hernandez
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Morgan Stanley Derivative Products       represented by Daniel Slifkin
Inc.                                                    (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                     Michael A Paskin
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Damaris Hernandez
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Morgan Stanley & Co. International       represented by Daniel Slifkin
plc                                                     (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                     Michael A Paskin
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Damaris Hernandez
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Morgan Stanley Bank International        represented by Daniel Slifkin
Limited                                                 (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                     Michael A Paskin
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Damaris Hernandez
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant


                                      Add.178
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page103 of 194

Non−Party Citibank, N.A.

Defendant
ICAP SEF (US) LLC                     represented by Harry T. Robins
                                                     Morgan, Lewis & Bockius LLP (New
                                                     York)
                                                     101 Park Avenue
                                                     New York, NY 10178
                                                     (212) 309−6000 x6728
                                                     Fax: (212) 309−6001
                                                     Email: hrobins@morganlewis.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                   Jon Randall Roellke
                                                   Morgan, Lewis & Bockius (DC)
                                                   1111 Pennsylvania Ave, NW
                                                   Washington, DC 20004
                                                   (202)−739−5754
                                                   Fax: (202)−739−3001
                                                   Email: jon.roellke@morganlewis.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Stacey Anne Mahoney
                                                   Morgan Lewis & Bockius, LLP (NY)
                                                   101 Park Avenue
                                                   New York, NY 10178
                                                   212−309−6930
                                                   Fax: 212−309−6001
                                                   Email: stacey.mahoney@morganlewis.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Anthony R. Van Vuren
                                                   Morgan, Lewis & Bockius (DC)
                                                   1111 Pennsylvania Ave, NW
                                                   Washington, DC 20004
                                                   (202)−739−5843
                                                   Fax: (202)−739−3001
                                                   Email: anthony.vanvuren@morganlewis.com
                                                   ATTORNEY TO BE NOTICED

Defendant
ICAP Global Derivatives Limited       represented by Harry T. Robins
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                   Jon Randall Roellke
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Stacey Anne Mahoney
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Anthony R. Van Vuren
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED



                                  Add.179
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page104 of 194

Defendant
ICAP SEF (US) LLC                                  represented by Harry T. Robins
                                                                  (See above for address)
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                   Jon Randall Roellke
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   Stacey Anne Mahoney
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   Anthony R. Van Vuren
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

Miscellaneous
Tradition America LLC                              represented by William D. Briendel
Non−party                                                         Greenberg Traurig, LLP (NY)
                                                                  200 Park Avenue
                                                                  New York, NY 10166
                                                                  (212)−801−2107
                                                                  Email: briendelw@gtlaw.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

Miscellaneous
ICAP SEF (US) LLC

Miscellaneous
ICAP Global Derivatives Limited

Miscellaneous
tpSEF, Inc.

Miscellaneous
Tullett Prebon Americas Corporation

Interested Party
The New York Times Company


 Date Filed     #      Docket Text
 06/03/2016         1 CERTIFIED TRUE COPY OF CONDITIONAL MDL TRANSFER IN ORDER
                      FROM THE MDL PANEL... transferring this action from the United States District
                      Court − that pursuant to 28 U.S.C. 1407, the actions listed on the attached schedule A
                      and pending in the District of Illinois and New York, and the same hereby are,
                      transferred to the Southern District of New York, with the consent of that court,
                      assigned to the Honorable Judge Paul A. Engelmayer, for coordinated or consolidated
                      pretrial proceedings with the actions pending in that district and listed on Schedule A.
                      (Signed by MDL Panel on 6/02/2016) (sjo) (Entered: 06/03/2016)
 06/03/2016            Magistrate Judge Henry B. Pitman is so designated. (sjo) (Entered: 06/03/2016)
 06/03/2016            Case Designated ECF. (sjo) (Entered: 06/03/2016)



                                              Add.180
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page105 of 194

                                                                                                ECF
                                  U.S. District Court
                     Southern District of New York (Foley Square)
                   CIVIL DOCKET FOR CASE #: 1:14−md−02573−VEC

In re: London Silver Fixing, Ltd., Antitrust Litigation        Date Filed: 10/14/2014
Assigned to: Judge Valerie E. Caproni                          Jury Demand: None
Related Cases: 1:14−cv−08189−VEC                               Nature of Suit: 850
                1:14−cv−07004−VEC                              Securities/Commodities
                                                               Jurisdiction: Federal Question
                1:14−cv−05682−VEC
                1:14−cv−07357−VEC
                1:14−cv−09112−VEC
                1:14−cv−08311−VEC
                1:14−cv−08869−VEC
                1:14−cv−09068−VEC
Cause: 15:1 Antitrust Litigation (Monopolizing Trade)
Plaintiff
J. Scott Nicholson                                represented by Barbara J. Hart
on behalf of himself and all others                              Grant & Eisenhofer, P.A.
similarly situated                                               485 Lexington Avenue
                                                                 Ste 29th Floor
                                                                 New York, NY 10017
                                                                 646−722−8500
                                                                 Email: bhart@gelaw.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                               Christian Levis
                                                               Lowey Dannenberg P.C.
                                                               44 South Broadway, Suite 1100
                                                               White Plains, NY 10601
                                                               914−997−0500
                                                               Fax: 914−997−0035
                                                               Email: clevis@lowey.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Geoffrey Milbank Horn
                                                               Lowey Dannenberg P.C.
                                                               44 South Broadway Suite 1100
                                                               White Plains, NY 10601
                                                               914−997−0500
                                                               Fax: 914−997−0035
                                                               Email: ghorn@lowey.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Johnathan P. Seredynski
                                                               Lowey Dannenberg P.C.
                                                               44 South Broadway, Suite 1100
                                                               White Plains, NY 10601
                                                               914−733−7234
                                                               Email: jseredynski@lowey.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Peter Dexter St. Phillip , Jr
                                                               Lowey Dannenberg, P.C.
                                                               44 South Broadway, Suite 1100
                                                               White Plains, NY 10601

                                             Add.181
Case 22-2079, Document 48, 04/20/2023, 3502340, Page106 of 194

                                          914−997−0500
                                          Fax: 914−997−0035
                                          Email: pstphillip@lowey.com
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Raymond Peter Girnys
                                          Lowey Dannenberg, P.C.
                                          44 South Broadway, Suite 1100
                                          White Plains, NY 10601
                                          914−997−0500
                                          Fax: 914−997−0035
                                          Email: rgirnys@lowey.com
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Scott Vincent Papp
                                          Lowey Dannenberg P.C.
                                          44 South Broadway, Suite 1100
                                          White Plains, NY 10601
                                          (914)−997−0500
                                          Fax: (914)−997−0035
                                          Email: spapp@lowey.com
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Thomas Michael Skelton
                                          Lowey Dannenberg, P.C.
                                          44 South Broadway, Suite 1100
                                          White Plains, NY 10601
                                          (914) 997−0500
                                          Fax: (914) 997−0035
                                          Email: tskelton@lowey.com
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Vincent Briganti
                                          Lowey Dannenberg P.C.
                                          44 South Broadway Suite 1100
                                          White Plains, NY 10601
                                          914−997−0500
                                          Fax: 914−997−0035
                                          Email: vbriganti@lowey.com
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Chad Holtzman
                                          Grant & Eisenhofer PA
                                          485 Lexington Avenue
                                          New York, NY 10017
                                          646−722−8500
                                          Email: choltzman@gelaw.com
                                          ATTORNEY TO BE NOTICED

                                          Charles Z Kopel
                                          Lowey Dannenberg, P.C.
                                          One Tower Bridge
                                          100 Front Street
                                          Ste 520
                                          West Conshohocken, PA 19428
                                          215−399−4783
                                          Email: ckopel@lowey.com
                                          ATTORNEY TO BE NOTICED

                                          Roland Raymond St. Louis , III

                          Add.182
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page107 of 194

                                                        Lowey Dannenberg P.C.
                                                        44 South Broadway, Suite 1100
                                                        White Plains, NY 10601
                                                        914−997−0500
                                                        Fax: 914−997−0035
                                                        Email: rstlouis@lowey.com
                                                        ATTORNEY TO BE NOTICED

                                                        Sitso W. Bediako
                                                        Lowey Dannenberg P.C.
                                                        44 South Broadway, Suite 1100
                                                        White Plains, NY 10601
                                                        914−997−0500
                                                        Fax: 914−997−0035
                                                        Email: sbediako@lowey.com
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Eric Nalven                               represented by Linda P. Nussbaum
                                                         Nussbaum Law Group, P.C.
                                                         1211 Avenue of the Americas
                                                         40th Floor
                                                         New York, NY 10036−8718
                                                         917−438−9189
                                                         Email: lnussbaum@nussbaumpc.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Peter Anthony Barile , III
                                                        Lowey Dannenberg, P.C.
                                                        44 South Broadway
                                                        Suite 1100
                                                        White Plains, NY 10601
                                                        914−733−7261
                                                        Fax: 914−997−0035
                                                        Email: pbarile@lowey.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Barbara J. Hart
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Charles Z Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Vincent Briganti
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Don Tran                                  represented by Frederick Taylor Isquith , Sr
on behalf of himself and all others                      Isquith Law PLLC
similarly situated                                       103 E 84th Street
                                                         New York, NY 10028
                                                         718−775−6478
                                                         Email: isquithlaw@gmail.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Thomas H. Burt
                                                        Wolf Haldenstein Adler Freeman & Herz
                                                        LLP

                                      Add.183
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page108 of 194

                                                        270 Madison Avenue
                                                        New York, NY 10016
                                                        (212)−545−4669
                                                        Fax: (212)−545−4653
                                                        Email: burt@whafh.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Chad Holtzman
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Charles Z Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        John Douglas Richards
                                                        Cohen Milstein Sellers & Toll P.L.L.C.
                                                        88 Pine Street
                                                        14th, Floor
                                                        New York, NY 10005
                                                        212−838−7797
                                                        Fax: 212−838−7745
                                                        Email: drichards@cohenmilstein.com
                                                        ATTORNEY TO BE NOTICED

                                                        Vincent Briganti
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Laurence Hughes                           represented by Emmy L Levens
                                                         Cohen Milstein Sellers & Toll PLLC (DC)
                                                         1100 New York Avenue, N.W.
                                                         Suite 500, West Tower
                                                         Washington, DC 20005
                                                         (202) 408−4600
                                                         Fax: (202) 408−4699
                                                         Email: elevens@cohenmilstein.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED
                                                        J. Douglas Richards
                                                        Pomerantz Haudek Block Grossman &
                                                        Gross
                                                        100 Park Avenue
                                                        New York, NY 10017
                                                        (212)661−1100
                                                        Fax: (212)661−8865
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kit A. Pierson
                                                        Cohen Milstein Sellers & Toll PLLC (DC)
                                                        1100 New York Avenue, N.W.
                                                        Suite 500, West Tower
                                                        Washington, DC 20005
                                                        (202) 408−4600
                                                        Fax: (202)−408−4699
                                                        Email: kpierson@cohenmilstein.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                      Add.184
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page109 of 194


                                                        Manuel Juan Dominguez
                                                        Cohen Milstein Sellers Toll, PLLC
                                                        11780 U.S. Highway One
                                                        Suite 500
                                                        Palm Beach Gardens, FL 33408
                                                        561−515−1400
                                                        Fax: 561−515−1401
                                                        Email: jdominguez@cohenmilstein.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Michael Benjamin Eisenkraft
                                                        Cohen Milstein Sellers & Toll P.L.L.C.
                                                        88 Pine Street
                                                        14th, Floor
                                                        New York, NY 10005
                                                        (212) 838−7797
                                                        Fax: (212) 838−7745
                                                        Email: meisenkraft@cohenmilstein.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Chad Holtzman
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Charles Z Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        John Douglas Richards
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Vincent Briganti
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Modern Settings LLC                       represented by Erica L. Stone
a New York limited liability company                     The Rosen Law Firm, P.A.
                                                         275 Madison Avenue
                                                         34th Floor
                                                         New York, NY 10016
                                                         (212)−686−1060
                                                         Fax: (212)−202−3827
                                                         Email: estone@rosenlegal.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Laurence Matthew Rosen
                                                        The Rosen Law Firm, P.A.
                                                        275 Madison Avenue
                                                        40th Floor
                                                        New York, NY 10016−1101
                                                        212−686−1060
                                                        Fax: 212−202−3827
                                                        Email: lrosen@rosenlegal.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Phillip C. Kim
                                                        The Rosen Law Firm

                                       Add.185
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page110 of 194

                                                              275 Madison Avenue
                                                              40th Floor
                                                              New York, NY 10016
                                                              212−686−1060
                                                              Fax: 212−202−3827
                                                              Email: pkim@rosenlegal.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Charles Z Kopel
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

Plaintiff
Modern Settings LLC                             represented by Erica L. Stone
a Florida limited liability company, on                        (See above for address)
behalf of himself and all others similarly                     LEAD ATTORNEY
situated                                                       ATTORNEY TO BE NOTICED

                                                              Laurence Matthew Rosen
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Phillip C. Kim
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Charles Z Kopel
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

Plaintiff
American Precious Metals Ltd                    represented by Lester L. Levy , Sr
                                                               Wolf Popper LLP
                                                               845 Third Avenue
                                                               New York, NY 10022
                                                               (212) 759−4600
                                                               Fax: (212) 486−2093
                                                               Email: llevy@wolfpopper.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              Patricia I. Avery
                                                              Wolf Popper LLP
                                                              845 Third Avenue
                                                              New York, NY 10022
                                                              (212) 759−4600
                                                              Fax: (212) 486−2093
                                                              Email: pavery@wolfpopper.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Charles Z Kopel
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

Plaintiff
Steven E. Summer                                represented by Patricia I. Avery
on behalf of themselves and all others                         (See above for address)
similarly situated                                             LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                             Add.186
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page111 of 194


                                                       Charles Z Kopel
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Lester L. Levy , Sr
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Christopher Depaoli                        represented by Barbara J. Hart
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Christian Levis
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Geoffrey Milbank Horn
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Linda P. Nussbaum
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Peter Anthony Barile , III
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Vincent Briganti
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Chad Holtzman
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Charles Z Kopel
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Kevin Maher                                represented by Barbara J. Hart
on behalf of those similarly situated                     (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Christian Levis
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Geoffrey Milbank Horn
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED


                                        Add.187
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page112 of 194

                                                          Linda P. Nussbaum
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Peter Anthony Barile , III
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Vincent Briganti
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Chad Holtzman
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Charles Z Kopel
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Kevin Maher                                 represented by Barbara J. Hart
individually                                               (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Christian Levis
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Geoffrey Milbank Horn
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Linda P. Nussbaum
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Peter Anthony Barile , III
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Vincent Briganti
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Charles Z Kopel
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Jerry Barrett                               represented by Frederick Taylor Isquith , Sr
on behalf of themselves and all others                     (See above for address)
similarly situated                                         LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED


                                         Add.188
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page113 of 194

                                                          Thomas H. Burt
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Charles Z Kopel
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Rebecca Barrett                             represented by Frederick Taylor Isquith , Sr
on behalf of themselves and all others                     (See above for address)
similarly situated                                         LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Thomas H. Burt
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Charles Z Kopel
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff
KPFF Investment, Inc.                       represented by Chad Holtzman
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                          Charles Z Kopel
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Michael C. Dell'Angelo
                                                          Berger Montague PC
                                                          1818 Market Street, Suite 3600
                                                          Philadelphia, PA 19103
                                                          215−875−3000
                                                          Fax: 215−875−4604
                                                          Email: mdellangelo@bm.net
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Vincent Briganti
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Norman Bailey                               represented by Charles Z Kopel
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                          Michael C. Dell'Angelo
                                                          (See above for address)
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Vincent Briganti
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff


                                         Add.189
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page114 of 194

Robert Ceru                               represented by Charles Z Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                        Vincent Briganti
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
John Hayes                                represented by Chad Holtzman
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                        Charles Z Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Michael C. Dell'Angelo
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Vincent Briganti
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Class Plaintiffs                          represented by Robert Gerard Eisler
                                                         Grant & Eisenhofer, PA (DE)
                                                         123 Justison Street
                                                         Wilmington, DE 19801
                                                         (302) 622−7000
                                                         Fax: (302) 622−7100
                                                         Email: reisler@gelaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Thomas Michael Skelton
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Charles Z Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Vincent Briganti
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED


V.
Defendant
HSBC Bank PLC                             represented by Damien Jerome Marshall
                                                         King & Spalding LLP
                                                         1185 Avenue of the Americas
                                                         New York, NY 10036
                                                         212−790−5357
                                                         Fax: 212−556−2222
                                                         Email: dmarshall@kslaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                      Add.190
       Case 22-2079, Document 48, 04/20/2023, 3502340, Page115 of 194


                                                 Timothy Joseph Coleman
                                                 Freshfields Bruckhaus Deringer Us LLP
                                                 701 Pennsylvania Avenue, NM
                                                 Washington, DC 20004
                                                 (202) 777−4560
                                                 Fax: (202) 777−4555
                                                 Email: tim.coleman@freshfields.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Defendant
HSBC Bank U.S.A. N.A.                represented by Damien Jerome Marshall
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Timothy Joseph Coleman
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Brian Kevin Donovan
                                                 King & Spalding LLP
                                                 1185 Avenue of the Americas
                                                 New York, NY 10036
                                                 212−556−2162
                                                 Fax: 212−556−2222
                                                 Email: bdonovan@kslaw.com
                                                 ATTORNEY TO BE NOTICED

                                                 Jessica Phillips
                                                 Paul, Weiss, Rifkind, Wharton & Garrison
                                                 LLP
                                                 2001 K Street, NW
                                                 Washington, DC 20006
                                                 202−223−7300
                                                 Email: jphillips@paulweiss.com
                                                 ATTORNEY TO BE NOTICED

                                                 Laura Elizabeth Harris
                                                 King & Spalding LLP
                                                 1185 Avenue of the Americas
                                                 New York, NY 10036
                                                 212−790−5360
                                                 Fax: 212−556−2222
                                                 Email: lharris@kslaw.com
                                                 ATTORNEY TO BE NOTICED

                                                 Leigh Mager Nathanson
                                                 King & Spalding LLP
                                                 1185 Avenue of the Americase
                                                 New York, NY 10036
                                                 212−790−5359
                                                 Fax: 212−556−2222
                                                 Email: lnathanson@kslaw.com
                                                 ATTORNEY TO BE NOTICED

                                                 Robert John McCallum
                                                 Freshfields Bruckhaus Deringer LLP
                                                 601 Lexington Avenue
                                                 New York, NY 10022
                                                 (212) 277−4000
                                                 Fax: (212) 277−4001

                                 Add.191
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page116 of 194

                                                    Email: rob.mccallum@freshfields.com
                                                    ATTORNEY TO BE NOTICED

Defendant
HSBC Holdings plc                     represented by Damien Jerome Marshall
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Timothy Joseph Coleman
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Brian Kevin Donovan
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Jessica Phillips
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Laura Elizabeth Harris
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Leigh Mager Nathanson
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Robert John McCallum
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
John Doe Nos. 1−50

Defendant
The Bank of Nova Scotia               represented by Stephen Ehrenberg
                                                     Sullivan and Cromwell, LLP(NYC)
                                                     125 Broad Street
                                                     New York, NY 10004
                                                     212−558−3269
                                                     Email: ehrenbergs@sullcrom.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Kenneth M. Raisler
                                                    Sullivan & Cromwell, LLP(NYC)
                                                    125 Broad Street
                                                    New York, NY 10004
                                                    (212)−558−4675
                                                    Fax: (212)−291−9118
                                                    Email: raislerk@sullcrom.com
                                                    ATTORNEY TO BE NOTICED

                                                    William Henry Wagener
                                                    Sullivan and Cromwell, LLP(NYC)
                                                    125 Broad Street
                                                    New York, NY 10004
                                                    212−558−7945
                                                    Fax: 212−558−3588
                                                    Email: wagenerw@sullcrom.com

                                  Add.192
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page117 of 194

                                                        ATTORNEY TO BE NOTICED

Defendant
The London Silver Market Fixing, Ltd.

Defendant
HSBC North America Holdings Inc.            represented by Damien Jerome Marshall
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                        Brian Kevin Donovan
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Jessica Phillips
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Laura Elizabeth Harris
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Leigh Mager Nathanson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Robert John McCallum
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
HSBC USA Inc.                               represented by Damien Jerome Marshall
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                        Brian Kevin Donovan
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Jessica Phillips
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Laura Elizabeth Harris
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Leigh Mager Nathanson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Robert John McCallum
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
The Bank of Nova Scotia                     represented by Stephen Ehrenberg
also known as Scotiabank also known as                     (See above for address)
Scotiamocatta                                              ATTORNEY TO BE NOTICED


                                         Add.193
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page118 of 194

Defendant
Scotiabanc Inc.                       represented by Kenneth M. Raisler
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                  Stephen Ehrenberg
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  William Henry Wagener
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Scotia Holdings (US) Inc.             represented by Kenneth M. Raisler
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                  Stephen Ehrenberg
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  William Henry Wagener
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Scotia Capital (USA) Inc.             represented by Kenneth M. Raisler
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                  Stephen Ehrenberg
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  William Henry Wagener
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
The Bank of Nova Scotia Trust         represented by Stephen Ehrenberg
Company of New York                                  (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Jane Does 1−100

Miscellaneous
Yuri Alishaev

Miscellaneous
Abraham Jeremias

Miscellaneous
Morris Jeremias

Miscellaneous
Gamma Traders − I LLC



                                  Add.194
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page119 of 194

Miscellaneous
Vega Traders LLC

Miscellaneous
Michael Connolly                                represented by Paul Matthew Krieger
                                                               Krieger Kim & Lewin LLP
                                                               350 Fifth Avenue
                                                               77th Floor
                                                               New York, NY 10118
                                                               212−390−9552
                                                               Email: paul.krieger@KKLllp.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Georgia V. Kostopoulos
                                                               Krieger Kim & Lewin LLP
                                                               500 5th Avenue
                                                               Ste 34th Floor
                                                               New York, NY 10110
                                                               212−390−9556
                                                               Email: georgia.kostopoulos@kklllp.com
                                                               ATTORNEY TO BE NOTICED

Intervenor
U.S. Department Of Justice                      represented by Ankush Khardori
1400 New York Ave NW                                           United States Department of Justice(1400
Washington, DC 20530                                           DC)
United States of America                                       Criminal Division Fraud Section
                                                               1400 New York Ave N.W.
                                                               Washington, DC 20005
                                                               (202)−514−2000
                                                               Fax: (202)−514−7021
                                                               Email: ankush.khardori@usdoj.gov
                                                               ATTORNEY TO BE NOTICED

                                                               Carol L Sipperly
                                                               Us Doj
                                                               1400 New York Ave Nw
                                                               Washington, DC 20530
                                                               202 255 9551
                                                               Email: carol.sipperly@usdoj.gov
                                                               ATTORNEY TO BE NOTICED


 Date Filed     #   Docket Text
 10/14/2014     1 CERTIFIED TRUE COPY OF CONDITIONAL MDL TRANSFER IN ORDER
                  FROM THE MDL PANEL... transferring this action from the United States District
                  Court − that pursuant to 28 U.S.C. 1407, the actions listed on the attached schedule A
                  and pending in the District of New York, and the same hereby are, transferred to the
                  Southern District of New York, with the consent of that court, assigned to the
                  Honorable Judge Valerie E. Caproni, for coordinated or consolidated pretrial
                  proceedings with the actions pending in that district and listed on Schedule A. (Signed
                  by MDL Panel on 10/9/2014) (sjo) (Entered: 10/14/2014)
 10/14/2014         Magistrate Judge Kevin Nathaniel Fox is so designated. (sjo) (Entered: 10/14/2014)
 10/14/2014         Case Designated ECF. (sjo) (Entered: 10/14/2014)
 10/14/2014         CASES ORIGINATING FROM THE SOUTHERN DISTRICT OF NEW YORK:
                    1:14−cv−05682 (VEC). (sjo) (Entered: 10/14/2014)
 10/14/2014     2 STANDING ORDER IN RE PILOT PROJECT REGARDING CASE
                  MANAGEMENT TECHNIQUES FOR COMPLEX CIVIL CASES IN THE


                                           Add.195
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page120 of 194

                                                          ADRMOP,CONSOL,PROTO,REFDIS,RELATE
                                  U.S. District Court
                     California Northern District (San Francisco)
                  CIVIL DOCKET FOR CASE #: 3:19−cv−02573−EMC

In re HIV Antitrust Litigation                                 Date Filed: 05/14/2019
Assigned to: Judge Edward M. Chen                              Jury Demand: Both
Referred to: Magistrate Judge Laurel Beeler                    Nature of Suit: 410 Anti−Trust
Relate Case Cases: 3:20−cv−06961−EMC                           Jurisdiction: Federal Question
                     3:21−cv−07374−EMC
                     3:22−cv−00740−EMC
                     3:20−cv−00880−EMC
                     3:20−cv−06793−EMC
                     3:21−cv−00009−EMC
                     3:21−cv−07378−EMC
                     3:21−cv−09202−EMC
                     3:21−cv−09620−EMC
                     3:21−cv−09621−EMC
                     3:21−cv−09622−EMC
                     3:21−cv−09632−EMC
                     3:21−cv−09634−EMC
                     3:21−cv−09642−EMC
                     3:21−cv−09644−EMC
                     3:21−cv−09645−EMC
                     3:21−cv−09646−EMC
                     3:21−cv−09647−EMC
                     3:21−cv−09648−EMC
                     3:22−cv−02188−EMC
                     3:22−cv−02197−EMC
                     3:22−cv−02317−EMC
                     3:22−cv−02318−EMC
                     3:22−mc−80108−EMC
Case in other court: USCA, 22−80116
Cause: 15:1 Antitrust Litigation
Plaintiff
Fraternal Order of Police, Miami                 represented by Abbye Rose Klamann Ognibene
Lodge 20, Insurance Trust Fund                                  Hagens Berman Sobol Shapiro LLP
                                                                1 Faneuil Hall Square
                                                                Ste 5th Floor
                                                                Boston, MA 02109
                                                                617−482−3700
                                                                Email: abbyeo@hbsslaw.com
                                                                ATTORNEY TO BE NOTICED

                                                               Aditya Vijay Kamdar
                                                               Morrison & Foerster LLP
                                                               2100 L Street NW
                                                               Suite 900
                                                               Washington, DC 20037
                                                               202−887−1500
                                                               Fax: 202−887−0763
                                                               Email: AKamdar@mofo.com
                                                               TERMINATED: 12/29/2022
                                                               ATTORNEY TO BE NOTICED

                                                               Alberto Rodriguez

                                              Add.196
              Case 22-2079, Document 48, 04/20/2023, 3502340, Page121 of 194

01/09/2023 1601 TRANSCRIPT ORDER for proceedings held on January 9, 2023 before Judge Edward M Chen by
                Gilead Holdings, LLC, Gilead Sciences Ireland UC, Gilead Sciences, Inc., Gilead Sciences, LLC,
                for Court Reporter Marla Knox. (Allon, Devora) (Filed on 1/9/2023) (Entered: 01/09/2023)
01/09/2023 1602 TRANSCRIPT ORDER for proceedings held on 01/09/2023 before Judge Edward M Chen by
                Janssen Products LP, for Court Reporter Marla Knox. (Riehle, Paul) (Filed on 1/9/2023) (Entered:
                01/09/2023)
01/09/2023 1604 Minute Entry for proceedings held before Judge Edward M Chen: Status Conference held on
                1/9/2023.

                   Last Day to file pretrial filings for final Pretrial Conference 2/9/2023.

                   Final Pretrial Conference reset from 2/28/2023 to 3/7/2023 at 2:30 PM in San Francisco, −
                   Videoconference Only.

                   Jury Selection reset from 3/27/2023 to 5/30/2023 at 8:30 AM in San Francisco, Courtroom 05, 17th
                   Floor before Judge Edward M Chen.

                   Jury Trial reset from 3/27/2023 to 5/30/2023 at 8:30 AM in San Francisco, Courtroom 05, 17th Floor
                   before Judge Edward M Chen.

                   Further Jury Trial set for 5/31/2023, 6/2/2023, 6/5/2023, 6/6/2023, 6/7/2023, 6/9/2023, 6/12/2023,
                   6/13/2023, 6/14/2023, 6/16/2023, 6/19/2023, 6/20/2023, 6/21/2023, 6/23/2023, 6/26/2023,
                   6/27/2023, 6/28/2023, 6/30/2023, 7/3/2023, 7/5/2023 and 7/7/2023 08:30 AM in San Francisco,
                   Courtroom 05, 17th Floor before Judge Edward M Chen.

                   Total Time in Court: 28 Minutes. Court Reporter: Marla Knox. (vla, COURT STAFF) (Date Filed:
                   1/9/2023) (Entered: 01/10/2023)
01/10/2023 1603 TRANSCRIPT ORDER for proceedings held on 01/09/2023 before Judge Edward M Chen by KPH
                Healthcare Services, Inc., for Court Reporter Marla Knox. (Roberts, Michael) (Filed on 1/10/2023)
                (Entered: 01/10/2023)
01/11/2023 1605 TRANSCRIPT ORDER for proceedings held on 01/09/2023 before Judge Edward M Chen by State
                of New Mexico ex rel. Hector H. Balderas, New Mexico Attorney General, for Court Reporter Marla
                Knox. (Stanoch, David) (Filed on 1/11/2023) (Entered: 01/11/2023)
01/12/2023 1606 TRANSCRIPT ORDER for proceedings held on 01/09/2023 before Judge Edward M Chen by Teva
                Pharmaceuticals USA, Inc., for Court Reporter Marla Knox. (DeVoe, Tucker) (Filed on 1/12/2023)
                (Entered: 01/12/2023)
01/12/2023 1607 Joint Administrative Motion to File Under Seal portions of Order Granting In Part and Denying In
                Part Motions for Summary Judgment, ECF No. 1599 filed by Blue Cross and Blue Shield of Florida,
                Inc., Blue Cross and Blue Shield of Kansas City, Centene Corporation, Health Care Service
                Corporation, a Mutual Legal Reserve Company, Health Options, Inc., Humana Inc., Kaiser
                Foundation Health Plan, Inc., Triple−S Salud, Inc.. (Attachments: # 1 Declaration of Daniel A. Sasse
                in Support of Admin Mtn to Seal, # 2 Proposed Order, # 3 Exhibit 1)(Sasse, Daniel) (Filed on
                1/12/2023) (Entered: 01/12/2023)
01/13/2023 1608 Transcript of Videoconference Proceedings held on January 9, 2023, before Judge Edward M. Chen.
                Court Reporter, Marla F. Knox, RPR, CRR, RMR, telephone number (602) 391−6990/email
                marla_knox@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                transcript may be viewed only at the Clerk's Office public terminal or may be purchased through the
                Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction. After that
                date it may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is
                due no later than 5 business days from date of this filing. (Re 1601 Transcript Order, ) Release of
                Transcript Restriction set for 4/13/2023. (Related documents(s) 1601 ) (mfk, COURT STAFF) (Filed
                on 1/13/2023) (Entered: 01/13/2023)
01/19/2023 1609 STIPULATION WITH PROPOSED ORDER Regarding Pretrial Schedule filed by Gilead
                Holdings, LLC, Gilead Sciences Ireland UC, Gilead Sciences, Inc., Gilead Sciences, LLC.
                (Lefkowitz, Jay) (Filed on 1/19/2023) (Entered: 01/19/2023)
01/19/2023 1610 STATUS REPORT / Joint Status Report Regarding Mooted Daubert Motions, Settlement
                Conference, and Motions in Limine by Gilead Holdings, LLC, Gilead Sciences Ireland UC, Gilead
                Sciences, Inc., Gilead Sciences, LLC. (Lefkowitz, Jay) (Filed on 1/19/2023) (Entered: 01/19/2023)


                                                   Add.197
         Case 22-2079, Document 48, 04/20/2023, 3502340, Page122 of 194

                                                        ADRMOP,APPEAL,CLOSED,REFDIS,RELATE
                                  U.S. District Court
                        California Northern District (Oakland)
                  CIVIL DOCKET FOR CASE #: 4:20−cv−08733−YGR

SaurikIT, LLC v. Apple Inc.                                     Date Filed: 12/10/2020
Assigned to: Judge Yvonne Gonzalez Rogers                       Date Terminated: 09/12/2022
Referred to: Magistrate Judge Thomas S. Hixson                  Jury Demand: Plaintiff
Relate Case Case: 4:11−cv−06714−YGR                             Nature of Suit: 410 Anti−Trust
Case in other court: Ninth Circuit Court of Appeals, 22−16527   Jurisdiction: Federal Question
Cause: 15:1 Antitrust Litigation
Plaintiff
SaurikIT, LLC                                  represented by Stephen A. Swedlow
                                                              Quinn Emanuel Urquhart & Sullivan
                                                              191 N. Wacker Drive, Suite 2700
                                                              Chicago, IL 60606
                                                              (312) 705−7488
                                                              Fax: (312) 705−7401
                                                              Email: stephenswedlow@quinnemanuel.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                                David A. Nelson
                                                                Quinn Emanuel Urquhart & Sullivan, LLP
                                                                191 N. Wacker Drive
                                                                Suite 2700
                                                                Chicago, IL 60606
                                                                (312)705−7400
                                                                Fax: (312)463−2961
                                                                Email: davenelson@quinnemanuel.com
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                Joseph Caldwell Sarles
                                                                Quinn Emanuel Urquhart & Sullivan, LLP
                                                                865 South Figueroa Street, 10th Floor
                                                                Los Angeles, CA 90017
                                                                (213) 443−3000
                                                                Fax: (213) 443−3100
                                                                Email: josephsarles@quinnemanuel.com
                                                                ATTORNEY TO BE NOTICED

                                                                Marc Lawrence Kaplan
                                                                Quinn Emanuel Urquhart & Sullivan, LLP
                                                                191 N. Wacker Drive
                                                                Ste 2700
                                                                Chicago, IL 60606
                                                                312−705−7400
                                                                Fax: 312−705−7401
                                                                Email: marckaplan@quinnemanuel.com
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                Adam Bryan Wolfson
                                                                Quinn Emanuel Urquhart Sullivan LLP
                                                                865 S Figeuroa
                                                                Los Angeles, CA 90017
                                                                213−443−3000
                                                                Email: adamwolfson@quinnemanuel.com
                                                                ATTORNEY TO BE NOTICED



                                           Add.198
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page123 of 194

03/04/2022   79 CLERK'S NOTICE VACATING HEARING. Notice is hereby given that the hearing on the
                74 MOTION to Dismiss previously set for 3/15/2022 is vacated. (This is a text−only entry
                generated by the court. There is no document associated with this entry.) (amg, COURT
                STAFF) (Filed on 3/4/2022) (Entered: 03/04/2022)
05/26/2022   80 ORDER by Judge Yvonne Gonzalez Rogers GRANTING IN PART AND DENYING
                IN PART 74 MOTION TO DISMISS FIRST AMENDED COMPLAINT. Joint Case
                Management Statement due by 7/5/2022. Further Case Management Conference set
                for 7/11/2022 02:00 PM in Oakland, − Videoconference Only. (amg, COURT STAFF)
                (Filed on 5/26/2022) (Entered: 05/26/2022)
06/09/2022   81 MOTION Clarification and/or for Leave to Seek Reconsideration re 80 Order on Motion to
                Dismiss, filed by SaurikIT, LLC. Motion Hearing set for 7/19/2022 02:00 PM in Oakland,
                Courtroom 1, 4th Floor before Judge Yvonne Gonzalez Rogers. Responses due by
                6/23/2022. Replies due by 6/30/2022. (Attachments: # 1 Proposed Order (Motion for
                Clarification), # 2 Proposed Order (Alternative Motion for Leave to Seek
                Reconsideration))(Wolfson, Adam) (Filed on 6/9/2022) (Entered: 06/09/2022)
06/16/2022   82 ANSWER to Amended Complaint byApple Inc.. (Srinivasan, Jagannathan) (Filed on
                6/16/2022) (Entered: 06/16/2022)
06/23/2022   83 OPPOSITION/RESPONSE (re 81 MOTION Clarification and/or for Leave to Seek
                Reconsideration re 80 Order on Motion to Dismiss, ) filed byApple Inc.. (Srinivasan,
                Jagannathan) (Filed on 6/23/2022) (Entered: 06/23/2022)
06/24/2022   84 Order Denying 81 Motion. Pending before this Court is a filing entitled Motion for
                Clarification and/or Leave to Seek Reconsideration on Motion to Dismiss. The motion
                is procedurally defective and borders on a Rule 11(b)(1) violation. In reality, it is
                either a motion regarding the scope of discovery in which case it violates the standing
                orders of this Court and Judge Hixson on discovery issues or it is a motion for
                reconsideration and violates Local Rule 7−9. Counsel are warned not to bypass
                compliance with the rules of this District under the guise of clarification. Leave for
                reconsideration on the motion to dismiss is denied. Parties shall meet and confer on
                any discovery issues before proceeding accordingly. Counsel is advised/reminded that
                the District is in a judicial emergency with the worst ranking in the Ninth Circuit. See
                https://www.uscourts.gov/judges−judgeships/judicial−vacancies/judicial−emergencies.
                The filing of defective and unnecessary motions should be avoided. To the extent the
                motion seeks leave to file an interlocutory appeal it comes nowhere close to meeting
                the high standard, and in any event, is not properly noticed. Entered by Judge Yvonne
                Gonzalez Rogers. (This is a text−only entry generated by the court. There is no document
                associated with this entry.) (Entered: 06/24/2022)
07/05/2022   85 JOINT AMENDED CASE MANAGEMENT STATEMENT filed by SaurikIT, LLC and
                Apple, Inc.. (Wolfson, Adam) (Filed on 7/5/2022) Modified on 7/6/2022 (jml, COURT
                STAFF). (Entered: 07/05/2022)
07/11/2022   86 Minute Entry for proceedings held before Judge Yvonne Gonzalez Rogers: Further
                Case Management Conference held on 7/11/2022. Close of Fact Discovery due by
                2/17/2023. Opening Reports due by 3/31/2023. Rebuttal Reports due by 5/12/2023.
                Close of Expert Discovery due by 6/9/2023. 1st Pretrial Conference set for 1/26/2024
                09:00 AM in Oakland, Courtroom 1, 4th Floor before Judge Yvonne Gonzalez Rogers.
                2nd Pretrial Conference set for 2/9/2024 09:00 AM in Oakland, Courtroom 1, 4th
                Floor before Judge Yvonne Gonzalez Rogers. Jury Selection set for 3/25/2024 08:00
                AM in Oakland, Courtroom 1, 4th Floor before Judge Yvonne Gonzalez Rogers. Jury
                Trial set to begin on 3/25/2024 08:00 AM in Oakland, Courtroom 1, 4th Floor before
                Judge Yvonne Gonzalez Rogers. Total Time in Court: 14 minutes. Court Reporter:
                Raynee Mercado. (amg, COURT STAFF) (Date Filed: 7/11/2022) (Entered:
                07/12/2022)
07/11/2022       Set Deadline: Dispositive/Daubert Motions due by 7/21/2023. (amg, COURT STAFF)
                 (Filed on 7/11/2022) (Entered: 07/12/2022)
07/12/2022   87 CASE MANAGEMENT AND PRETRIAL ORDER. Signed by Judge Yvonne
                Gonzalez Rogers on 7/12/2022. (amg, COURT STAFF) (Filed on 7/12/2022) (Entered:
                07/12/2022)




                                            Add.199
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page124 of 194

                                         ADRMOP,CLOSED,CONSOL,PROTO,ProSe,RELATE
                                 U.S. District Court
                    California Northern District (San Francisco)
                  CIVIL DOCKET FOR CASE #: 3:14−cv−03264−JD

IN RE CAPACITORS ANTITRUST LITIGATION                 Date Filed: 07/18/2014
Assigned to: Judge James Donato                       Date Terminated: 03/29/2023
Lead case: 3:17−md−02801−JD                           Jury Demand: Plaintiff
Member case: (View Member Case)                       Nature of Suit: 410 Anti−Trust
Relate Case Cases: 4:15−cr−00163−EXE−1                Jurisdiction: Federal Question
                    4:16−cr−00180−JD−1
                    4:16−cr−00367−JD−1
                    4:17−cr−00074−JD−1
                    3:17−cv−03472−JD
                    3:18−cv−02904−JD
Cause: 15:1 Antitrust Litigation
Plaintiff
Chip−Tech, Ltd.                       represented by C. Andrew Dirksen
                                                     Cera LLP
                                                     800 Boylston Street, 16th Floor
                                                     Boston, MA 02199
                                                     857−453−6555
                                                     Email: cdirksen@cerallp.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Joseph J. DePalma
                                                     Lite DePalma Greenberg, LLC
                                                     570 Broad Street, Suite 1201
                                                     Newark, NJ 07102
                                                     (973) 623−3000
                                                     Fax: (973) 623−0858
                                                     Email: jdepalma@litedepalma.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Solomon B. Cera
                                                     Cera LLP
                                                     201 California Street, Suite 1240
                                                     San Francisco, CA 94111
                                                     (415) 977−2230
                                                     Fax: (415) 777−5189
                                                     Email: scera@cerallp.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Steven J. Greenfogel
                                                     Lite DePalma Greenburg, LLC
                                                     1835 Market Street, Suite 2700
                                                     Philadelphia, PA 19103
                                                     (267) 519−8306
                                                     Fax: (973) 623−0858
                                                     Email: sgreenfogel@litedepalma.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Daniel R. Karon
                                                     Karon LLC
                                                     700 W. St. Clair Avenue
                                                     Suite 200
                                                     Cleveland, OH 44113

                                  Add.200
Case 22-2079, Document 48, 04/20/2023, 3502340, Page125 of 194

                                          216−622−1851
                                          Fax: 216−241−8175
                                          Email: dkaron@karonllc.com
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Daniel C. Simons
                                          Berger & Montague, P.C.
                                          1818 Market Street
                                          Suite 3600
                                          Philadelphia, PA 19103
                                          215−875−4675
                                          Email: dsimons@bm.net
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Eric L. Cramer
                                          Berger Montague PC
                                          1818 Market Street, Suite 3600
                                          Philadelphia, PA 19103
                                          215−875−3000
                                          Fax: 215−875−4604
                                          Email: ecramer@bm.net
                                          ATTORNEY TO BE NOTICED

                                          James W Anderson
                                          Heins Mills Olson, P.L.C.
                                          310 Clifton Avenue
                                          Minneapolis, MN 55403
                                          612−338−4605
                                          Fax: 612−338−4692
                                          Email: janderson@heinsmills.com
                                          ATTORNEY TO BE NOTICED

                                          Jason Scott Hartley
                                          Hartley LLP
                                          101 W. Broadway
                                          Suite 820
                                          San Diego, CA 92101
                                          (619) 400−5822
                                          Fax: (619) 400−5832
                                          Email: hartley@stuevesiegel.com
                                          ATTORNEY TO BE NOTICED

                                          Jessica N. Servais
                                          Lockridge Grindal Nauen P.L.L.P.
                                          100 Washington Avenue South
                                          Suite 2200
                                          Minneapolis, MN 55401
                                          612−339−6900
                                          Fax: 612−339−0981
                                          Email: jnservais@locklaw.com
                                          ATTORNEY TO BE NOTICED

                                          Mark Russell Suter
                                          Berger Montague PC
                                          1818 Market Street
                                          Suite 3600
                                          Philadelphia, PA 19103
                                          215−875−3021
                                          Fax: 215−875−4604
                                          Email: msuter@bm.net
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED


                          Add.201
            Case 22-2079, Document 48, 04/20/2023, 3502340, Page126 of 194

                                                      Michael C Dell'Angelo , IV
                                                      BERGER MONTAGUE PC
                                                      1818 Market Street
                                                      Suite 3600
                                                      PHILADELPHIA, PA 19103
                                                      United Sta
                                                      (215) 875−3080
                                                      Fax: (25) 875−4604
                                                      Email: mdellangelo@bm.net
                                                      ATTORNEY TO BE NOTICED

                                                      Michael Jay Kane
                                                      Berger Montague PC
                                                      1818 Market Street
                                                      Suite 3600
                                                      Philadelphia, PA 19103
                                                      215−875−4686
                                                      Email: mkane@bm.net
                                                      ATTORNEY TO BE NOTICED

                                                      Ruthanne Gordon
                                                      Berger Montague PC
                                                      1818 Market Street, Suite 3600
                                                      Philadelphia, PA 19103
                                                      215−875−3000
                                                      Fax: 215−875−4604
                                                      Email: rgordon@bm.net
                                                      ATTORNEY TO BE NOTICED

                                                      Vincent J. Esades
                                                      Heins Mills & Olson, P.L.C.
                                                      310 Clifton Avenue
                                                      Minneapolis, MN 55403
                                                      (612) 338−4605
                                                      Fax: 612−338−4692
                                                      Email: vesades@heinsmills.com
                                                      ATTORNEY TO BE NOTICED

                                                      Joseph R. Saveri
                                                      Joseph Saveri Law Firm, LLP
                                                      601 California Street, Suite 1000
                                                      San Francisco, CA 94108
                                                      (415) 500−6800
                                                      Fax: (415) 395−9940
                                                      Email: jsaveri@saverilawfirm.com
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Dependable Component Supply Corp.         represented by C. Andrew Dirksen
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Solomon B. Cera
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Steven J. Greenfogel
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Joseph R. Saveri

                                      Add.202
                     Case 22-2079, Document 48, 04/20/2023, 3502340, Page127 of 194

                    PLEASE NOTE: Persons granted remote access to court proceedings are reminded of the general
                    prohibition against photographing, record ing, and rebroadcasting of court proceedings (including those
                    held by telephone or videoconference). See General Order 58 at Paragraph III. Any recording of a court
                    proceeding held by video or teleconference, including screen−shots or other visual copying of a hearing,
                    absolutely prohibited. Violation of these prohibitions may result in sanctions, including removal of
                    court−issued media credentials, restricted entry to future hearings, or any other sanctions deemed
                    necessary by the court. Please see https://www.cand.uscourts.gov/zoom for information on preparing for
                    and participating in a Zoom Webinar.

                    Signed by Judge James Donato on 5/29/2020. (This is a te xt−only entry generated by the court. There is no
                    document associated with this entry.) (jdlc2S, COURT STAFF) (Filed on 5/29/2020) (Entered: 05/29/2020
06/02/2020 2671 Clerks Notice re: Cameras in the Courtroom. Due to the remote nature of proceedings during the Covid−19
                emergency, Cameras in the Courtroom will not be used for the rest of the trial. There will be a Zoom link
                available to view the trial live when it resumes. (This is a text−only entry generated by the court. There is no
                document associated with this entry.) (lrcS, COURT STAFF) (Filed on 6/2/2020)
                            Any non−CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)

                    (Entered: 06/02/2020)
06/03/2020 2672 Minute Entry for proceedings held before Judge James Donato: Working Group Meeting with Judge re
                DPPs' Trial held on 6/2/2020. (jdlc2S, COURT STAFF) (Date Filed: 6/3/2020) (Entered: 06/03/2020)
06/05/2020 2673 Minute Entry for proceedings held before Judge James Donato: Status Conference re DPPs' Trial held o
                6/5/2020. (jdlc2S, COURT STAFF) (Date Filed: 6/5/2020) (Entered: 06/05/2020)
06/05/2020 2674 ORDER. The jurors for the DPPs' trial have now been discharged. The Court orders that the parties ma
                not contact the jurors for any reason. Signed by Judge James Donato on 6/5/2020. (This is a text−only en
                generated by the court. There is no document associated with this entry.) (jdlc2S, COURT STAFF) (Filed o
                6/5/2020) (Entered: 06/05/2020)
06/22/2020 2675 ORDER. The Court finds the DPPs' motion for preliminary approval of class action settlements, MDL
                Dkt. No. 1300, to be suitable for decision without oral argument pursuant to Civil Local Rule 7−1(b). Th
                hearing that was set for June 25, 2020, is vacated. Signed by Judge James Donato on 6/22/2020. (This is a
                text−only entry generated by the court. There is no document associated with this entry.) (jdlc2S, COURT
                STAFF) (Filed on 6/22/2020) (Entered: 06/22/2020)
06/26/2020 2676 Letter from Joseph R. Saveri Requesting Entry of Preliminary Approval Order. (Saveri, Joseph) (Filed on
                6/26/2020) (Entered: 06/26/2020)
07/01/2020 2677 ORDER. The Court sets a hearing for July 9, 2020, at 2 p.m., on all issues relating to DPP class member
                Cisco and Aptiv's distribution dispute with the DPPs' Class Counsel. The hearing will be held by Zoom
                Webinar.

                    Each party should designate a lead counsel to speak at the hearing by emailing the name of their lead
                    counsel to Judge Donato's Courtroom Deputy, Ms. Lisa Clark, at jdcrd@cand.uscourts.gov by July 8,
                    2020, at 12:00 p.m., California time. The names for lead counsel are needed so that Ms. Clark can identi
                    them during the Zoom hearing when the case is called. All lead counsel must call in fifteen minutes befor
                    the hearing to test internet, video, and audio capabilities.

                    All counsel, parties, members of the public, and press may join the webinar using the link or information
                    below:

                    https://cand−uscourts.zoomgov.com/j/1617171523?pwd=VWJqM2ZYT1UvNFZ0ZHNZUUhGWTBCZz

                    Webinar ID: 161 717 1523 Password: 213597

                    Or iPhone one−tap :
                    US: +16692545252,,1617171523#,,1#,213597# or +16468287666,,1617171523#,,1#,213597#

                    Or Telephone:
                    Dial (for higher quality, dial a number based on your current location):
                    US: +1 669 254 5252 or +1 646 828 7666

                    PLEASE NOTE: Persons granted remote access to court proceedings are reminded of the general


                                                                     Add.203
                     Case 22-2079, Document 48, 04/20/2023, 3502340, Page128 of 194

                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Saveri, Joseph) (Filed on 11/23/2021) (Entered: 11/23/2021)
11/24/2021 2863 Minute Entry for proceedings held before Judge James Donato: Pretrial Conference held on 11/23/2021
                (jdlc2, COURT STAFF) (Date Filed: 11/24/2021) (Entered: 11/24/2021)
11/24/2021 2864 ORDER GRANTING DIRECT PURCHASER CLASS'S ADMINISTRATIVE MOTION TO BRING
                DEMONSTRATIVES INTO THE COURTHOSE FOR TRIAL. Signed by Judge James Donato on
                11/24/2021. (jdlc2, COURT STAFF) (Filed on 11/24/2021) (Entered: 11/24/2021)
11/24/2021 2865 ORDER GRANTING DEFENDANTS' ADMINISTRATIVE MOTION TO BRING DEMONSTRATIV
                INTO THE COURTHOUSE FOR TRIAL. Signed by Judge James Donato on 11/24/2021. (jdlc2, COUR
                STAFF) (Filed on 11/24/2021) (Entered: 11/24/2021)
11/24/2021 2866 PROPOSED VOIR DIRE. Signed by Judge James Donato on 11/24/2021. (jdlc2, COURT STAFF) (Filed
                on 11/24/2021) (Entered: 11/24/2021)
11/26/2021 2867 ORDER. For witness Kakizaki, the Court is advised that he will not appear in person at the upcoming
                trial. For the parties' disputes about use of his prior testimony, see Dkt. No. 1576, Kakizaki's March 202
                trial testimony was not completed because of the pandemic, and both sides did not have a full and fair
                opportunity to examine him. Consequently, it may not be used at the upcoming trial. For Kakizaki's
                assertions of the Fifth Amendment during discovery, the record indicates that he provided substantive
                answers not subject to the privilege in a two−day deposition that followed one where the privilege was
                invoked. See Dkt. No. 1576 at 10−13. In effect, he subsequently waived the privilege. Consequently, neith
                party may use at trial an assertion of the Fifth Amendment for a question to which Kakizaki subsequent
                provided a substantive answer. Signed by Judge James Donato on 11/26/2021. (This is a text−only entry
                generated by the court. There is no document associated with this entry.) (jdlc2, COURT STAFF) (Filed on
                11/26/2021) (Entered: 11/26/2021)
11/26/2021 2868 ORDER granting (1608 in 3:17−md−02801−JD) ADMINISTRATIVE MOTION TO BRING
                DEMONSTRATIVES INTO THE COURTHOUSE FOR TRIAL. Signed by Judge James Donato on
                11/26/2021. (jdlc2, COURT STAFF) (Filed on 11/26/2021) (Entered: 11/26/2021)
11/26/2021 2869 Transcript of Zoom Video Conference Proceedings held on 11−23−2021, before Judge James Donato. Court
                Reporter/Transcriber Debra L. Pas, CRR, telephone number (415) 431−1477/Email:
                Debra_Pas@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this transcript may
                viewed only at the Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber
                until the deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date of this
                filing. (Re (1599 in 3:17−md−02801−JD) Transcript Order, (1598 in 3:17−md−02801−JD) Transcript Order )
                Release of Transcript Restriction set for 2/24/2022. (Pas, Debra) (Filed on 11/26/2021) (Entered: 11/26/2021)
11/26/2021 2870 Letter from Counsel re Witness Vaccination Status . (Kaufhold, Steven) (Filed on 11/26/2021) (Entered:
                11/26/2021)
11/27/2021 2871 Brief Amended Proffer of Evidence in Support of Admissibility of Adverse Inference Regarding Fifth Amendme
                Deposition Testimony of Noriaki Kakizaki filed byDirect Purchaser Plaintiffs. (Attachments: # 1 Exhibit 1, # 2
                Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5)(Saveri, Joseph) (Filed on 11/27/2021) (Entered: 11/27/20
11/28/2021 2872 Proposed Jury Instructions by Direct Purchaser Plaintiffs . (Attachments: # 1 Exhibit Joint Set of Updated
                Proposed Final Jury Instructions and Objections)(Saveri, Joseph) (Filed on 11/28/2021) (Entered: 11/28/2021)
11/29/2021 2873 MOTION Admit Trial Exhibits Into Evidence Direct Purchaser Class's Motion to Admit Trial Exhibits 1271 a
                2105 Into Evidence filed by Direct Purchaser Plaintiffs. Responses due by 12/13/2021. Replies due by
                12/20/2021. (Attachments: # 1 Exhibit Trial Exhibit No. 1271, # 2 Exhibit Trial Exhibit No. 2105)(Saveri,
                Joseph) (Filed on 11/29/2021) (Entered: 11/29/2021)
11/29/2021 2874 RESPONSE re 2871 Brief, re DPPS' Amended Proffer In Support of Admissibility of 61 Adverse Inference
                Invocations by Noriaki Kakizaki by Nippon Chemi−con Corporation. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                3 Exhibit 3)(Kaufhold, Steven) (Filed on 11/29/2021) (Entered: 11/29/2021)
11/29/2021 2875 Brief Proffer of Evidence in Support of Admissibility of Kazutoshi Suzuki's Testimony About Coconspirator
                Statements Pursuant to Rule 801(d)(2)(E) filed byDirect Purchaser Plaintiffs. (Saveri, Joseph) (Filed on
                11/29/2021) (Entered: 11/29/2021)
11/29/2021 2876 Brief Proffer of Evidence in Support of Admissibility of Adverse Inference Regarding Fifth Amendment
                Deposition Testimony of Kazutoshi Suzuki filed byDirect Purchaser Plaintiffs. (Attachments: # 1 Exhibit A, # 2
                Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Saveri, Joseph) (Filed on 11/29/2021)
                (Entered: 11/29/2021)


                                                         Add.204
                     Case 22-2079, Document 48, 04/20/2023, 3502340, Page129 of 194

11/29/2021 2879 Minute Entry for proceedings held before Judge James Donato: Jury Trial began on 11/29/2021.Total
                Time in Court: 5:25. Court Reporter: Debra Pas. (Attachments: # 1 Trial Sheet 11−29−2021)(lrc, COUR
                STAFF) (Date Filed: 11/29/2021) (Entered: 11/30/2021)
11/30/2021 2877 Brief Amended Proffer of Evidence in Support of Admissibility of Videotaped Deposition Testimony of Kazuhik
                Mitsuhori About Coconspirator Statements Pursuant to Rule 801(d)(2)(E) filed byDirect Purchaser Plaintiffs.
                (Saveri, Joseph) (Filed on 11/30/2021) (Entered: 11/30/2021)
11/30/2021 2878 OPPOSITION/RESPONSE (re 2873 MOTION Admit Trial Exhibits Into Evidence Direct Purchaser Class's
                Motion to Admit Trial Exhibits 1271 and 2105 Into Evidence ) filed byNippon Chemi−con Corporation.
                (Kaufhold, Steven) (Filed on 11/30/2021) (Entered: 11/30/2021)
11/30/2021 2881 Minute Entry for proceedings held before Judge James Donato: Jury Trial held on 11/30/2021.Total Tim
                in Court: 6 Hours. Court Reporter: Debra Pas. (Attachments: # 1 Trial Sheet)(lrc, COURT STAFF) (Da
                Filed: 11/30/2021) (Entered: 12/01/2021)
12/01/2021 2880 TRANSCRIPT ORDER for proceedings held on 11/29/2021 before Judge James Donato by Direct Purchaser
                Plaintiffs, for Court Reporter Debra Pas. (Seaver, Todd) (Filed on 12/1/2021) (Entered: 12/01/2021)
12/01/2021 2882 RESPONSE re 2876 Brief, to DPPS' Proffer in Support of the Admissibility of Adverse Inferences Regarding
                Fifth Amendment Deposition Testimony of Kazutoshi Suzuki by Nippon Chemi−con Corporation. (Attachments
                1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Kaufhold, Steven) (Filed on 12/1/2021) (Entered:
                12/01/2021)
12/01/2021 2883 Minute Entry for proceedings held before Judge James Donato: Jury Trial held on 12/1/2021.Total Tim
                Court: 6 hours & 15 minutes. Court Reporter: Debra Pas. (Attachments: # 1 Trial Sheet)(lrc, COURT
                STAFF) (Date Filed: 12/1/2021) (Entered: 12/02/2021)
12/02/2021 2884 Minute Entry for proceedings held before Judge James Donato: Jury Trial held on 12/2/2021.Total Tim
                Court: 6 hours & 12 minutes. Court Reporter: Debra Pas. (Attachments: # 1 Trial Sheet)(lrc, COURT
                STAFF) (Date Filed: 12/2/2021) (Entered: 12/03/2021)
12/03/2021 2885 RESPONSE re 2637 Brief, to DPPS' Proffer in Support of the Admissibility of Adverse Inferences Regarding
                Fifth Amendment Deposition Testimony of Ikuo Uchiyama by Nippon Chemi−con Corporation. (Attachments:
                Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Kaufhold,
                Steven) (Filed on 12/3/2021) (Entered: 12/03/2021)
12/03/2021 2886 Brief Proffer of Evidence in Support of Admissibility of Shinichi Toriis Testimony About Co−Conspirator
                Statements Pursuant to Rule 801(d)(2)(E) filed byDirect Purchaser Plaintiffs. (Attachments: # 1 Exhibit
                A)(Saveri, Joseph) (Filed on 12/3/2021) (Entered: 12/03/2021)
12/06/2021 2887 Brief Proffer in Support of Admission of Federal Rule of Evidence Rule 1006 Summary to Prove the Content o
                Voluminous Writings filed byDirect Purchaser Plaintiffs. (Attachments: # 1 Exhibit 1 − 19, # 2 Exhibit 20 − 31
                3 Exhibit 32 − 34, # 4 Exhibit 35 − 45, # 5 Exhibit 46 − 53)(Saveri, Joseph) (Filed on 12/6/2021) (Entered:
                12/06/2021)
12/06/2021 2888 Minute Entry for proceedings held before Judge James Donato: Jury Trial held on 12/6/2021.Total Tim
                Court: 6 Hours & 7 Minutes. Court Reporter: Debra Pas. (Attachments: # 1 Trial Sheet)(lrc, COURT
                STAFF) (Date Filed: 12/6/2021) (Entered: 12/07/2021)
12/07/2021 2889 Minute Entry for proceedings held before Judge James Donato: Jury Trial held on 12/7/2021.Total Tim
                Court: 6 Hours & 4 Minutes. Court Reporter: Debra Pas. (Attachments: # 1 Trial Sheet)(lrc, COURT
                STAFF) (Date Filed: 12/7/2021) (Entered: 12/08/2021)
12/08/2021 2890 Minute Entry for proceedings held before Judge James Donato: Jury Trial held on 12/8/2021.Total Tim
                Court: 6 Hours & 4 Minutes. Court Reporter: Debra Pas. (Attachments: # 1 Trial Sheet)(lrc, COURT
                STAFF) (Date Filed: 12/8/2021) (Entered: 12/09/2021)
12/09/2021 2891 ORDER. For the direct purchaser class trial, the parties' deadline for filing their amended final jury
                instructions is revised to 12:00 p.m. California time on December 10, 2021. Signed by Judge James Dona
                on 12/9/2021. (This is a text−only entry generated by the court. There is no document associated with this
                entry.) (jdlc2, COURT STAFF) (Filed on 12/9/2021) (Entered: 12/09/2021)
12/09/2021 2893 Minute Entry for proceedings held before Judge James Donato: Jury Trial held on 12/9/2021.Total Tim
                Court: 5 Hours & 7 Minutes. Court Reporter: Debra Pas. (Attachments: # 1 Trial Sheet)(lrc, COURT
                STAFF) (Date Filed: 12/9/2021) (Entered: 12/10/2021)
12/10/2021 2892 PROPOSED VERDICT FORM. Signed by Judge James Donato on 12/10/2021. (jdlc2, COURT STAFF)
                (Filed on 12/10/2021) (Entered: 12/10/2021)


                                                       Add.205
                    Case 22-2079, Document 48, 04/20/2023, 3502340, Page130 of 194

12/02/2022 2974 NOTICE by Indirect Purchaser Plaintiffs re 2973 MOTION for Disbursement of Funds Indirect Purchaser
                Plaintiffs' Notice of Motion and Motion for Authorization to Disburse Net Settlement Funds; Memorandum of
                Points and Authorities in Support Thereof (Notice of Filing of Corrected Declaration of Eric Schachter)
                (Attachments: # 1 Corrected Declaration of Eric Schachter, # 2 Exhibits A−D)(Castillo, Elizabeth) (Filed on
                12/2/2022) (Entered: 12/02/2022)
12/02/2022 2975 NOTICE of Appearance by James Gerard Beebe Dallal (Dallal, James) (Filed on 12/2/2022) (Entered:
                12/02/2022)
12/08/2022 2976 NOTICE by Indirect Purchaser Plaintiffs re 2973 MOTION for Disbursement of Funds Indirect Purchaser
                Plaintiffs' Notice of Motion and Motion for Authorization to Disburse Net Settlement Funds; Memorandum of
                Points and Authorities in Support Thereof Indirect Purchaser Plaintiffs' Notice of Non−Opposition to Motion f
                Authorization to Disburse Net Settlement Funds (Castillo, Elizabeth) (Filed on 12/8/2022) (Entered: 12/08/202
12/19/2022 2977 ORDER AUTHORIZING DISBURSEMENT OF NET SETTLEMENT FUNDS IN IPPS' ACTION.
                Signed by Judge James Donato on 12/19/2022. (jdlc2, COURT STAFF) (Filed on 12/19/2022) (Entered:
                12/19/2022)
01/10/2023 2978 ORDER GRANTING DIRECT PURCHASER CLASS'S MOTION FOR FINAL APPROVAL OF CLA
                ACTION SETTLEMENT WITH DEFENDANTS MATSUO ELECTRIC CO., LTD., NIPPON
                CHEMI−CON CORP. AND UNITED CHEMI−CON, INC. Signed by Judge James Donato on 1/10/2023
                (Attachments: # 1 Exhibit A)(jdlc2, COURT STAFF) (Filed on 1/10/2023) (Entered: 01/10/2023)
01/10/2023 2979 FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT MATSUO ELECTR
                CO., LTD. FOR DPP ACTION. Signed by Judge James Donato on 1/10/2023. (jdlc2, COURT STAFF)
                (Filed on 1/10/2023) (Entered: 01/10/2023)
01/10/2023 2980 FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO DEFENDANTS NIPPON
                CHEMI−CON CORP. AND UNITED CHEMI−CON INC. FOR DPP ACTION. Signed by Judge James
                Donato on 1/10/2023. (jdlc2, COURT STAFF) (Filed on 1/10/2023) (Entered: 01/10/2023)
03/03/2023 2981 NOTICE of Change of Address by Steven Shea Kaufhold re Farrah Berse (Kaufhold, Steven) (Filed on
                3/3/2023) (Entered: 03/03/2023)
03/06/2023 2982 ORDER RE DPP ATTORNEYS' FEES AND COSTS, AND SERVICE AWARDS. Signed by Judge Jam
                Donato on 3/6/2023. (jdlc2, COURT STAFF) (Filed on 3/6/2023) (Entered: 03/06/2023)
03/29/2023 2983 ORDER. The sealing motions at MDL Dkt. Nos. 1666 and 1669 are granted for good cause. Signed by
                Judge James Donato on 3/29/2023. (This is a text−only entry generated by the court. There is no document
                associated with this entry.) (jdlc2, COURT STAFF) (Filed on 3/29/2023) (Entered: 03/29/2023)




                                                       Add.206
                          Case
                          Case3:14-cv-03264-JD Document
                               22-2079, Document         2812 Filed
                                                 48, 04/20/2023,    07/02/21
                                                                 3502340,    Page of
                                                                          Page131 1 of 24
                                                                                     194


                  1   JOSEPH W. COTCHETT (State Bar No. 36324)
                      ADAM J. ZAPALA (State Bar No. 245748)
                  2   ELIZABETH T. CASTILLO (State Bar No. 280502)
                      JAMES G. DALLAL (State Bar No. 277826)
                  3   COTCHETT, PITRE & MCCARTHY, LLP
                      840 Malcolm Road, Suite 200
                  4   Burlingame, CA 94010
                      Telephone: (650) 697-6000
                  5   Facsimile: (650) 697-0577
                      jcotchett@cpmlegal.com
                  6   azapala@cpmlegal.com
                      ecastillo@cpmlegal.com
                  7   jdallal@cpmlegal.com
                  8   Interim Lead Counsel for Indirect Purchaser Plaintiffs
                  9

                 10

                 11                              UNITED STATES DISTRICT COURT
                 12                           NORTHERN DISTRICT OF CALIFORNIA
                 13                                   SAN FRANCISCO DIVISION
                 14    IN RE CAPACITORS ANTITRUST                      MDL No. 17-md-02801
                       LITIGATION                                      Case No. 3:14-cv-03264-JD
                 15

                 16    This Document Relates to:                       INDIRECT PURCHASER PLAINTIFFS’
                                                                       NOTICE OF MOTION AND MOTION
                 17    All Indirect Purchaser Actions                  FOR PRELIMINARY APPROVAL OF
                                                                       REVISED SETTLEMENTS WITH
                 18                                                    SHINYEI AND TAITSU DEFENDANTS
                                                                       AND FOR APPROVAL OF THE PLAN
                 19                                                    OF ALLOCATION; MEMORANDUM
                 20                                                    OF POINTS AND AUTHORITIES IN
                                                                       SUPPORT THEREOF
                 21
                                                                       Date: August 12, 2021
                 22                                                    Time: 10:00 a.m.
                                                                       Place: Courtroom 11, 19th Floor
                 23

                 24
                 25
                 26

                 27
                 28

   Law Offices
COTCHETT, PITRE &
                      Indirect Purchaser Plaintiffs’ Motion for Preliminary Approval of Revised Settlements and
 MCCARTHY, LLP
                      Approval of Plan of Allocation; Case No. 14-cv-03264-JD, MDL No. 17-md-02801


                                                             Add.207
                             Case
                              Case3:14-cv-03264-JD Document
                                   22-2079, Document         2812 Filed
                                                     48, 04/20/2023,    07/02/21
                                                                     3502340,     Page 15
                                                                               Page132    of 24
                                                                                       of 194


                  1                   4.      Reversions
                  2            The settlements are non-reversionary: There is no circumstance under which money

                  3   designated for class recovery will revert to any Defendant following final approval.

                  4                   5.      Class Action Fairness Act
                  5            Pursuant to the terms of the Settlement Agreements and the requirements of the Class

                  6   Action Fairness Act, 28 U.S.C § 1715, all notices required will be, or already have been, provided

                  7   by the Settling Defendants. See Zapala Decl., Ex. 1, Shinyei Settlement Agreement ¶ 53; Ex. 2,

                  8   Taitsu Settlement Agreement, ¶ 53. The Settlements substantively comply with the Class Action

                  9   Fairness Act. They do not include coupons. See 28 U.S.C. § 1712. No class member will be

                 10   “obligated to pay sums to class counsel that would result in a net loss to the class member[.]” See

                 11   28 U.S.C. § 1713. The Settlements do not “provide for the payment of greater sums to some class

                 12   members than to others solely on the basis that the class members to whom the greater sums are

                 13   to be paid are located in closer geographic proximity to the court.” See 28 U.S.C § 1714.

                 14                   6.      Comparable Class Settlements
                 15            Information regarding comparable settlements is included in Appendix A to this motion.

                 16   III.     ARGUMENT

                 17            A.     The Court Should Grant Preliminary Approval of the Proposed Settlements
                 18                   1.      Legal Standard for Class Action Settlements
                 19            “The Ninth Circuit maintains a ‘strong judicial policy’ that favors the settlement of class

                 20   actions.” G.F. v. Contra Costa County, 2015 WL 4606078, at *8 (N.D. Cal. July 20, 2015). When

                 21   asked to grant preliminary approval of a class action settlement, the Court must determine

                 22   whether proposed settlements: (1) appear to be the product of serious, informed, non-collusive

                 23   negotiations; (2) have no obvious deficiencies; (3) do not improperly grant preferential treatment

                 24   to class representatives or segments of the class; and (4) fall within the range of possible approval.

                 25   In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007).

                 26                   2.      The Settlements Meet the Standards for Preliminary Approval
                 27            The settlements meet the standards for preliminary approval because they were the result

                 28   of serious, informed, and non-collusive negotiations. There are also no obvious deficiencies in the

   Law Offices
                      _____________________________________________________________________________
COTCHETT, PITRE &
                      Indirect Purchaser Plaintiffs’ Motion for Preliminary Approval of Settlements and Approval of
 MCCARTHY, LLP
                      Plan of Allocation; Case No. 14-cv-03264-JD, MDL No. 17-md-02801                              7


                                                               Add.208
                          Case
                           Case3:14-cv-03264-JD Document
                                22-2079, Document         2812 Filed
                                                  48, 04/20/2023,    07/02/21
                                                                  3502340,     Page 16
                                                                            Page133    of 24
                                                                                    of 194


                  1   settlements—the settlements do not grant preferential treatment to the class representatives or any
                  2   subset of the class and fall within the range of possible approval. As such, preliminary approval of
                  3   the settlement is appropriate and warranted.
                  4                         a.      The Settlements are the Result of Non-Collusive Negotiations
                  5          IPPs and the Settling Defendants are represented by skilled antitrust counsel who are
                  6   knowledgeable regarding the law and have extensive experience with complex antitrust lawsuits.
                  7   IPPs and the Settling Defendants have litigated this case for well over six years. The parties have
                  8 conducted over 130 depositions and Defendants have produced over 11 million documents

                  9 consisting of over 28 million pages to IPPs. Zapala Decl. ¶ 8. Id. At the time of reaching these

                 10   settlements, the parties had engaged in expert discovery and fully briefed the Defendants’ motions
                 11   for summary judgment, as well as the IPPs’ petition for Rule 23(f) appeal of the Court’s denial of
                 12   class certification. Id. ¶ 9. Therefore IPPs and the Settling Defendants were well-informed about
                 13 the relevant facts, damages, and defenses. Moreover, throughout this litigation, the Settling

                 14   Defendants (and Defendants who settled previously) have vigorously contested, inter alia, IPPs’
                 15 legal theories of liability, Defendants’ level of involvement in the conduct alleged, the suitability

                 16 of the class action mechanism here, the volume of commerce at issue, relevance of related civil

                 17 and criminal proceedings, and damages. Zapala Decl. ¶ 10. These proposed settlements, therefore,

                 18 are the result of serious and informed negotiations over a protracted period after significant

                 19 litigation and discovery. Additionally, there has been no collusion among settling parties.

                 20                         b.      There are No Obvious Deficiencies in the Settlements
                 21          As set forth above, the settlements were the result of serious analysis and consideration of
                 22 the risks faced by both sides and there are no obvious deficiencies in the settlements. The size of

                 23 the settlements is commensurate with the Settling Defendants’ involvement in the capacitors

                 24 industry affected by the alleged antitrust conspiracy, and as the calculations above reveal,
                 25 commensurate with (and well exceeding) their shares of the affected volume of commerce. The
                 26 settlements were reached with full appreciation of the risks faced by both sides.

                 27                         c.      There is No Preferential Treatment
                 28          No class representative or segment of the classes will receive preferential treatment. All
   Law Offices
                      _____________________________________________________________________________
COTCHETT, PITRE &
                      Indirect Purchaser Plaintiffs’ Motion for Preliminary Approval of Settlements and Approval of
 MCCARTHY, LLP
                      Plan of Allocation; Case No. 14-cv-03264-JD, MDL No. 17-md-02801                              8


                                                              Add.209
                          Case
                           Case3:14-cv-03264-JD Document
                                22-2079, Document         2812 Filed
                                                  48, 04/20/2023,    07/02/21
                                                                  3502340,     Page 17
                                                                            Page134    of 24
                                                                                    of 194


                  1   indirect purchasers in the relevant states will have an equal ability to submit a claim for a pro rata
                  2   share of the settlement funds for their purchases of Defendants’ price-fixed film capacitors. This
                  3   element in favor of preliminary approval is met.
                  4                          d.      The Settlements Fall Within the Range of Possible Approval
                  5          For the reasons stated supra at 4-7, IPPs strongly believe that the proposed settlements fall
                  6   within the range of possible approval and should be preliminarily approved.
                  7                          e.      The Proposed Settlements Satisfy the Rule 23(e)(2) Factors
                  8          Interim lead class counsel for IPPs has adequately represented the class. See § III.A.3.d
                  9   infra. The Court has presided over this case continuously since inception in 2014 and has had
                 10   ample opportunity to observe the hard-fought nature of the litigation. The proposal was negotiated
                 11   at arm’s length. Zapala Decl. ¶ 3. The relief provided under the proposed settlements is adequate
                 12   in light of the attendant prudential and equitable considerations, including the present procedural
                 13   posture. Id. ¶¶ 4, 10-14; and § II.D.3 supra. And there are no agreements required to be identified
                 14   under Rule 23(e)(3). Accordingly, the proposed settlements satisfy the updated standard.
                 15                  3.      The Proposed Settlement Classes Satisfy Rule 23
                 16          In addition to the substantive and procedural fairness of the settlements, the settlement
                 17   classes are appropriate for class treatment. Settlement class certification is appropriate when the
                 18   proposed class and the proposed class representatives meet the four prerequisites of Rule 23(a):
                 19   (1) numerosity; (2) common questions of law or fact; (3) typicality; and (4) fair and adequate
                 20   class representation. Fed. R. Civ. P. 23(a). Additionally, a class must satisfy one of the criteria in
                 21   Rule 23(b). Fed. R. Civ. P. 23(b). The Settlement Classes meet all Rule 23 requirements.
                 22                          a.      Fed. R. Civ. P. 23(a)(1) – Numerosity
                 23          The first prerequisite for certifying a class is that “the class is so numerous that joinder of
                 24   all members is impracticable.” Fed. R. Civ. P. 23(a)(1). “There is no exact class size that meets
                 25   the numerosity requirement; rather, where the exact size of the class is unknown but general
                 26   knowledge and common sense indicate that it is large, the numerosity requirement is satisfied.”
                 27   Bellinghausen v. Tractor Supply Co., 303 F.R.D. 611, 616 (N.D. Cal. 2014) (cleaned up). Here,
                 28 IPPs seek to certify of a settlement class of indirect purchasers from six states: California, Florida,

   Law Offices
                      _____________________________________________________________________________
COTCHETT, PITRE &
                      Indirect Purchaser Plaintiffs’ Motion for Preliminary Approval of Settlements and Approval of
 MCCARTHY, LLP
                      Plan of Allocation; Case No. 14-cv-03264-JD, MDL No. 17-md-02801                              9


                                                               Add.210
                            Case
                             Case3:14-cv-03264-JD Document
                                  22-2079, Document         2812 Filed
                                                    48, 04/20/2023,    07/02/21
                                                                    3502340,     Page 23
                                                                              Page135    of 24
                                                                                      of 194


                  1   (N.D. Cal. 2001) (cleaned up). When allocating funds, “it is reasonable to allocate the settlement
                  2   funds to class members based on the extent of their injuries or the strength of their claims on the
                  3   merits.” In re Omnivision Technologies, Inc., 559 F. Supp. 2d 1036, 1045-46 (N.D. Cal. 2008)
                  4   (cleaned up) (approving securities class action settlement allocation on a “per-share basis”).
                  5           Pro rata distribution has frequently been determined by courts to be fair, adequate, and
                  6   reasonable. See In re Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-5944 JST, 2015 WL
                  7   9266493, at *8 (N.D. Cal. Dec. 17, 2015) (approving pro rata plan of allocation based upon
                  8   proportional value of price-fixed component in finished product); In re Vitamins Antitrust Litig.,
                  9   No. 99-197 TFH, 2000 WL 1737867, at *6 (D.D.C. Mar. 31, 2000) (“Settlement distributions,
                 10 such as this one, that apportions funds according to the relative amount of damages suffered by

                 11 class members have repeatedly been deemed fair and reasonable.”) (citations omitted).

                 12           Allocation of this round of settlements will be on a pro rata basis to purchasers in the six
                 13 states with qualifying purchases. The pro rata distribution to each class member with damages

                 14 claims from the six indirect purchaser states that are included in the settlement class will be based

                 15   upon the number of approved purchases of film capacitors during the settlement class period, a
                 16   dynamic that ties recovery to each class member to the volume and type of its purchases. This
                 17   distribution is a reasonable and fair way to compensate classes and this basic structure has been
                 18   approved as to the other rounds of settlements in this Action. This plan of allocation is “fair,
                 19   adequate, and reasonable” and merits approval by the Court. Citric Acid, 145 F. Supp. at 1154.
                 20   IV.     CONCLUSION
                 21           For the foregoing reasons, IPPs respectfully request that this Court enter an order: (1)
                 22   preliminarily approving the proposed settlements with the Settling Defendants, (2) appointing
                 23   CPM as Settlement Class Counsel, (3) preliminarily approving the proposed plan of allocation,
                 24   and (4) establishing a schedule for final approval of the settlements.
                 25   Dated: July 2, 2021                   Respectfully Submitted:
                 26                                         /s/ Adam J. Zapala
                 27                                         Adam J. Zapala
                                                            Elizabeth T. Castillo
                 28                                         James G. Dallal

   Law Offices
                      _____________________________________________________________________________
COTCHETT, PITRE &
                      Indirect Purchaser Plaintiffs’ Motion for Preliminary Approval of Settlements and Approval of
 MCCARTHY, LLP
                      Plan of Allocation; Case No. 14-cv-03264-JD, MDL No. 17-md-02801                              15


                                                               Add.211
                          Case
                           Case3:14-cv-03264-JD Document
                                22-2079, Document         2812 Filed
                                                  48, 04/20/2023,    07/02/21
                                                                  3502340,     Page 24
                                                                            Page136    of 24
                                                                                    of 194


                  1                                       COTCHETT, PITRE & McCARTHY, LLP
                                                          840 Malcolm Road, Suite 200
                  2                                       Burlingame, CA 94010
                  3                                       Telephone: (650) 697-6000
                                                          Facsimile: (650) 697-0577
                  4                                       azapala@cpmlegal.com
                                                          ecastillo@cpmlegal.com
                  5                                       jdallal@cpmlegal.com
                                                          Interim Lead Counsel for Indirect Purchaser Plaintiffs
                  6

                  7
                  8

                  9

                 10

                 11

                 12

                 13

                 14

                 15

                 16

                 17

                 18

                 19

                 20
                 21
                 22

                 23

                 24
                 25
                 26

                 27
                 28

   Law Offices
                      _____________________________________________________________________________
COTCHETT, PITRE &
                      Indirect Purchaser Plaintiffs’ Motion for Preliminary Approval of Settlements and Approval of
 MCCARTHY, LLP
                      Plan of Allocation; Case No. 14-cv-03264-JD, MDL No. 17-md-02801                              16


                                                             Add.212
            Case
            Case3:14-cv-03264-JD Document
                 22-2079, Document         2923 Filed
                                   48, 04/20/2023,    03/31/22
                                                   3502340,    Page of
                                                            Page137 1 of 25
                                                                       194


 1   Joseph R. Saveri (State Bar No. 130064)
     Steven N. Williams (State Bar No. 175489)
 2   Christopher K.L. Young (State Bar No. 318371)
 3   JOSEPH SAVERI LAW FIRM, LLP
     601 California Street, Suite 1000
 4   San Francisco, California 94108
     Telephone: (415) 500-6800
 5   Facsimile: (415) 395-9940
     Email:     jsaveri@saverilawfirm.com
 6              swilliams@saverilawfirm.com
                cyoung@saverilawfirm.com
 7
     Lead Counsel for the Direct Purchaser Class
 8

 9                                UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11

12   IN RE CAPACITORS ANTITRUST LITIGATION                   Master File No. 3:17-md-02801-JD
                                                             Civil Action No. 3:14-cv-03264-JD
13   THIS DOCUMENT RELATES TO: THE DIRECT
     PURCHASER CLASS ACTION                                  DIRECT PURCHASER CLASS’S
14                                                           MOTION FOR PRELIMINARY
                                                             APPROVAL OF CLASS ACTION
15                                                           SETTLEMENT WITH DEFENDANTS
                                                             MATSUO ELECTRIC CO., LTD.,
16                                                           NIPPON CHEMI-CON CORP. AND
                                                             UNITED CHEMI-CON, INC.
17
                                                             Date:      May 5, 2022
18                                                           Time:      10:00 a.m.
                                                             Courtroom: 11, 19th Floor
19

20
21

22
23

24
25

26
27

28
      Master File No. 3:17-md-02801-JD
      Case No. 3:14-cv-03264-JD
     DIRECT PURCHASER CLASS’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT WITH
       DEFENDANTS MATSUO ELECTRIC CO., LTD., NIPPON CHEMI-CON CORP., AND UNITED CHEMI-CON, INC.


                                                   Add.213
              Case
              Case3:14-cv-03264-JD Document
                   22-2079, Document         2923 Filed
                                     48, 04/20/2023,    03/31/22
                                                     3502340,    Page of
                                                              Page138 8 of 25
                                                                         194


 1   reasonable, and adequate, and should be finally approved. The proposed schedule is summarized in
 2   Attachment A.

 3   II.      CASE HISTORY
 4            A.     The Class’s Factual Allegations and Claims

 5            The Defendants in this action are 22 different corporate families that manufactured and sold
 6   capacitors in the United States and around the world. The Class alleges that at least as early as January

 7   1, 2002, Defendants entered into a price-fixing conspiracy with the purpose and effect of fixing, raising,
 8   and stabilizing the prices of their aluminum, tantalum, and film capacitors sold to United States

 9   purchasers. See Saveri Decl., ¶ 3.

10            B.     Procedural History and Discovery

11            With these Settlements, the Class will have brought this case to a successful resolution against

12   all Defendants that have responded to the complaint.2 The case began when Plaintiff Chip-Tech, Ltd.
13   filed the capacitors price-fixing complaint in July 2014. ECF No.3 1; see also Saveri Decl., ¶ 4. The

14   Class’s Third Amended Complaint, filed on September 6, 2017, is the operative pleading. ECF No.

15   1831; Saveri Decl., ¶ 4. On November 14, 2018, the Court certified the Direct Purchaser Class. ECF No.

16   2231.

17            The case has been tried4 and the Court is substantially familiar with the merits of the case. In the
18   four prior rounds of settlements that the Court has approved, e.g., ECF No. 1713; MDL ECF No. 249,

19   MDL ECF No. 1422, counsel for the Class (“Lead Class Counsel”) set forth its and the class

20
21

22
23
     2
      Defendants Toshin Kogyo, LTD, and Nissei Electric Ltd. were properly served but failed to appear to
24   defend themselves. The Court has entered default judgment against Toshin Kogyo, MDL ECF No. 116,
     and Lead Class Counsel intends to request the Court enter default judgment against Nissei forthwith.
25
     3
         “ECF No. __” citations to entries in Case No. 3:14-cv-03264.
26
     4
       Indeed, the case has been tried twice. The first trial occurred in March 2020 before it was interrupted
27   by the COVID-19 pandemic and mistrial was declared. Saveri Decl., ¶ 4. The case was tried a second
     time beginning in November 2021.
28
      Master File No. 3:17-md-02801-JD
      Case No. 3:14-cv-03264-JD                   2
     DIRECT PURCHASER CLASS’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT WITH
       DEFENDANTS MATSUO ELECTRIC CO., LTD., NIPPON CHEMI-CON CORP., AND UNITED CHEMI-CON, INC.


                                                 Add.214
            Case
            Case3:14-cv-03264-JD Document
                 22-2079, Document         2923 Filed
                                   48, 04/20/2023,    03/31/22
                                                   3502340,    Page of
                                                            Page139 9 of 25
                                                                       194


 1   representatives’ efforts in prosecuting this action.5 MDL ECF No. 172, at 3-5. After three weeks of
 2   trial., the Class has settled with the remaining defendants with total settlement amounts significantly

 3   exceeding single damages as calculated by the Class’s experts. Saveri Decl., ¶¶ 4, 22.
 4           C.      Prior Settlement History

 5           On June 27, 2017, the Court granted final approval of the Class’s first round of settlements with
 6   the NEC Tokin, Fujitsu, Nitsuko, Okaya, and ROHM defendants totaling $32.6 million. ECF No. 1713.

 7   On June 28, 2018, the Court granted final approval of the Class’s second round of settlements with the

 8   Hitachi Chemical and Soshin defendants totaling $66.9 million. ECF No. 2166. On May 16, 2019, the

 9   Court granted final approval of the Class’s third round of settlements with the Nichicon and Rubycon

10   defendants totaling $108 million plus up to an additional $12 million in contingent payments based on

11   Rubycon’s financial results through fiscal year 2019. MDL ECF No. 587 at 11. On November 6, 2020,

12   the Court granted final approval of the Class’s fourth round of settlements with the AVX, ELNA, Holy

13   Stone, KEMET, Panasonic, Shinyei, Shizuki and Taitsu defendants totaling $232.05 million. MDL ECF

14   No. 1422. These settlements demonstrate that Lead Class Counsel and the named class representatives

15   have diligently and successfully represented the Class.

16           A summary of the distributions made for the first two rounds of settlements—including

17   information concerning the total settlement funds, the total number of Class Members, the total

18   number of notices directly mailed, the number and percentage of claim forms submitted, the average

19   recovery per Class Member, the administrative costs, and the attorneys’ fees and costs—is set forth in

20   Attachment B. Lead Class Counsel estimates that the number and percentage of Class Members that

21   will participate in this round of settlements are likely to be similar to those in the prior settlements.

22
23

24
     5
25     These substantial efforts have included extensive discovery, analyzing 39 million Bates-numbered
     pages (mostly in Japanese) from over 100 document custodians, deposing over 90 individuals, and
26   trying the case in March 2020 before trial was interrupted by the COVID-19 pandemic. Id. Since the
     time the Court granted final approval as to the fourth round of settlements, MDL ECF No. 1068, the
27   Class has diligently prepared the case for trial, engaged in mediation with the Matsuo and Chemi-Con
     defendants, and engaged in three weeks of trial advocacy at the second trial. See Saveri Decl., ¶¶ 16-17.
28
      Master File No. 3:17-md-02801-JD
      Case No. 3:14-cv-03264-JD                   3
     DIRECT PURCHASER CLASS’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT WITH
       DEFENDANTS MATSUO ELECTRIC CO., LTD., NIPPON CHEMI-CON CORP., AND UNITED CHEMI-CON, INC.


                                                 Add.215
            Case
             Case3:14-cv-03264-JD Document
                  22-2079, Document         2923 Filed
                                    48, 04/20/2023,    03/31/22
                                                    3502340,     Page 10
                                                              Page140    of 25
                                                                      of 194


 1   III.    SUMMARY OF PROPOSED SETTLEMENT
 2           A.     Settlement Consideration—$165 Million

 3           Pursuant to their Settlement Agreements6 described below, the Settling Defendants will make,
 4   or have already made, payments into an escrow account (the “Settlement Fund”), held and
 5   administered by an escrow agent. Saveri Decl., Ex. A at ¶ 17; id., Ex. B at ¶ 17. Lead Class Counsel
 6   recommends the appointment of Citibank, N.A. as the escrow agent.
 7                  1.      The Settlements Are in the Best Interests of the Class
 8           The settlements between the Class and Matsuo and the Class and Chemi-Con benefit the Class
 9   and function in tandem. Based on Matsuo’s financial condition, Lead Class Counsel determined the
10   best course of action would be to first settle with Matsuo in order to bring Chemi-Con to the negotiating
11   table to attempt to get the most favorable settlement possible for the class.7 Saveri Decl., ¶ 20. This
12   included analysis of the financial condition of Matsuo and Chemi-Con respectively, including the
13   retention of forensic accountants and pursuing targeted inquiries through the mediator and as part of
14   the settlement process. See id., ¶ 16. The Class made a number of differing proposals to structure the
15   schedule of payments consistent with Matsuo’s financial condition. See id., ¶¶ 16-19. This course of
16   action worked. Id., ¶ 20. The settlement with Matsuo paved the way for the settlement with Chemi-Con
17   because Chemi-Con was the only remaining Defendant, thus ensuring the best recovery for the Class.
18   Id. Now both parties have settled in part due to the Lead Class Counsels’ decision to settle first with
19   Matsuo.
20                  2.      Matsuo’s Settlement Consideration
21           The Class and Matsuo executed an agreement effective March 16, 2022. Saveri Decl., ¶ 23; id.,
22   Ex. A. The Class agreed to release its claims against Matsuo in exchange for a sum total of $5,000,000
23
     6
24    Other than the Settlement Agreements attached to the Saveri Declaration, there are no other
     agreements relating to the settlement that are required to be identified under Fed. R. Civ. P. 23(e)(3).
25   7
      Additionally, Lead Class Counsel determined settlement with Matsuo would benefit the Class due to
26   Matsuo’s lack of U.S. assets and in light of the uncertainty of enforcing a treble-damages award in Japan
     under Japanese law. Saveri Decl., ¶ 20; see generally M. Waxman, Enforcing American Private Antitrust
27   Decisions in Japan: Is Comity Real? 44 DEPAUL L. REV. 1119 (1995) (discussing comity concerns and
     other impediments to enforcement of treble damage judgments rendered in United States courts).
28
      Master File No. 3:17-md-02801-JD
      Case No. 3:14-cv-03264-JD                   4
     DIRECT PURCHASER CLASS’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT WITH
       DEFENDANTS MATSUO ELECTRIC CO., LTD., NIPPON CHEMI-CON CORP., AND UNITED CHEMI-CON, INC.


                                                Add.216
          Case
           Case3:14-cv-03264-JD Document
                22-2079, Document         2923 Filed
                                  48, 04/20/2023,    03/31/22
                                                  3502340,     Page 22
                                                            Page141    of 25
                                                                    of 194


 1   Dated: March 31, 2022                    Respectfully Submitted,

 2                                            JOSEPH SAVERI LAW FIRM, LLP
 3
                                              By:   /s/ Joseph R. Saveri
 4                                                      Joseph R. Saveri

 5                                            Joseph R. Saveri (State Bar No. 130064)
                                              Steven N. Williams (State Bar No. 175489)
 6
                                              Christopher K.L. Young (State Bar No. 318371)
 7                                            JOSEPH SAVERI LAW FIRM, LLP
                                              601 California Street, Suite 1000
 8                                            San Francisco, California 94108
                                              Telephone: (415) 500-6800
 9                                            Facsimile: (415) 395-9940
                                              Email:     jsaveri@saverilawfirm.com
10                                                       swilliams@saverilawfirm.com
                                                         cyoung@saverilawfirm.com
11
                                              Lead Counsel for the Direct Purchaser Class
12

13

14

15

16

17

18

19

20
21

22
23

24
25

26
27

28
      Master File No. 3:17-md-02801-JD
      Case No. 3:14-cv-03264-JD                   16
     DIRECT PURCHASER CLASS’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT WITH
       DEFENDANTS MATSUO ELECTRIC CO., LTD., NIPPON CHEMI-CON CORP., AND UNITED CHEMI-CON, INC.


                                        Add.217
4/6/23, 1:48 PM         Case 22-2079, Document Docket
                                               48, 04/20/2023,          3502340,
                                                      Report Results - Not              Page142 of 194
                                                                           an Official Document


  Case ID: N21C-03-257
          Docket Start Date:
          Docket Ending Date:


  Case Description

    Case ID:            N21C-03-257 - US DOMINION, INC. V. FOX NEWS NETWORK, LLC -JURY TRIAL
    Filing Date:        Friday , March 26th, 2021
    Type:               CG - DEFAMATION
    Status:             CSO - CASE SCHEDULING ORDER


  Related Cases

  No related cases were found.

  Case Event Schedule

   Event                          Date/Time              Room                              Location         Judge
   PRE-TRIAL                      12-APR-2023 SCN JUDGES                                   SUPERIOR CT NEW DAVIS, ERIC M
   CONFERENCE                     09:30 AM    CHAMBERS 10TH                                CASTLE COUNTY
                                              FLOOR
   JURY SELECTION                 13-APR-2023 SCN JUDGES                                   SUPERIOR CT NEW DAVIS, ERIC M
                                  09:30 AM    CHAMBERS 10TH                                CASTLE COUNTY
                                              FLOOR
   TRIAL (CIVIL)                  17-APR-2023 SCN JUDGES                                   SUPERIOR CT NEW DAVIS, ERIC M
                                  09:30 AM    CHAMBERS 10TH                                CASTLE COUNTY
                                              FLOOR


  Case Parties

                                                   Party
         Seq #                               Assoc End               Type                      ID       Name
                                                   Date
                  1                              7,58                PLAINTIFF                 @3469037 US DOMINION, INC.
   Address: unavailable                                                             Aliases: none


                  2                                  8               PLAINTIFF                 @3469038 US DOMINION, INC.
   Address: unavailable                                                             Aliases: none


                  3                              7,58                PLAINTIFF                 @3469039 DOMINION VOTING
                                                                                                        SYSTEMS, INC.

https://courtconnect.courts.delaware.gov/cc/cconnect/ck_public_qry_doct.cp_dktrpt_frames                                1/272


                                                                     Add.218
4/6/23, 1:48 PM         Case 22-2079, Document Docket
                                               48, 04/20/2023,          3502340,
                                                      Report Results - Not              Page143 of 194
                                                                           an Official Document

                          REDACTED VERSION DATE DOCKETED: APRIL 9, 2022 [PUBLIC VERSION]
                          DEFENDANT FOX NEWS NETWORK, LLC'S MOTION TO COMPEL ADDITIONAL
                          CUSTODIANS AND SEARCH TERMS FOR PLAINTIFFS' DOCUMENT
                          COLLECTION AND FOR EXPEDITED CONSIDERATION CERTIFICATE OF
   Entry:
                          SERVICE OF DEFENDANT FOX NEWS NETWORK, LLC'S MOTION TO COMPEL
                          ADDITIONAL CUSTODIANS AND SEARCH TERMS FOR PLAINTIFFS'
                          DOCUMENT COLLECTION AND FOR EXPEDITED CONSIDERATION ACCEPTED
                          BY: MR TRANSACTION ID: 67459551


   08-APR-2022 ORDER - PRO HAC VICE                                                 ELZUFON, JOHN A
   11:42 AM
                          ORDER - PRO HAC VICE DATE DOCKETED: APRIL 9, 2022 ORDER SIGNED BY:
                          DAVIS, ERIC M GRANTED (SARGENT, EDGAR: ORDER FOR ADMISSION PRO
   Entry:                 HAC VICE ON BEHALF OF PLAINTIFFS US DOMINION, INC., DOMINION
                          VOTING SYSTEMS, INC., AND DOMINION VOTING SYSTEMS CORPORATION) -
                          DAVIS, J. APRIL 8, 2022 ACCEPTED BY: MR TRANSACTION ID: 67463090


   08-APR-2022 JUDICIAL ACTION FORM
   04:28 PM
                          JUDICIAL ACTION FORM DATE DOCKETED: APRIL 9, 2022 SUPERIOR COURT
                          PROCEEDING SHEET FOR SCHEDULING CONFERENCE, HEARD ON APRIL 8,
   Entry:
                          2022. TRIAL DATE SET ON APRIL 17, 2023 FOR 5 WEEKS. ACCEPTED BY: MR
                          TRANSACTION ID: 67464713


   08-APR-2022 NOTICE                                                               FARNAN, BRIAN E
   05:26 PM
                          NOTICE DATE DOCKETED: APRIL 12, 2022 PLAINTIFFS' NOTICE OF
                          SUBPOENAS TO JILLIAN MELE EXHIBIT 1 TO PLAINTIFFS' NOTICE OF
   Entry:                 SUBPOENAS TO JILLIAN MELE CERTIFICATE OF SERVICE OF PLAINTIFFS'
                          NOTICE OF SUBPOENAS TO JILLIAN MELE ACCEPTED BY: MR TRANSACTION
                          ID: 67464967


   12-APR-2022 ORDER                                                                ELZUFON, JOHN A
   01:51 PM
                          ORDER SIGNED BY DATE DOCKETED: APRIL 13, 2022 ORDER SIGNED BY:
                          ELZUFON, SPECIAL MASTER JOHN ORDER OF SPECIAL MASTER WITH
   Entry:                 REFERENCE TO THE MOTION BY FOX NEWS NETWORK, LLC, TO COMPEL
                          ADDITIONAL CUSTODIANS AND SEARCH TERMS FOR PLAINTIFFS'
                          DOCUMENT COLLECTION ACCEPTED BY: MR TRANSACTION ID: 67472464


   12-APR-2022 NOTICE OF SERVICE                                                    FARNAN, BRIAN E
   04:54 PM
   Entry:                 NOTICE OF SERVICE DATE DOCKETED: APRIL 14, 2022 NOTICE OF SERVICE
                          OF: (I) PLAINTIFFS' THIRD SET OF INTERROGATORIES DIRECTED TO
                          DEFENDANT FOX NEWS NETWORK AND (II) PLAINTIFFS' THIRD SET OF
https://courtconnect.courts.delaware.gov/cc/cconnect/ck_public_qry_doct.cp_dktrpt_frames                 61/272


                                                                     Add.219
4/6/23, 1:48 PM         Case 22-2079, Document Docket
                                               48, 04/20/2023,          3502340,
                                                      Report Results - Not              Page144 of 194
                                                                           an Official Document

   02:56 PM
                          LETTER FOR JUDICIAL REVIEW DATE DOCKETED: MAY 3, 2022 LETTER TO
                          THE HONORABLE ERIC M. DAVIS FROM KATHARINE L. MOWERY DATED MAY
                          2, 2022 ENCLOSING A PROPOSED AMENDED ORDER GOVERNING THE
                          PRODUCTION AND EXCHANGE OF CONFIDENTIAL INFORMATION EXHIBIT A -
                          [PROPOSED] ORDER TO THE LETTER TO THE HONORABLE ERIC M. DAVIS
                          FROM KATHARINE L. MOWERY DATED MAY 2, 2022 ENCLOSING A PROPOSED
   Entry:
                          AMENDED ORDER GOVERNING THE PRODUCTION AND EXCHANGE OF
                          CONFIDENTIAL INFORMATION EXHIBIT B TO THE LETTER TO THE
                          HONORABLE ERIC M. DAVIS FROM KATHARINE L. MOWERY DATED MAY 2,
                          2022 ENCLOSING A PROPOSED AMENDED ORDER GOVERNING THE
                          PRODUCTION AND EXCHANGE OF CONFIDENTIAL INFORMATION ACCEPTED
                          BY: MR TRANSACTION ID: 67574607


   03-MAY-2022 ORDER - PRO HAC VICE                                                 ELZUFON, JOHN A
   10:46 AM
                          ORDER - PRO HAC VICE DATE DOCKETED: MAY 4, 2022 ORDER SIGNED BY:
                          DAVIS, ERIC M GRANTED (ORDER FOR ADMISSION PRO HAC VICE OF
   Entry:
                          ANDREW DAVIS ON BEHALF OF DEFENDANT FOX NEWS NETWORK, LLC.) - -
                          DAVIS, J. MAY 3, 2022 ACCEPTED BY: MR TRANSACTION ID: 67578797


   03-MAY-2022 ORDER                                                                ELZUFON, JOHN A
   10:51 AM
                          ORDER SIGNED BY DATE DOCKETED: MAY 4, 2022 ORDER SIGNED BY:
                          DAVIS, ERIC M SO ORDERED. TRIAL DATE: 04/17/23; JURY SELECTION:
   Entry:                 04/13/23; PRE-TRIAL CONFERENCE: 04/12/23 (CASE MANAGEMENT ORDER IN
                          ACCORDANCE WITH THE COURTS APRIL 21, 2022 RULING) - DAVIS, J. MAY 3,
                          2022 ACCEPTED BY: MR TRANSACTION ID: 67578887


   03-MAY-2022 ORDER                                                                ELZUFON, JOHN A
   02:10 PM
                          ORDER SIGNED BY DATE DOCKETED: MAY 5, 2022 ORDER SIGNED BY:
   Entry:                 DAVIS, ERIC M GRANTED (ORDER GRANTING MOTION FOR COMMISSION.) -
                          DAVIS, J. MAY 3, 2022 ACCEPTED BY: MR TRANSACTION ID: 67580743


   03-MAY-2022 ORDER                                                                ELZUFON, JOHN A
   02:20 PM
                          ORDER SIGNED BY DATE DOCKETED: MAY 4, 2022 ORDER SIGNED BY:
                          DAVIS, ERIC M GRANTED (ORDER TO THE LETTER TO THE HONORABLE
                          ERIC M. DAVIS FROM KATHARINE L. MOWERY DATED MAY 2, 2022
   Entry:
                          ENCLOSING A PROPOSED AMENDED ORDER GOVERNING THE PRODUCTION
                          AND EXCHANGE OF CONFIDENTIAL INFORMATION) - DAVIS, J. MAY 3, 2022
                          ACCEPTED BY: MR TRANSACTION ID: 67580806




https://courtconnect.courts.delaware.gov/cc/cconnect/ck_public_qry_doct.cp_dktrpt_frames                 67/272


                                                                     Add.220
4/6/23, 1:48 PM         Case 22-2079, Document Docket
                                               48, 04/20/2023,          3502340,
                                                      Report Results - Not              Page145 of 194
                                                                           an Official Document

                          LETTER FOR JUDICIAL REVIEW DATE DOCKETED: JANUARY 7, 2023 LETTER
                          TO THE HONORABLE ERIC M. DAVIS FROM BRIAN E. FARNAN REGARDING
   Entry:
                          RESPONSE TO DEFENDANTS' JANUARY 5, 2023 LETTER ACCEPTED BY:
                          TRANSACTION ID: 68810129


   05-JAN-2023            NOTICE OF DEPOSITION                                      MOWERY, KATHARINE L
   09:28 PM
                          NOTICE OF DEPOSITION OF DATE DOCKETED: JANUARY 7, 2023 DEFENDANT
                          FOX NEWS NETWORK, LLC'S NOTICE OF DEPOSITION OF ADAM D.
   Entry:
                          GALINSKY ON JANUARY 13, 2023 AT 11:00 AM EST WITH CERTIFICATE OF
                          SERVICE ACCEPTED BY: TRANSACTION ID: 68813222


   06-JAN-2023            NOTICE OF DEPOSITION                                      FARNAN, BRIAN E
   02:38 PM
                          NOTICE OF DEPOSITION OF DATE DOCKETED: JANUARY 7, 2023 PLAINTIFFS'
                          NOTICE OF DEPOSITION OF DIANA ASCHER ON JANUARY 10, 2023 AT 10:00
   Entry:
                          AM PT WITH CERTIFICATE OF SERVICE ACCEPTED BY: TRANSACTION ID:
                          68820917


   06-JAN-2023            NOTICE OF DEPOSITION                                      FARNAN, BRIAN E
   02:38 PM
                          NOTICE OF DEPOSITION OF DATE DOCKETED: JANUARY 7, 2023 PLAINTIFFS'
                          NOTICE OF DEPOSITION OF SEAN HANNITY ON JANUARY 10, 2023 AT 9:00 AM
   Entry:
                          ET WITH CERTIFICATE OF SERVICE ACCEPTED BY: TRANSACTION ID:
                          68820917


   06-JAN-2023            NOTICE OF DEPOSITION                                      FARNAN, BRIAN E
   02:38 PM
                          NOTICE OF DEPOSITION OF DATE DOCKETED: JANUARY 7, 2023 PLAINTIFFS'
                          NOTICE OF DEPOSITION OF SETH NEILSON ON JANUARY 13, 2023 AT 9:00 AM
   Entry:
                          PT WITH CERTIFICATE OF SERVICE ACCEPTED BY: TRANSACTION ID:
                          68820917


   06-JAN-2023            ORDER                                                     ELZUFON, JOHN A
   03:12 PM
                          ORDER SIGNED BY DATE DOCKETED: JANUARY 10, 2023 ORDER SIGNED BY:
                          DAVIS, ERIC M ORDER SETTING BRIEFING DEADLINES ON SUMMARY
                          JUDGMENTS. THE COURT WILL SET THE FOLLOWING DEADLINES FOR ALL
                          SUMMARY JUDGMENT MOTIONS IN THESE CONSOLIDATED CASES:
   Entry:                 OPENING MOTIONS AND BRIEFS DUE NO LATER THAN 6:00 P.M. ON
                          JANUARY 17, 2023; OPPOSITION BRIEFS DUE NO LATER THAN 6:00 P.M. ON
                          FEBRUARY 8, 2023; REPLY BRIEFS DUE NO LATER THAN 6:00 P.M. ON
                          FEBRUARY 20, 2023. IT IS SO ORDERED. DAVIS, J. JANUARY 6, 2023.
                          ACCEPTED BY: TRANSACTION ID: 68821336

https://courtconnect.courts.delaware.gov/cc/cconnect/ck_public_qry_doct.cp_dktrpt_frames                  196/272


                                                                     Add.221
4/6/23, 1:48 PM         Case 22-2079, Document Docket
                                               48, 04/20/2023,          3502340,
                                                      Report Results - Not              Page146 of 194
                                                                           an Official Document




   16-JAN-2023            NOTICE OF DEPOSITION                                      FARNAN, BRIAN E
   04:02 PM
                          NOTICE OF DEPOSITION OF DATE DOCKETED: JANUARY 18, 2023
                          PLAINTIFFS' NOTICE OF DEPOSITION OF ROBERT BURTON ON JANUARY 20,
   Entry:
                          2023 AT 10:00 AM ET WITH CERTIFICATE OF SERVICE ACCEPTED BY:
                          TRANSACTION ID: 68896846


   17-JAN-2023            NOTICE OF DEPOSITION                                      MOWERY, KATHARINE L
   11:22 AM
                          NOTICE OF DEPOSITION OF DATE DOCKETED: JANUARY 18, 2023
                          DEFENDANT FOX NEWS NETWORK, LLC'S NOTICE OF DEPOSITION OF JOEL
   Entry:
                          H. STECKEL ON JANUARY 19, 2023 AT 12:00 PM EST WITH A CERTIFICATE OF
                          SERVICE ACCEPTED BY: TRANSACTION ID: 68899974


   17-JAN-2023            MOTION FOR SUMMARY                                        FARNAN, BRIAN E
   05:53 PM               JUDGMENT
                          MOTION FOR SUMMARY JUDGMENT DATE DOCKETED: JANUARY 19, 2023
                          DOMINION'S MOTION FOR SUMMARY JUDGMENT ON LIABILITY OF FOX
                          NEWS NETWORK, LLC AND FOX CORPORATION PROPOSED ORDER
                          GRANTING DOMINION'S MOTION FOR SUMMARY JUDGMENT ON LIABILITY
                          OF FOX NEWS NETWORK, LLC AND FOX CORPORATION NOTICE OF
                          DOMINION'S MOTION FOR SUMMARY JUDGMENT ON LIABILITY OF FOX
                          NEWS NETWORK, LLC AND FOX CORPORATION WILL BE PRESENTED AT THE
                          CONVENIENCE OF THE COURT CONFIDENTIAL DOMINION'S BRIEF IN
   Entry:                 SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT ON LIABILITY OF FOX
                          NEWS NETWORK, LLC AND FOX CORPORATION CERTIFICATE OF
                          COMPLIANCE WITH TYPEFACE REQUIREMENT AND TYPE-VOLUME
                          LIMITATION CONFIDENTIAL APPENDICES A-D TO DOMINION'S BRIEF IN
                          SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT ON LIABILITY OF FOX
                          NEWS NETWORK, LLC AND FOX CORPORATION CERTIFICATE OF SERVICE
                          FOR DOMINION'S MOTION FOR SUMMARY JUDGMENT ON LIABILITY OF FOX
                          NEWS NETWORK, LLC AND FOX CORPORATION AND ALL SUPPORTING
                          DOCUMENTS ACCEPTED BY: TRANSACTION ID: 68910209


   17-JAN-2023            MOTION FOR SUMMARY                                        MOWERY, KATHARINE L
   05:57 PM               JUDGMENT
                          MOTION FOR SUMMARY JUDGMENT DATE DOCKETED: JANUARY 19, 2023
                          DEFENDANT FOX CORPORATION'S MOTION FOR SUMMARY JUDGMENT
                          NOTICE OF MOTION OF DEFENDANT FOX CORPORATION'S MOTION FOR
                          SUMMARY JUDGMENT [PROPOSED] ORDER TO THE DEFENDANT FOX
                          CORPORATION'S MOTION FOR SUMMARY JUDGMENT CERTIFICATE OF
   Entry:
                          COMPLIANCE WITH TYPEFACE REQUIREMENT AND TYPE-VOLUME
                          LIMITATION TO DEFENDANT FOX CORPORATION'S MOTION FOR SUMMARY
                          JUDGMENT CERTIFICATE OF SERVICE OF DEFENDANT FOX
                          CORPORATION'S MOTION FOR SUMMARY JUDGMENT ACCEPTED BY:
                          TRANSACTION ID: 68890216
https://courtconnect.courts.delaware.gov/cc/cconnect/ck_public_qry_doct.cp_dktrpt_frames                  202/272


                                                                     Add.222
4/6/23, 1:48 PM         Case 22-2079, Document Docket
                                               48, 04/20/2023,          3502340,
                                                      Report Results - Not              Page147 of 194
                                                                           an Official Document

                         DOMINION'S MARCH 30, 2023 LETTER REGARDING FOX WITNESSES
                         ACCEPTED BY: BB TRANSACTION ID: 69703254


   31-MAR-2023 MOTION                                                               BUTLER, KATE
   03:31 PM
                          MOTION DATE DOCKETED: APRIL 4, 2023 MOTION TO INTERVENE OR FOR
                          ALTERNATIVE RELIEF EX A TO MOT. TO INTERVENE NOTICE FOR MOTION TO
   Entry:
                          INTERVENE TO BE HEARD AT THE CONVENIENCE OF THE COURT.
                          PROPOSED ORDER ACCEPTED BY: BB TRANSACTION ID: 69708822


   31-MAR-2023 OPINION                                                              ELZUFON, JOHN A
   03:31 PM
                          OPINION DATE DOCKETED: APRIL 1, 2023 ORDER SIGNED BY: DAVIS, ERIC M
                          CROSS-MOTIONS FOR SUMMARY JUDGMENT - GRANTED IN PART AND
   Entry:
                          DENIED IN PART. DAVIS, J. MARCH 31, 2023. ACCEPTED BY: MR
                          TRANSACTION ID: 69708908


   31-MAR-2023 PROPOSED VOIR DIRE                                                   MOWERY, KATHARINE L
   04:34 PM
                          PROPOSED VOIR DIRE DATE DOCKETED: APRIL 4, 2023 PROPOSED SPECIAL
   Entry:                 VOIR DIRE WITH CERTIFICATE OF SERVICE ACCEPTED BY: BB
                          TRANSACTION ID: 69706490


   31-MAR-2023 WITNESS AND EXHIBIT LIST                                             ROHRBACHER, BLAKE
   11:27 PM
                          WITNESS AND EXHIBIT LIST DATE DOCKETED: APRIL 4, 2023 FOX
   Entry:                 DEFENDANTS EXHIBIT LIST EXHIBIT 1 TO FOX DEFENDANTS EXHIBIT LIST
                          CERTIFICATE OF SERVICE ACCEPTED BY: BB TRANSACTION ID: 69712580


   31-MAR-2023 WITNESS AND EXHIBIT LIST                                             FARNAN, BRIAN E
   11:56 PM
                          WITNESS AND EXHIBIT LIST DATE DOCKETED: APRIL 4, 2023 DOMINION'S
   Entry:                 TRIAL EXHIBIT LIST WITH CERTIFICATE OF SERVICE ACCEPTED BY: BB
                          TRANSACTION ID: 69712613


   31-MAR-2023 LETTER FOR JUDICIAL REVIEW                                           ROHRBACHER, BLAKE
   11:57 PM
                          LETTER FOR JUDICIAL REVIEW DATE DOCKETED: APRIL 4, 2023 FOX
                          DEFENDANTS' STATEMENT REGARDING OBJECTIONS TO PLAINTIFFS'
   Entry:
                          EXHIBIT LIST WITH A CERTIFICATE OF SERVICE ACCEPTED BY: BB
                          TRANSACTION ID: 69712606


https://courtconnect.courts.delaware.gov/cc/cconnect/ck_public_qry_doct.cp_dktrpt_frames                  270/272


                                                                     Add.223
4/6/23, 1:48 PM         Case 22-2079, Document Docket
                                               48, 04/20/2023,          3502340,
                                                      Report Results - Not              Page148 of 194
                                                                           an Official Document




   04-APR-2023 ORDER                                                                ELZUFON, JOHN A
   10:47 AM
                          ORDER SIGNED BY DATE DOCKETED: APRIL 5, 2023 ORDER SIGNED BY:
                          DAVIS, ERIC M SO ORDERED (STIPULATION AND SCHEDULING ORDER
   Entry:                 REGARDING FILING PUBLIC COPIES OF MOTIONS IN LIMINE AND
                          OPPOSITIONS THERETO)- DAVIS, J. 04-04-23 ACCEPTED BY: BB
                          TRANSACTION ID: 69725442


   04-APR-2023 LETTER FOR JUDICIAL REVIEW                                           MOWERY, KATHARINE L
   12:02 PM
                          LETTER FOR JUDICIAL REVIEW DATE DOCKETED: APRIL 5, 2023 LETTER
                          FROM KATHARINE L. MOWERY, ESQ. TO THE HONORABLE ERIC M. DAVIS
   Entry:
                          REGARDING FOX'S LIVE WITNESSES ACCEPTED BY: BB TRANSACTION ID:
                          69724592


   04-APR-2023 LETTER FOR JUDICIAL REVIEW                                           FARNAN, BRIAN E
   06:23 PM
                          LETTER FOR JUDICIAL REVIEW DATE DOCKETED: APRIL 6, 2023 LETTER TO
   Entry:                 THE HONORABLE ERIC M. DAVIS FROM BRIAN E. FARNAN REGARDING LIVE
                          WITNESSES FOR TRIAL ACCEPTED BY: BB TRANSACTION ID: 69731485


   05-APR-2023 JUDICIAL ACTION FORM
   02:57 PM
                          JUDICIAL ACTION FORM DATE DOCKETED: APRIL 6, 2023 SUPERIOR COURT
   Entry:                 PROCEEDING SHEET FOR STATUS CONFERENCE, HEARD ON APRIL 5, 2023.
                          ACCEPTED BY: BB TRANSACTION ID: 69737493




https://courtconnect.courts.delaware.gov/cc/cconnect/ck_public_qry_doct.cp_dktrpt_frames                  272/272


                                                                     Add.224
        Case 22-2079, Document 48, 04/20/2023, 3502340, Page149 of 194

                                                     ACCO,(SHKx),DISCOVERY,MANADR,PROTORD
                   UNITED STATES DISTRICT COURT
      CENTRAL DISTRICT OF CALIFORNIA (Eastern Division − Riverside)
          CIVIL DOCKET FOR CASE #: 5:18−cv−01882−JGB−SHK

Monster Energy Company v. Vital Pharmaceuticals, Inc. et al   Date Filed: 09/04/2018
Assigned to: Judge Jesus G. Bernal                            Jury Demand: Plaintiff
Referred to: Magistrate Judge Shashi H. Kewalramani           Nature of Suit: 890 Other Statutory
Cause: 15:1125 Trademark Infringement (Lanham Act)            Actions
                                                              Jurisdiction: Federal Question
Plaintiff
Monster Energy Company                          represented by Christina Von der Ahe Rayburn
a Delaware corporation                                         Hueston Hennigan LLP
                                                               620 Newport Center Drive, Suite 1300
                                                               Newport Beach, CA 92660
                                                               949−356−6412
                                                               Fax: 888−775−0898
                                                               Email: crayburn@hueston.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                              Jennifer N Popp
                                                              Hueston Hennigan LLP
                                                              523 W 6th Street Suite 400
                                                              Los Angeles, CA 90014
                                                              213−788−4340
                                                              Email: jpopp@hueston.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              John C Hueston
                                                              Hueston Hennigan LLP
                                                              523 West 6th Street Suite 400
                                                              Los Angeles, CA 90014
                                                              213−788−4340
                                                              Fax: 888−775−0898
                                                              Email: jhueston@hueston.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Joseph Alan Reiter
                                                              Hueston Hennigan LLP
                                                              523 West 6th Street Suite 400
                                                              Los Angeles, CA 90014
                                                              213−788−4340
                                                              Fax: 888−775−0898
                                                              Email: jreiter@hueston.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Michael Hayes Todisco
                                                              Hueston Hennigan LLP
                                                              523 West 6th Street Suite 400
                                                              Los Angeles, CA 90014−1208
                                                              213−788−4275
                                                              Fax: 888−775−0898
                                                              Email: mtodisco@hueston.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Moez M Kaba
                                                              Hueston Hennigan LLP




                                           Add.225
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page150 of 194

                                                       (See above for address)
                                                       TERMINATED: 07/14/2022

                                                       Kenneth J. Ferguson
                                                       (See above for address)
                                                       TERMINATED: 07/14/2022
                                                       PRO HAC VICE
                                                       Kirti Vaidya Reddy
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Lucy R. Dollens
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED
                                                       Marc J. Kesten
                                                       (See above for address)
                                                       TERMINATED: 07/09/2020

                                                       Matthew J. Duchemin
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Michael D Kanach
                                                       (See above for address)
                                                       TERMINATED: 07/09/2020
                                                       Michael R. Klatt
                                                       (See above for address)
                                                       TERMINATED: 07/14/2022
                                                       PRO HAC VICE
                                                       Nolan J. Mitchell
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED
                                                       Olaf Jerzy Muller
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Peter Siachos
                                                       (See above for address)
                                                       TERMINATED: 07/14/2022
                                                       PRO HAC VICE
                                                       Sara A. Frey
                                                       (See above for address)
                                                       TERMINATED: 07/14/2022
                                                       PRO HAC VICE
                                                       Sean P Flynn
                                                       (See above for address)
                                                       TERMINATED: 07/14/2022


Date Filed   #   Docket Text
09/04/2018   1 COMPLAINT Receipt No: 0973−22362914 − Fee: $400, filed by Plaintiff Monster
               Energy Company. (Attorney Naoki S Kaneko added to party Monster Energy
               Company(pty:pla))(Kaneko, Naoki) (Entered: 09/04/2018)




                                     Add.226
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page151 of 194

                   (Entered: 08/07/2022)
08/08/2022   807 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:
                 Miscellaneous Document 806 . The following error(s) was/were found: Incorrect event
                 selected. Correct event to be used is: Request / for order. In response to this notice, the
                 Court may: (1) order an amended or correct document to be filed; (2) order the
                 document stricken; or (3) take other action as the Court deems appropriate. You need
                 not take any action in response to this notice unless and until the Court directs you to
                 do so. (twdb) (Entered: 08/08/2022)
08/09/2022   808 MINUTES OF Status Conference (held and completed) before Judge Jesus G. Bernal:
                 The jury veneer is dismissed. A new jury veneer will be requested for next week.Trial
                 is continued to August 16, 2022, at 9:00 a.m. The Court also sets a status conference
                 for Monday, August 15, 2022, at 11:00 a.m. Status Conference set for 8/15/2022 at
                 11:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A. Preston. (twdb)
                 (Entered: 08/10/2022)
08/12/2022   809 EX PARTE APPLICATION to Continue Trial Date filed by Defendants John H.
                 Owoc, Vital Pharmaceuticals, Inc.. (Attachments: # 1 Declaration, # 2 Proposed
                 Order) (Muth, David) (Entered: 08/12/2022)
08/14/2022   810 SUPPLEMENTAL BRIEF filed by Defendants John H. Owoc, Vital Pharmaceuticals,
                 Inc. re: EX PARTE APPLICATION to Continue Trial Date 809 (Muth, David)
                 (Entered: 08/14/2022)
08/15/2022   811 OPPOSITION IN OPPOSITION TO re: EX PARTE APPLICATION to Continue
                 Trial Date 809 filed by Plaintiff Monster Energy Company. (Haji, Sara) (Entered:
                 08/15/2022)
08/15/2022   812 MINUTES OF Status Conference (held and completed) before Judge Jesus G. Bernal:
                 Trial continued to 8/25/2022 at 09:00 AM before Judge Jesus G. Bernal. Counsel shall
                 meet and confer for at least two hours this week to reduce the number of witnesses. A
                 status report shall be filed by Friday, August 19, 2022. Status Report due by
                 8/19/2022. Court Reporter: Phyllis A. Preston. (twdb) (Entered: 08/17/2022)
08/18/2022   813 TRANSCRIPT ORDER as to Plaintiff Monster Energy Company for Court Reporter.
                 Court will contact Marina Green at mgreen@hueston.com with further instructions
                 regarding this order. Transcript preparation will not begin until payment has been
                 satisfied with the court reporter. (Mishra, Sourabh) (Entered: 08/18/2022)
08/19/2022   814 STATUS REPORT Joint Status Report Relating to ECF 812 filed by Plaintiff Monster
                 Energy Company. (Mishra, Sourabh) (Entered: 08/19/2022)
08/25/2022   815 Notice of Appearance or Withdrawal of Counsel: for attorney Eunice Leong counsel
                 for Plaintiff Monster Energy Company. Adding Eunice Leong as counsel of record for
                 Monster Energy Company for the reason indicated in the G−123 Notice. Filed by
                 Plaintiff Monster Energy Company. (Attorney Eunice Leong added to party Monster
                 Energy Company(pty:pla))(Leong, Eunice) (Entered: 08/25/2022)
08/25/2022   820 MINUTES OF Jury Trial − 1st Day held before Judge Jesus G. Bernal: Jury impaneled
                 and sworn. Jury Trial continued to 8/26/2022 at 09:00 AM before Judge Jesus G.
                 Bernal. Court Reporter: Phyllis A. Preston / Miriam Baird. (twdb) (Entered:
                 08/31/2022)
08/26/2022   821 MINUTES OF Jury Trial − 2nd Day held before Judge Jesus G. Bernal: Opening
                 statements made. Witnesses called, sworn and testified. Exhibits identified and
                 admitted. Jury Trial continued to 8/30/2022 at 09:00 AM before Judge Jesus G.
                 Bernal. Court Reporter: Phyllis A. Preston / Miriam Baird. (twdb) (Entered:
                 08/31/2022)
08/30/2022   816 Deposition Designations Index − Dr. Darryn Willoughby (Greer, Justin) (Entered:
                 08/30/2022)
08/30/2022   817 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:
                 Miscellaneous Document 816 . The following error(s) was/were found: Title page is
                 missing. In response to this notice, the Court may: (1) order an amended or correct
                 document to be filed; (2) order the document stricken; or (3) take other action as the
                 Court deems appropriate. You need not take any action in response to this notice




                                           Add.227
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page152 of 194

                   unless and until the Court directs you to do so. (lom) (Entered: 08/30/2022)
08/30/2022   818 BRIEF filed by Plaintiff Monster Energy Company. REGARDING THE
                 ADMISSIBILITY OF DR. DARRYN WILLOOUGHBY'S DEPOSITION TESTIMONY
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                 6 Exhibit 6, # 7 Exhibit 7)(Kaba, Moez) (Entered: 08/31/2022)
08/30/2022   822 MINUTES OF Jury Trial − 3rd Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 8/31/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston / Miriam Baird. (twdb) (Entered: 08/31/2022)
08/31/2022   819 Brief regarding Inadmissibility of Dr. Willoughby Deposition Testimony BRIEF filed
                 by Defendants John H. Owoc, Vital Pharmaceuticals, Inc.. (Muth, David) (Entered:
                 08/31/2022)
08/31/2022   823 MINUTES OF Jury Trial − 4th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/1/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston / Miriam Baird. (twdb) (Entered: 09/02/2022)
09/01/2022   824 MINUTES OF Jury Trial − 5th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/2/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston / Miriam Baird. (twdb) (Entered: 09/02/2022)
09/02/2022   835 MINUTES OF Jury Trial − 6th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/6/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston / Miriam Baird. (twdb) (Entered: 09/12/2022)
09/05/2022   825 [EX PARTE APPLICATION , filed as] NOTICE OF MOTION AND MOTION to
                 Quash Trial Subpoena for Guillermo Escalante filed by Defendants John H. Owoc,
                 Vital Pharmaceuticals, Inc.. Motion set for hearing on 9/7/2022 at 08:30 AM before
                 Judge Jesus G. Bernal. (Muth, David) Modified on 9/6/2022 (twdb). (Entered:
                 09/05/2022)
09/05/2022   826 DECLARATION of Jonathan Labukas In Support Of NOTICE OF MOTION AND
                 MOTION to Quash Trial Subpoena for Guillermo Escalante 825 filed by Defendants
                 John H. Owoc, Vital Pharmaceuticals, Inc.. (Attachments: # 1 Exhibit 1)(Muth, David)
                 (Entered: 09/05/2022)
09/05/2022   827 DEPOSITION DESIGNATIONS OF FRANK GUAGENTI filed by Plaintiff Monster
                 Energy Company (Kaba, Moez) (Entered: 09/05/2022)
09/05/2022   828 DEPOSITION DESIGNATIONS OF TONY ANSELMO filed by Plaintiff Monster
                 Energy Company (Kaba, Moez) (Entered: 09/05/2022)
09/06/2022   829 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Document RE:
                 NOTICE OF MOTION AND MOTION to Quash Trial Subpoena for Guillermo
                 Escalante 825 . The following error(s) was/were found: Proposed document was not
                 submitted or was not submitted as a separate attachment. In response to this notice, the
                 Court may: (1) order an amended or correct document to be filed; (2) order the
                 document stricken; or (3) take other action as the Court deems appropriate. You need
                 not take any action in response to this notice unless and until the Court directs you to
                 do so. (twdb) (Entered: 09/06/2022)
09/06/2022   836 MINUTES OF Jury Trial − 7th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/7/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston / Miriam Baird. (twdb) (Entered: 09/12/2022)
09/07/2022   830 DEPOSITION DESIGNATIONS OF DR. JOSE ANTONIO filed by Plaintiff Monster
                 Energy Company (Kaba, Moez) (Entered: 09/07/2022)
09/07/2022   831 Opposition re: NOTICE OF MOTION AND MOTION to Quash Trial Subpoena for
                 Guillermo Escalante 825 filed by Plaintiff Monster Energy Company. (Attachments: #
                 1 Declaration of Winston Shi, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit




                                          Add.228
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page153 of 194

                   D)(Kaba, Moez) (Entered: 09/08/2022)
09/07/2022   837 MINUTES OF Jury Trial − 8th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/8/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston / Miriam Baird. (twdb) (Entered: 09/12/2022)
09/08/2022   832 NOTICE OF LODGING filed re Objection/Opposition (Motion related), 831
                 (Attachments: # 1 Exhibit A − [Proposed] Order)(Kaba, Moez) (Entered: 09/08/2022)
09/08/2022   838 MINUTES OF Jury Trial − 9th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/9/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston / Miriam Baird. (twdb) (Entered: 09/12/2022)
09/09/2022   839 MINUTES OF Jury Trial − 10th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/12/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston / Miriam Baird. (twdb) (Entered: 09/12/2022)
09/11/2022   833 DEPOSITION DESIGNATIONS OF ROBERT DURAND filed by Plaintiff Monster
                 Energy Company (Kaba, Moez) (Entered: 09/11/2022)
09/11/2022   834 DEPOSITION DESIGNATIONS OF ROBERT DURAND 30(b)(6) filed by Plaintiff
                 Monster Energy Company (Kaba, Moez) (Entered: 09/11/2022)
09/12/2022   840 Offer of Proof Regarding the Testimony of Dr. Liangxi Li filed by Defendants John H.
                 Owoc, Vital Pharmaceuticals, Inc. (Muth, David) (Entered: 09/12/2022)
09/12/2022   841 DECLARATION of David Muth re Miscellaneous Document 840 Offer of Proof
                 Regarding the Testimony of Dr. Liangxi Li filed by Defendants John H. Owoc, Vital
                 Pharmaceuticals, Inc.. (Attachments: # 1 Exhibit 1)(Muth, David) (Entered:
                 09/12/2022)
09/12/2022   842 Defendants' Bench Memo Re: Curative Admissibility of Dr. Keykavous Parang's Study
                 on Super Creatine (Muth, David) (Entered: 09/12/2022)
09/12/2022   843 DECLARATION of David Muth re Miscellaneous Document 842 Defendants' Bench
                 Memo Re: Curative Admissibility of Dr. Keykavous Parang's Study on Super Creatine
                 filed by Defendants John H. Owoc, Vital Pharmaceuticals, Inc.. (Attachments: # 1
                 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                 Exhibit G)(Muth, David) (Entered: 09/12/2022)
09/12/2022   844 AMENDED DEPOSITION DESIGNATIONS OF DR. JOSE ANTONIO filed by
                 Plaintiff Monster Energy Company (Kaba, Moez) (Entered: 09/12/2022)
09/12/2022   845 Supplement to Defendants' Bench Memo Re: Curative Admissibility of Dr. Keykavous
                 Parang's Study on Super Creatine (Muth, David) (Entered: 09/12/2022)
09/12/2022   846 DECLARATION of David Muth re Miscellaneous Document 845 Supplement to
                 Defendants' Bench Memo Re: Curative Admissibility of Dr. Keykavous Parang's Study
                 on Super Creatine filed by Defendants John H. Owoc, Vital Pharmaceuticals, Inc..
                 (Attachments: # 1 Exhibit A)(Muth, David) (Entered: 09/12/2022)
09/12/2022   847 MINUTES OF Jury Trial − 11th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/13/2022 at 09:00 AM before Judge Jesus G. Bernal. Denying 825 Motion to Quash
                 Trial Subpoena (Dkt. No. 825); Court Reporter: Phyllis A. Preston. (twdb) (Entered:
                 09/13/2022)
09/13/2022   848 RESPONSE filed by Plaintiff Monster Energy Companyto Miscellaneous Document
                 845 , Declaration, 846 , Declaration, 843 , Miscellaneous Document 842 Monster's
                 Response to Defendants' Bench Memo Re: Curative Admissibility of Dr. Keykavous
                 Parang's Study on Super Creatine (Attachments: # 1 Declaration of Winston Shi, # 2
                 Exhibit D to Shi Decl., # 3 Exhibit E to Shi Decl., # 4 Exhibit F to Shi Decl., # 5
                 Exhibit G to Shi Decl., # 6 Exhibit H to Shi Decl., # 7 Exhibit J to Shi Decl., # 8
                 Exhibit K to Shi Decl.)(Haji, Sara) (Entered: 09/13/2022)




                                          Add.229
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page154 of 194
09/13/2022   849 DEPOSITION DESIGNATIONS OF FRANK MASSABKI (Leong, Eunice) (Entered:
                 09/13/2022)
09/13/2022   850 MINUTES OF Jury Trial − 12th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/14/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston AM / Miriam Baird PM. (twdb) (Entered: 09/14/2022)
09/14/2022   851 MINUTES OF Jury Trial − 13th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial set for
                 9/15/2022 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A
                 Preston−AM / Miriam Baird−PM. (rolm) (Entered: 09/15/2022)
09/15/2022   852 MINUTES OF Jury Trial − 14 Day held before Judge Jesus G. Bernal: Exhibits
                 identified and admitted. Jury Trial continued to 9/16/2022 at 09:00 AM before Judge
                 Jesus G. Bernal. Court Reporter: Phyllis A. Preston AM / Miriam Baird PM. (twdb)
                 (Entered: 09/16/2022)
09/16/2022   853 MINUTES OF Jury Trial − 15th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial continued to
                 9/20/2022 at 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A.
                 Preston AM / Miriam Baird PM. (twdb) (Entered: 09/16/2022)
09/20/2022   855 MINUTES OF Jury Trial − 16th Day held before Judge Jesus G. Bernal. Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Case continued to
                 9/21/2022 at 9:00 a.m., for further trial. Court Reporter: Phyllis A. Preston − AM /
                 Miriam Baird − PM. (lom) (Entered: 09/21/2022)
09/21/2022   854 Deposition Designations of David Hayes (Europa Sports Products) filed by Defendants
                 John H. Owoc, Vital Pharmaceuticals, Inc. (Muth, David) (Entered: 09/21/2022)
09/21/2022   856 BRIEF filed by Plaintiff Monster Energy Company. Monster's Brief on Scope of Dr.
                 Larry Chiagouris' Direct Examination (Attachments: # 1 Declaration of Winston Shi,
                 # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F,
                 # 8 Exhibit H)(Haji, Sara) (Entered: 09/21/2022)
09/21/2022   858 MINUTES OF Jury Trial − 17th Day held before Judge Jesus G. Bernal. Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Case continued to
                 9/22/2022 at 9:00 a.m., for further trial. Court Reporter: Phyllis A. Preston−AM /
                 Miriam Baird−PM. (lom) (Entered: 09/22/2022)
09/22/2022   857 BRIEF filed by Defendants John H. Owoc, Vital Pharmaceuticals, Inc.. Defendants'
                 submission re Disclosure of Third Party Market Surveys − Dr. L. Chiagouris (Muth,
                 David) (Entered: 09/22/2022)
09/22/2022   859 Offer of Proof Regarding InfoScout Survey and Reports filed by Defendants John H.
                 Owoc, Vital Pharmaceuticals, Inc. (Muth, David) (Entered: 09/22/2022)
09/22/2022   860 MINUTES OF Jury Trial − 18th Day held before Judge Jesus G. Bernal. Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Plaintiff(s) rest. Case
                 continued to 9/23/2022 at 9:00 a.m., for further trial. Court Reporter: Phyllis A.
                 Preston−AM / Miriam Baird−PM. (lom) (Entered: 09/23/2022)
09/23/2022   863 MINUTES OF Jury Trial − 19th Day held before Judge Jesus G. Bernal: Witnesses
                 called, sworn and testified. Exhibits identified and admitted. Jury Trial set for
                 9/27/2022 09:00 AM before Judge Jesus G. Bernal. Court Reporter: Phyllis A. Preston.
                 (rolm) (Entered: 09/26/2022)
09/26/2022   861 BRIEF filed by Plaintiff Monster Energy Company. BRIEF ON NON−CAN
                 ADVERTISING (Attachments: # 1 Appendix)(Leong, Eunice) (Entered: 09/26/2022)
09/26/2022   862 DECLARATION of Winston Shi re Brief (non−motion non−appeal) 861 in Support of
                 Brief on Non−Can Advertising filed by Plaintiff Monster Energy Company.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Leong, Eunice) (Entered:
                 09/26/2022)
09/26/2022   864 Defendants Response to Plaintiff's Letter Brief on Non−Can Advertising BRIEF filed
                 by Defendants John H. Owoc, Vital Pharmaceuticals, Inc.. regarding Brief




                                          Add.230
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page155 of 194

                   (non−motion non−appeal) 861 . (Muth, David) (Entered: 09/26/2022)
09/26/2022   865 DECLARATION of David P Muth ISO Defendants' Response to Plaintiff's Letter
                 Brief in Non−Can Advertising filed by Defendants John H. Owoc, Vital
                 Pharmaceuticals, Inc.. (Attachments: # 1 Exhibit Exhibit A is a true and correct copy
                 of the September 13, 2022 (Charles Cowan) trial transcript, # 2 Exhibit Exhibit B is a
                 true and correct copy of the September 15, 2022 (Christian Tregillis) trial transcript, #
                 3 Exhibit Exhibit C is a true and correct copy of the September 22, 2022 (Larry
                 Chiagouris) trial transcript, # 4 Exhibit Exhibit D is a true and correct copy of the
                 September 15, 2022 (Drew Voth) trial transcript)(Muth, David) (Entered: 09/26/2022)
09/26/2022   866 PLAINTIFF MONSTER ENERGY COMPANYS IDENTIFICATION OF
                 VIDEOTAPED DEPOSITION TESTIMONY AND EXHIBIT SHOWN DURING
                 TRIAL filed by Plaintiff Monster Energy Company (Kaba, Moez) (Entered:
                 09/26/2022)
09/26/2022   867 REPLY filed by Plaintiff Monster Energy Company to Brief (non−motion
                 non−appeal) 861 Monster's Reply to Defendants' Response to Plaintiff's Letter Brief on
                 Non−Can Advertising (Attachments: # 1 Declaration of Winston Shi, # 2 Exhibit A to
                 Declaration of Winston Shi, # 3 Exhibit B to Declaration of Winston Shi)(Libeu,
                 Allison) (Entered: 09/26/2022)
09/27/2022   868 NOTICE OF MOTION AND MOTION for Order for Sealing Trade Secret and
                 Payroll Exhibits filed by Plaintiff Monster Energy Company. Motion set for hearing on
                 10/31/2022 at 09:00 AM before Judge Jesus G. Bernal. (Attachments: # 1 Declaration
                 of Winston Shi, # 2 Exhibit A to Declaration of Winston Shi, # 3 Exhibit B to
                 Declaration of Winston Shi, # 4 Exhibit C to Declaration of Winston Shi, # 5 Proposed
                 Order) (Libeu, Allison) (Entered: 09/27/2022)
09/27/2022   869 Opposition to Plaintiff's Motion for an Order Sealing Trade Secret and Payroll
                 Exhibits filed by Defendants John H. Owoc, Vital Pharmaceuticals, Inc. (Muth, David)
                 (Entered: 09/27/2022)
09/27/2022   870 DECLARATION of David Muth re Miscellaneous Document 869 filed by Defendants
                 John H. Owoc, Vital Pharmaceuticals, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit
                 B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Muth, David) (Entered:
                 09/27/2022)
09/27/2022   871 MINUTES OF Jury Trial − 20th Day held before Judge Jesus G. Bernal. Closing
                 arguments made by plaintiff(s) and defendant(s). Court instructs jury. Bailiff(s) sworn.
                 Jury retires to deliberate. Case continued to 9/28/2022 at 9:00 a.m. for further jury
                 deliberation. Court Reporter: Myra Ponce A.M. / Miriam Baird A.M. & P.M. (lom)
                 (Entered: 09/28/2022)
09/27/2022   872 REDACTED Jury Note # 1 filed. (lom) (Entered: 09/28/2022)
09/27/2022   873 SEALED UNREDACTED Jury Note #1 filed re: REDACTED Jury Note #1 872 .
                 (lom) (Entered: 09/28/2022)
09/28/2022   874 REDACTED Jury Note # 2 filed. (lom) (Entered: 09/28/2022)
09/28/2022   875 REDACTED Jury Note # 3 filed. (lom) (Entered: 09/28/2022)
09/28/2022   876 REDACTED Jury Note # 4 filed. (lom) (Entered: 09/29/2022)
09/28/2022   877 REDACTED Jury Note # 5 filed. (lom) (Entered: 09/29/2022)
09/28/2022   878 MINUTES OF Jury Trial − 21st Day held before Judge Jesus G. Bernal. Jury resumes
                 deliberations. Case continued to 9/29/2022 at 9:00 a.m., for further jury deliberation.
                 Court Reporter: Miriam Baird. (lom) (Entered: 09/29/2022)
09/28/2022   879 SEALED UNREDACTED Jury Note No. 2 filed re: Jury Note No. 2 874 (bm)
                 (Entered: 09/29/2022)
09/28/2022   880 SEALED − RESPONSE filed to Jury Note No. 2 874 (bm) (Entered: 09/29/2022)
09/28/2022   881 SEALED UNREDACTED Jury Note No. 3 filed re: Jury Note No. 3 875 (bm)
                 (Entered: 09/29/2022)




                                          Add.231
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page156 of 194
09/28/2022   882 SEALED − RESPONSE filed to Jury Note No. 3 875 (bm) (Entered: 09/29/2022)
09/28/2022   883 SEALED UNREDACTED Jury Note No. 4 filed re: Jury Note No. 4 876 (bm)
                 (Entered: 09/29/2022)
09/28/2022   884 SEALED − RESPONSE filed to Jury Note No. 4 876 (bm) (Entered: 09/29/2022)
09/28/2022   885 SEALED UNREDACTED Jury Note No. 5 filed re: Jury Note No. 5 877 (bm)
                 (Entered: 09/29/2022)
09/28/2022   886 SEALED − RESPONSE filed to Jury Note No. 5 877 (bm) (Entered: 09/29/2022)
09/29/2022   887 REPLY In Support Of NOTICE OF MOTION AND MOTION for Order for Sealing
                 Trade Secret and Payroll Exhibits 868 filed by Plaintiff Monster Energy Company.
                 (Attachments: # 1 Declaration of Winston Shi, # 2 Exhibit A, # 3 Exhibit B, # 4
                 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F)(Libeu, Allison) (Entered:
                 09/29/2022)
09/29/2022   888 MINUTES OF Jury Trial − 22nd Day held and completed before Judge Jesus G.
                 Bernal. Verdict reached. Jury Verdict in favor of plaintiff(s). Jury polled. Filed
                 Witness & Exhibit Lists. Filed jury notes. Filed jury instructions. Court Reporter:
                 Miriam Baird. (lom) (Entered: 09/30/2022)
09/29/2022   889 JURY INSTRUCTIONS (Given) by Judge Jesus G. Bernal. (lom) (Entered:
                 09/30/2022)
09/29/2022   890 REDACTED VERDICT FORM (lom) (Entered: 09/30/2022)
09/29/2022   891 SEALED UNREDACTED VERDICT FORM filed re: Redacted Verdict Form 890 .
                 (lom) (Entered: 09/30/2022)
09/29/2022   892 REDACTED Jury Note # 6 filed. (lom) (Entered: 09/30/2022)
09/29/2022   893 SEALED UNREDACTED JURY NOTE #6 re: REDACTED Jury Note # 6 892 .
                 (lom) (Entered: 09/30/2022)
09/29/2022   894 LIST OF EXHIBITS AND WITNESSES at trial. (lom) (Entered: 09/30/2022)
09/29/2022   895 RECEIPT FOR RELEASE OF EXHIBITS to Counsel Upon Verdict/Judgment at
                 Trial; Pursuant to stip of counsel and/or by Order of the Court, all exhibits listed on
                 Joint exhibits list are returned to counsel for respective party(ies). (lom) (Entered:
                 09/30/2022)
10/06/2022   896 TRANSCRIPT ORDER for Court Reporter. Court will contact Liane Berns at
                 LBerns@duffyandyoung.com with further instructions regarding this order. Transcript
                 preparation will not begin until payment has been satisfied with the court reporter. (ss)
                 (Entered: 10/06/2022)




                                           Add.232
Case 5:18-cv-01882-JGB-SHK  Document
           Case 22-2079, Document     890 Filed 09/29/22
                                  48, 04/20/2023, 3502340,Page 1 of 7ofPage
                                                           Page157     194 ID #:47695

            REDACTED
                                                                                   FILED
                                                                         CLERK, U.S. DISTRICT COURT


    I                                                                        09/29/2022
   2                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                                     NP
                                                                         BY: ___________________ DEPUTY




   3
   4
   5
   6
   7
   8
   9                      UNITED STATES DISTRICT COURT
  10                     CENTRAL DISTRICT OF CALIFORNIA
  11
  12 MONSTER ENERGY COMPANY, a                 Case No. 5: I 8-cv-1882-JGB-SHK
     Delaware corporation,
  13                                           Honorable Jesus G. Bernal
                 Plaintiff,
  14                                           VERDICT FORM
           vs.
  15
     VITAL PHARMACEUTICALS, INC.,
  16 d/b/a VPX ~jJorts, a Florida corporation;
     and JOHN H. OWOC a.k.a. JACK
  17 OWOC, an individual,
  18              Defendants.
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                                     5: 18-cv-1882-JGB-SHK
                                                                           VERDICT FORM



                                      Add.233
Case 5:18-cv-01882-JGB-SHK  Document
           Case 22-2079, Document     890 Filed 09/29/22
                                  48, 04/20/2023, 3502340,Page 2 of 7ofPage
                                                           Page158     194 ID #:47696



    1       WE THE JURy unanimously find as follows:
   2                      FALSE ADVERTISING - LANHAM ACT
   3     1. Are Defendants Vital Pharmaceuticals, Inc. ("VPX") and/or John H. "Jack"
   4 Owoc liable for false advertising under the Lanham Act?
   5
   6        (a)   VPX:         Yes (for Monster)     A.        No (for VPX) _     _
   7
   8        (b)   Owoc:        Yes (for Monster)     X         No (forOwoc) _ __
   9
  10        (Ifyou answered "Yes" to Question 1 (a), 1 (b), or both, continue to Question
  11 2. Otherwise, skip to Question 4.)
  12
  13     2. We award Monster the following damages sustained by Monster for VPX's
  14 and/or Owoc's false advertising:
  15
  16
  17
  18        (Continue to Question 3.)
  19
  20     3. Was VPX's and/or Owoc's false advertising willful and deliberate?
  21
  22        (a)   VPX:         Yes (for Monster)   L           No (forVPX) _ _
  23
  24        (b)   OWOC:        Yes (for Monster)   L           No (for Owoc) _ _
  25
  26        (Continue to Question 4.)
  27
  28
                                              - 1-
                                                                        S:J8-cv-J88Z-JGB-SHK
                                                                              VERDICT FORM



                                        Add.234
Case 5:18-cv-01882-JGB-SHK  Document
           Case 22-2079, Document     890 Filed 09/29/22
                                  48, 04/20/2023, 3502340,Page 3 of 7ofPage
                                                           Page159     194 ID #:47697



    1   INTENTIONAL INTERFERENCE WITH CONTRACT - CALIFORNIA
   2                                 COMMON LAW
   3     4. Did VPX and/or Owoc intentionally interfere with Monster's contracts with




                                      Add.235
Case 5:18-cv-01882-JGB-SHK  Document
           Case 22-2079, Document     890 Filed 09/29/22
                                  48, 04/20/2023, 3502340,Page 4 of 7ofPage
                                                           Page160     194 ID #:47698



    1    5. We award Monster the following damages for VPX's and/or Owoc's intentional
   2 interference with Monster's contracts with Circle K, AM PM, and/or Wal-Mart:
   3
   4
   5
   6        (Continue to Question 6.)
   7
   8     6. Did VPX and/or Owoc act maliciously, oppressively, fraudulently, or in reckless
   9 disregard of Monster's rights by intentionally interfering with Monster's contracts
  10 with Circle K, AM PM, and/or Wal-Mart?
  11
  12
  13        (a)   VPX:         Yes (for Monster)    X          No (for VPX) _ _
  14
  15
  16        (b)   Owoc:        Yes (for Monster) _ __          No (for Owoc) --X-
  17
  18        (Continue to Question 7.)
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                              -3-
                                                                        5: JS-cv-J882-JGB-SHK
                                                                              VERDICT FORM



                                        Add.236
Case 5:18-cv-01882-JGB-SHK  Document
           Case 22-2079, Document     890 Filed 09/29/22
                                  48, 04/20/2023, 3502340,Page 5 of 7ofPage
                                                           Page161     194 ID #:47699



    I                    TRADE SECRET MISAPPROPRIATION
   2     7. Did VPX misappropriate Monster's claimed trade secrets in violation of the
   3 Defend Trade Secrets Act?
   4
   5
   6
            Yes (for Monster)   L
            (Continue to Question 8.)
                                                      No (for VPX) _ __


   7
   8     8. Did VPX misappropriate Monster's claimed trade secrets in violation of the
   9 California Uniform Trade Secrets Act?
  10
  11        Yes (for Monster)   -L                      No (furVPX) _ _ ___
  12
  13        (Ifyou answered " Yes" to either of Questions 7 or 8, continue to Question 9.
  14 Otherwise, skip to Question 11.)
  15
  16     9. We award Monster the following damages for VPX' s misappropriation               0

  17 Monster's trade secrets:
  18
  19                  4:f .3 , OD D        I
                                               DD D
  20        (Continue to Question 10.)
  21
  22     10. Did VPX maliciously and willfully misappropriate Monster's trade secrets?
  23
  24        Yes (for Monster) -t,X
                                 L....:~   __           No (furVPX) _ _ _ __
  25
  26        (Continue to Question 11.)
  27
  28
                                                 - 4-
                                                                          5: 18-cv-1882-JGB-SHK
                                                                                 VERDICT FORM



                                           Add.237
Case 5:18-cv-01882-JGB-SHK  Document
           Case 22-2079, Document     890 Filed 09/29/22
                                  48, 04/20/2023, 3502340,Page 6 of 7ofPage
                                                           Page162     194 ID #:47700



    1                    COMPUTER FRAUD AND ABUSE ACT
   2     11. Did VPX violate the Computer Fraud and Abuse Act?
   3
   4        Yes (for Monster)   L            No (for VPX) _ _
   5
   6        (Ifyou answered "Yes" to Question 11. continue to Question 12. Otherwise,
   7 skip to the Concluding Instructions.)

    8
   9     12. We award Monster the following damages for VPX's violation ofthe Computer
  10 Fraud and Abuse Act:
  11
  12                $'   Ib , ~'a"7
                            i

  13
  14        (Continue to the Concluding Instructions.)
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                              -5-
                                                                     5: 18-cv-1882-JGB-SHK
                                                                            VERDICT FORM



                                       Add.238
Case 5:18-cv-01882-JGB-SHK  Document
           Case 22-2079, Document     890 Filed 09/29/22
                                  48, 04/20/2023, 3502340,Page 7 of 7ofPage
                                                           Page163     194 ID #:47701



    1                             Concluding Instructions
   2        You have now reached the end of the verdict form. Review it to ensure it
   3 accurately reflects your unanimous decisions. The Presiding Juror should then sign
   4 and date the verdict form in the spaces below and notify the Court personnel that
   5 you have reached a verdict. The Presiding Juror should retain possession of the
   6 verdict form and bring it when the jury is brought back into the courtroom.
   7
   8 Dated:   ~e J, d9                      , 2022
   9
  10
  11                                             ·~~.1I        •.•.
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                              -6-
                                                                        5: 18-cv-1 882-JGB-SHK
                                                                               VERDICT FORM



                                       Add.239
Case 5:18-cv-01882-JGB-SHK   Document
           Case 22-2079, Document      343 Filed 02/22/21
                                  48, 04/20/2023, 3502340,Page 1 of 7of Page
                                                           Page164      194 ID #:6648



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

  Case No.      5:18-cv-01882-JGB-SHKx                                   Date: February 22, 2021
  Title: Monster Energy Company v. Vital Pharmaceuticals, Inc., et al.



  Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge


                 D. Castellanos                                          Not Reported
                  Deputy Clerk                                          Court Reporter


       Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
                  None Present                                           None Present


  Proceedings: ORDER GRANTING IN PART AND DENYING IN PART
               DEFENDANTS’ MOTION TO COMPEL KARMA
               DOCUMENTS [ECF NO. 312]

          On December 8, 2020, following an informal telephonic hearing with this Court,
  Defendants Vital Pharmaceuticals, Inc. and John H. Owoc (together “VPX” or “Defendants”)
  filed the instant Motion to Compel (“Motion” or “Mot.”) Plaintiff Monster Energy Company
  (“Monster” or “Plaintiff”) to produce various “Karma” reports and surveys and the associated
  responses to the reports and surveys (collectively, “Karma Reports”). Electronic Case Filing
  Number (“ECF No.”) 312-1, Mot. On December 22, 2020, Plaintiff filed their Opposition to the
  Motion (“Opposition” or “Opp’n”). ECF No. 318, Opp’n. Shortly thereafter, on January 5,
  2021, Defendants filed their Reply (“Reply”). ECF No. 320, Reply.

          Following the filing of the parties’ briefs, the Court held a series of hearings regarding
  their discovery dispute on January 15, 19, and 25 of 2021. See ECF Nos. 327, Min.; 331, Min.;
  and 339, Min. During the most recent hearing, both parties confirmed that the matter stands
  ready for decision. See ECF No. 339, Min.

          After reviewing the parties’ arguments from both the briefing, attachments, and hearings,
  for the reasons set forth below, the Court GRANTS IN PART AND DENIES IN PART
  Defendants’ Motion. Plaintiff is ORDERED to produce the Karma Reports in accordance with
  the Court’s instructions set forth in Section III.



  Page 1 of 7                         CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk DC




                                               Add.240
Case 5:18-cv-01882-JGB-SHK   Document
           Case 22-2079, Document      343 Filed 02/22/21
                                  48, 04/20/2023, 3502340,Page 2 of 7of Page
                                                           Page165      194 ID #:6649



                                           I.      BACKGROUND

          Monster commenced this action in September 2018 against Defendants. ECF No. 1,
  Compl. On April 3, 2019, Monster filed its First Amended Complaint (“FAC”) against VPX
  alleging the following claims: (1) a violation of the Lanham Act; (2) unfair competition; (3) false
  advertising; (4) trade libel; (5) intentional interference with contractual relations; (6) intentional
  interference with prospective economic advantage; (7) conversion; (8) larceny; (9) false patent
  marking; (10) a violation of the California Uniform Trade Secrets Act; (11) a violation of the
  Defend Trade Secrets Act; and (12) a violation of the Computer Fraud and Abuse Act. ECF No.
  61, FAC at 36-47. Monster is seeking, among other forms of relief, compensatory damages that
  Monster estimates to be “at least $300-400 million.” ECF No. 94, Joint Rule 26(f) Rep. at 8.

          Discovery in this matter has been ongoing for at least two years, with hundreds of
  thousands of documents produced from both sides. See ECF No. 312-1, Mot. at 22 (“Monster
  has produced more than 100,000 documents in this case . . . .”); ECF No. 18, Opp’n at 7-8
  (“VPX has served more than 900 requests for production . . . on Monster and Monster has
  served more than 400 [requests for production] on VPX.”). Additionally, both parties have
  engaged discovery vendors, see ECF No. 312-1, Mot. at 22 (“[T]he parties . . . have employed
  specific document/discovery vendors to support [this action.]”), and have incurred considerable
  expenses, see, e.g., ECF No. 318, Opp’n at 7 (“Monster has incurred . . . $463,337.74 in vendor
  and contract attorney fees, which does not include Monster’s attorney’s fees.”). On September
  3, 2019, the parties entered into a joint Stipulated Order Regarding Discovery of Electronically
  Stored Information (“ESI Agreement”) that, among other things, governs discovery of
  electronically stored information (“ESI”), including identifying specific custodians for their ESI
  searches. ECF No. 126, ESI Agreement at 3. The ESI Agreement also permits the ESI
  Agreement to be “modified . . . by the Court for good cause shown.” Id. at 4.

           On October 16, 2020, VPX served a letter on Monster requesting the Karma Reports.
  See ECF No. 318-7, Ex. 6. The Karma Reports are produced by a software tool called “Karma”,
  created by Vermont Information Processing, Inc. (“VIP”). ECF No. 312-1, Mot. at 5. The
  Karma tool “allows Monster’s field representatives to enter real-time sales point information
  through a mobile or tablet application, and then transmit electronically to other Monster
  employees.” Id. The Karma tool appears to be used in analyzing various data points of product
  sales, including “Monster’s sales, retail presence, shelf space, location of products, and
  inventory[.]” Id. “Some surveys are also used to report on actions taken at the store with
  respect to products and displays, and may include photographs and communications with
  retailers.” Id. at 5-6. Monster uses the Karma tool and “generates reports with the responses
  from these surveys.” Id. at 5. VPX had subpoenaed VIP for the Karma Reports, and both
  Monster and VIP objected to the subpoena. ECF No. 320-1, Decl. of Joni B. Flaherty (“Flaherty
  Decl.”) at 3. VPX withdrew the subpoena and instead requested the documents directly from
  Monster. Id.

         The parties met and conferred regarding Monster producing the Karma reports, see ECF
  No. 318-1, Decl. of Sourabh Mishra (“Mishra Decl.”), and pursuant to the undersigned

  Page 2 of 7                         CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk DC




                                                Add.241
Case 5:18-cv-01882-JGB-SHK   Document
           Case 22-2079, Document      343 Filed 02/22/21
                                  48, 04/20/2023, 3502340,Page 3 of 7of Page
                                                           Page166      194 ID #:6650



  Magistrate Judge’s rules, attended an informal discovery hearing on the matter, ECF No. 309,
  Min. Order. The Court ordered the parties to submit briefs to the Court. Id.

          After briefing was completed, the Court held a second hearing with the parties regarding
  the instant discovery dispute, which allowed the Magistrate Judge to better understand the type
  of information that could be included in Karma Reports and drawn from raw data maintained in
  the VIP databases. The parties also notified the Court that they wished to continue to meet and
  confer regarding search terms for the Karma reports. ECF No. 327, Min. Order. The Court held
  a third hearing following the parties’ meet and confers, in which this Court ordered Monster to
  produce Karma Reports that were already identified and produced in Vital Pharmaceuticals Inc.
  v. Monster Energy, Inc., et al. (“Reign”), No. 0:19-cv-60809-RKA (S.D. Fla. Mar. 28, 2019), a
  separate trade dress action by VPX against Monster, and which were covered by a protective
  order in that case (“Reign Documents”). ECF No. 331, Min. Order. As indicated during the
  hearings, these Reign Documents were previously reviewed for privilege and other doctrines that
  would prevent their disclosure.

          However, VPX still seeks Karma Reports from lower-level Monster employees related to
  the claims in the instant action, as the Reign Documents were related to a trade dress claim not at
  issue here. Id. VPX argues that the Karma Reports are directly relevant to refuting or supporting
  Monster allegations of lost sales because of VPX’s false advertising—specifically, issues such as
  “[t]he positioning of VPX’s products relative to Monster’s products, and whether consumers
  can find or view [VPX] products and labels based on placement[.]” ECF No. 320, Reply at 6. As
  the Magistrate Judge understands the issues, these documents relate to the issue of damages in
  this case as well as the intentional interference claims.

          The parties were ordered to continue to meet and confer to narrow the volume of
  documents sought by VPX. ECF No. 331, Min. Order. This Court held a final hearing with the
  parties on January 25, 2021 (“January 25 Hearing”). ECF No. 339, Min.

                                        II.     LEGAL STANDARD

           A.     Requirements And Scope Of Discovery

         Federal Rule of Civil Procedure (“Rule”) 26(b)(1) governs the scope of permissible
  discovery and provides:

                   Unless otherwise limited by court order, the scope of discovery is as
           follows: Parties may obtain discovery regarding any nonprivileged matter that is
           relevant to any party’s claim or defense and proportional to the needs of the case,
           considering the importance of the issues at stake in the action, the amount in
           controversy, the parties’ relative access to relevant information, the parties’
           resources, the importance of the discovery in resolving the issues, and whether the
           burden or expense of the proposed discovery outweighs its likely benefit.
           Information within this scope of discovery need not be admissible in evidence to
           be discoverable.

  Page 3 of 7                         CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk DC




                                               Add.242
       Case 1:14-md-02542-VSB-SLC
          Case  22-2079, Document 48,Document 1104
                                      04/20/2023,   Filed 09/29/20
                                                  3502340, Page167Page  1 of 4
                                                                   of 194




                                                                                MATTHEW R. DALSANTO, PH.D.
                                                                                                          Of Counsel
                                                                                                      (312) 558-6211
                                                                                             MDalSanto@winston.com
September 29, 2020

VIA ECF
Hon. Sarah L. Cave, U.S.M.J.
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 18A
New York, NY 10007
Re:     In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., MDL No. 2542; Master
        Docket No. 1:14-md-02542-VSB-SLC re Expert Depositions and Schedule

Dear Judge Cave:
        I write on behalf of all Plaintiffs to request that the Court direct Defendant Keurig Green
Mountain, Inc. (“Keurig”) to produce its experts for deposition pursuant to the Court Ordered expert
schedule and to further request that the Court modify the expert schedule to extend the deadline for
reply expert reports thirty (30) days, to February 10, 2021 (with corresponding changes to the rest of
the schedule), given the number of experts who will need to be deposed around the various holidays,
including yet another potential expert that Keurig attempted to disclose just yesterday, nearly two
months after the deadline for designation of such experts.
        This Court’s March 26, 2020 Order (the “Scheduling Order”) expressly contemplates the need
to revisit and modify the existing case schedule following disclosure of expert witnesses. See ECF
No. 887 ¶ 8 (“The stipulation and entry of this … Order, and the dates provided herein, are without
prejudice to any party’s right to seek permission from the Court for modification of the schedule
following the disclosure of expert witnesses. After disclosure of expert witnesses, and no later than
August 28, 2020, the parties shall meet and confer in good faith regarding whether any modifications
to the schedule herein are appropriate.” (emphasis in original)). On August 28, 2020, counsel for
Plaintiffs and Keurig met and conferred for approximately 23 minutes to discuss modifications to the
case schedule. Plaintiffs advised Keurig that they intend to depose Keurig’s six experts (now seven)1
prior to serving reply expert reports as they are entitled to do under the current schedule, which only
prohibits expert depositions sooner than fourteen days after service of “documents and information
required by Rule 26(a)(2)(B), as modified both by the provisions of this stipulation and Rule
26(b)(4).” ECF No. 495 ¶ 1. Given the number of experts and parties involved as well as the holidays,
Plaintiffs suggested a one-month schedule adjustment.
       Keurig responded on August 28, 2020, refusing to produce Keurig’s experts prior to Plaintiffs
serving reply expert reports on January 11, 2021 (instead suggesting that Plaintiffs must depose all of
Keurig’s experts between then and the close of expert discovery on February 22, 2021), and refusing



1
  Four of these experts are responding to all of Plaintiffs’ experts. See Ex. A, 7/1/20 L. Malm Letter re Expert
Identification. Yesterday, Keurig designated a new seventh rebuttal expert witness, despite the deadline for such
designation (July 31, 2020) having long since passed. See Ex. B, 9/28/20 M. Baird Letter re Expert Identification.




                                                   Add.243
       Case 1:14-md-02542-VSB-SLC
          Case  22-2079, Document 48,Document 1104
                                      04/20/2023,   Filed 09/29/20
                                                  3502340, Page168Page  2 of 4
                                                                   of 194

                                                                                September 29, 2020
                                                                                             Page 2
                                                2
to extend the deadline for reply expert reports. Ex. C, 8/28/20 L. Malm Letter re Expert Schedule.
        Plaintiffs now request that this Court enter an order (1) allowing Plaintiffs, as expressly
contemplated by the Stipulation and Order Regarding non-Discoverability of Certain Expert
Materials and Communications (the “Expert Stipulation”), see ECF No. 495, to depose Keurig’s
experts prior to Plaintiffs’ experts serving reply reports; and (2) extending the time to serve those
reply reports by thirty (30) days to allow for the completion of these depositions and to address several
scheduling issues requiring such an extension, including Keurig’s belated designation of a new expert.

        (1) Plaintiffs are entitled to depose Keurig’s experts prior to service of reply expert reports.

        Keurig’s refusal to produce its experts for deposition prior to Plaintiffs’ reply expert reports
is unreasonable and unsupported by the Expert Stipulation, the Scheduling Order, or any other
authority. The Expert Stipulation states: “The parties agree that there shall be no less than fourteen
days between service of [documents and information required by Rule 26(a)(2)(B), as modified both
by the provisions of this stipulation and Rule 26(b)(4)] and any deposition of the expert whose report
or declaration the material relates to.” ECF No. 495 ¶ 1 (emphases added). The Expert Stipulation
further states that the party “proffering the expert witness will be responsible for … making the expert
available for a deposition at a time to be agreed among the relevant Parties and consistent with the
Court’s scheduling orders. Any time frame for conducting any deposition of an expert … shall run
from the date that service of Expert Data and Expert materials are made pursuant to Paragraph 1[,]”
which is three business days after an expert report is served. ECF No. 495 ¶¶ 1, 6 (emphasis added).
       Thus, if Keurig serves its expert reports and backup materials as currently scheduled on
November 27, 2020, this schedule expressly contemplates that Plaintiffs may start deposing Keurig’s
experts fourteen days later, or on December 11, 2020. The language of the Expert Stipulation (or
Scheduling Order) does not support Keurig’s contrary position that Plaintiffs are precluded from
deposing any of Keurig’s experts until after reply expert reports are served on January 11, 2021.
        Apart from being contrary to the Orders of this Court, Keurig’s position also creates an
extreme and unnecessary time crunch at the end of expert discovery. If Keurig’s position is accepted,
then no expert deposition could be taken until January 28, 2021, two weeks after the backup materials
for reply expert reports are served. This would leave only eighteen business days to schedule the
depositions of up to twenty experts – or over one expert deposition per business day – a prospect that
aligns with neither the Expert Stipulation nor the understanding of any of the Plaintiffs.
        In short, Keurig’s position is unsupported and, in fact, contradicted by applicable authority in
this case. Plaintiffs respectfully request that this Court order that they are entitled to depose any
Keurig expert on the content of his or her expert report prior to the submission of Plaintiffs’ reply
expert reports, so long as the deposition is scheduled consistent with the Expert Stipulation. See ECF
No. 495 ¶¶ 1, 6.

        (2) The deadline for reply expert reports should be extended thirty days.


2
  Plaintiffs wrote Defendant on September 18, 2020, to reiterate their positions and note their understanding that the
parties were at an impasse. The parties then corresponded further confirming the impasse. See Ex. D, 9/18/20 M.
DalSanto Email re Expert Schedule; Ex. E, 9/21/20 L. Malm Email re Expert Schedule; Ex. F, 9/24/20 M. DalSanto Email
re Expert Schedule.




                                                    Add.244
        Case 1:14-md-02542-VSB-SLC
           Case  22-2079, Document 48,Document 1104
                                       04/20/2023,   Filed 09/29/20
                                                   3502340, Page169Page  3 of 4
                                                                    of 194

                                                                                   September 29, 2020
                                                                                                 Page 3
        The present expert discovery schedule, which was adjusted by the Court based on the onset
of the COVID-19 pandemic and Keurig’s delay in producing its data files, see ECF Nos. 839, 887,
does not provide sufficient time for Plaintiffs to meaningfully prepare for and conduct depositions of
Keurig’s many expert witnesses, and for Plaintiffs’ experts to then review that testimony and
incorporate their corresponding evaluations into their reply expert reports, as appropriate. This
problem is exacerbated by the fact that significant holidays fall in the middle of a period of expected
intensive activity.
        First, pursuant to Paragraph 1 of the Expert Stipulation, Keurig is to serve backup materials
three business days after its rebuttal reports are served on November 23. But given that November
26 is Thanksgiving Day, the fourteen-day period after which Plaintiffs may depose Keurig’s experts
will run from November 27, meaning that the first deposition may only proceed on December 11, just
one month before reply expert reports are due and during a time period with several significant
holidays.3 This is certain to create challenges with scheduling for both attorneys and experts.
        Second, Keurig has identified four experts who will offer testimony in all cases, one expert
who will provide testimony in the Direct Purchaser Plaintiffs’ (“DPPs”) case, and one expert who
will provide testimony in Plaintiff JBR, Inc.’s case. Additionally, Keurig just yesterday ignored the
operative Scheduling Order, by disclosing a new rebuttal witness for the TreeHouse case nearly two
months after the deadline to do so. See Ex. B. To the extent such a report is permitted at all, this late
disclosure is all the more reason to extend the deadline for expert reports as this adds yet another
deposition that Plaintiffs will need to take of a Keurig expert witness. Indeed, aside from the
significant practical challenges presented by scheduling six depositions during the above-mentioned
holidays, Plaintiffs will need time after Keurig serves its rebuttal reports to coordinate and prepare
for these depositions, each of which is likely to impact each Plaintiffs’ reply expert report in unique
ways.
        Based on the foregoing, Plaintiffs respectfully request that this Court enter an order that
Plaintiffs may depose Keurig’s experts prior to service of reply expert reports and that the time to
serve Plaintiffs’ reply expert reports shall be extended by thirty days. In addition, DPPs request that
this Court enter an order extending certain deadlines a total of eight weeks in order to address the
overlap of class certification deadlines with certain Daubert deadlines in the present schedule. DPPs
also request that this Court include deadlines in the revised schedule for replies to Daubert briefing
concerning class issues (these appear to have been omitted in the previous Scheduling Order). Those
proposed deadlines are included in the attached proposed amended scheduling order.4


3
  The Hanukkah holiday runs from December 10 to December 18, the Christmas holiday from December 24 to 25, and
the New Year’s holiday from December 31 to January 1. This leaves only twelve business days between the date on
which Plaintiffs can begin to depose Keurig’s experts and the date on which Plaintiffs’ reply expert reports are due.
4
  Plaintiffs recognize that extending the reply expert report deadline may require altering other deadlines and accordingly
attach as Exhibit G a proposed amended scheduling order. TreeHouse, McLane, and JBR take no position on the DPPs’
requests as to class-related deadlines. JBR seeks a separate trial and summary judgment schedule from other plaintiffs in
this MDL and contends its case should be transferred back to the Eastern District of California. If transfer is denied, JBR
seeks to file its motions for summary judgment on its Lanham Act and sham litigation claims, which JBR contends are
ripe to file as soon as possible, without the need for completion of expert discovery or class certification briefing. If
JBR’s trial is not transferred, JBR seeks to have its entire case separately tried on the earliest available trial date on the
Court’s calendar without the need to wait for completion of other cases. JBR notes these points now to avoid any
implication that Plaintiffs’ request for modification of the expert schedule has any bearing on JBR’s separate views on
the schedule as a whole.




                                                        Add.245
      Case 1:14-md-02542-VSB-SLC
         Case  22-2079, Document 48,Document 1104
                                     04/20/2023,   Filed 09/29/20
                                                 3502340, Page170Page  4 of 4
                                                                  of 194

                                                                       September 29, 2020
                                                                                   Page 4


                                                    Respectfully submitted,
                                                    By:    /s/ Matthew R. Dalsanto
                                                           Matthew R. DalSanto, Ph.D.
                                                           (Pro Hac Vice Admission Pending)
                                                           Winston & Strawn LLP
                                                           35 W. Wacker Drive
                                                           Chicago, IL 60601
                                                           (312) 558-5600
                                                           MDalSanto@winston.com

                                                           Counsel for Plaintiffs
                                                           TreeHouse Foods, Inc., Bay
                                                           Valley Foods, LLC, and Sturm
                                                           Foods, Inc.
cc:   Counsel for All Parties (via ECF)




                                          Add.246
    Case 1:14-md-02542-VSB-SLC
       Case  22-2079, Document 48,Document 1816
                                   04/20/2023,   Filed 04/11/22
                                               3502340, Page171Page  1 of 2
                                                                of 194




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 IN RE:
                                                  MDL No. 2542
 KEURIG GREEN MOUNTAIN SINGLE-
 SERVE COFFEE ANTITRUST                           Master Docket No. 1:14-md-02542 (VSB) (SLC)
 LITIGATION

 This Document Relates to All Actions.



           NOTICE OF DEFENDANT KEURIG GREEN MOUNTAIN, INC.’S
           MOTION AND OBJECTIONS TO MAGISTRATE JUDGE CAVE’S
                     MARCH 28, 2022 OPINION & ORDER

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, Defendant

Keurig Green Mountain, Inc. (“Keurig”) moves this Court, before The Honorable Vernon S.

Broderick, United States District Judge, at the Thurgood Marshall United States Courthouse,

Courtroom 518, 40 Foley Square, New York, New York, pursuant to Rule 72 of the Federal Rules

of Civil Procedure, for an order reversing in part Magistrate Judge Cave’s March 28, 2022 Opinion

& Order, ECF 1806.




                                           Add.247
    Case 1:14-md-02542-VSB-SLC
       Case  22-2079, Document 48,Document 1816
                                   04/20/2023,   Filed 04/11/22
                                               3502340, Page172Page  2 of 2
                                                                of 194



Dated: April 11, 2022               /s/ Wendelynne J. Newton
                                    Wendelynne J. Newton
                                    Mackenzie A. Baird
                                    wendelynne.newton@bipc.com
                                    mackenzie.baird@bipc.com
                                    BUCHANAN INGERSOLL & ROONEY PC
                                    Union Trust Building
                                    501 Grant Street, Suite 200
                                    Pittsburgh, PA 15219-4413
                                    Telephone: 412-562-8800

                                    Leah Brannon
                                    Carl Lawrence Malm
                                    lbrannon@cgsh.com
                                    lmalm@cgsh.com
                                    CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                    2112 Pennsylvania Avenue, NW
                                    Washington, DC 20037
                                    Telephone: 202-974-1508
                                    Facsimile: 202-974-1999

                                    Attorneys for Defendant Keurig Green Mountain, Inc.




                                      2



                                   Add.248
          Case 22-2079, Document 48, 04/20/2023,
                                          Hearing 3502340, Page173 of 194
                                          Hearing
                                     January 11, 2022
                                   January 11, 2022

· · · · · UNITED STATES DISTRICT COURT
· · · · · FOR THE SOUTHERN DISTRICT OF NEW YORK
·

· · · · · · · · · · · ·Case No. 14-md-02542-VSB

·
·   ·   · · · · · · · · · · · · · · · · · · · · · ·               ·:
·   ·   · · · · · · · · · · · · · · · · · · · · · ·               ·:
·   ·   · · · · · · · · · · · · · · · · · · · · · ·               ·:
·   ·   · · · · · · · · · · · · · · · · · · · · · ·               ·:
·   ·   ·IN RE:· KEURIG GREEN MOUNTAIN· · · · · · ·               ·:
·   ·   ·SINGLE-SERVE COFFEE ANTITRUST LITIGATION,·               ·:
·   ·   · · · · · · · · · · · · · · · · · · · · · ·               ·:
·

· · · · · · ·-------------------------------------

·   · · · · · · · · · · · MOTION HEARING
·   · · · · · · · · · · ·January 11, 2022
·
·   · · · · · · · · · · · ·-----------
·   · · REPORTED BY:· JENNIFER L. WIELAGE, CCR, RPR, CRR
·   · · · · · · · · · · · ------------
·

·

·

·

·

·

·
                         U.S. Legal Support | www.uslegalsupport.com
·
· · ·JOB # 6057296-001
·

·

·

·

·


                    U.S. Legal Support | www.uslegalsupport.com             ·


                                      Add.249
      Case 22-2079, Document 48, 04/20/2023,
                                      Hearing 3502340, Page174 of 194
                                      Hearing
                                 January 11, 2022
                               January 11, 2022

·1· · · · · · ·TRANSCRIPT of the remote stream video

·2· ·teleconference hearing of the above-named witness,

·3· ·called for Oral Examination in the above-entitled

·4· ·matter, said hearing being taken pursuant to Federal

·5· ·Court Rules, by and before JENNIFER L. WIELAGE,

·6· ·Certified Realtime Reporter, License No. XI01916, on

·7· ·Tuesday, January 11, 2022, commencing at 10:00 in

·8· ·the forenoon, Eastern Standard Time.

·9

10

11

12

13

14

15

16

17

18

19
                     U.S. Legal Support | www.uslegalsupport.com
20

21

22

23

24

25


                U.S. Legal Support | www.uslegalsupport.com             2


                                  Add.250
         Case 22-2079, Document 48, 04/20/2023,
                                         Hearing 3502340, Page175 of 194
                                         Hearing
                                    January 11, 2022
                                  January 11, 2022

·1· ·A P P E A R A N C E S:

·2
· · ·BY AND BEFORE:· HONORABLE SARAH J. CAVE
·3

·4
· ·   ·DAN JOHNSON LAW GROUP
·5·   ·1350 Old Bayshore Highway
· ·   ·Suite 520
·6·   ·Burlingame, California 94010-1814
· ·   ·BY:· DAN JOHNSON, ESQ.
·7·   ·dan@danjohnsonlawgroup.com
· ·   ·BY:· MARIO MOORE, ESQ.
·8·   ·mario@danjohnsonlawgroup.com
· ·   ·Attorneys for Plaintiffs
·9
· ·   ·BUCHANAN INGERSOLL & ROONEY PC
10·   ·Union Trust Building
· ·   ·501 Grant Street
11·   ·Suite 200
· ·   ·Pittsburgh, Pennsylvania 15219
12·   ·(412) 562-8800
· ·   ·BY:· WENDELYNNE J. NEWTON, ESQ.
13·   ·BY:· MATTHEW C. PILSNER, ESQ.
· ·   ·BY:· MACKENZIE BAIRD, ESQ.
14·   ·Attorneys for Keurig

15·   ·ALSTON & BIRD, LLP
· ·   ·1201 West Peachtree Street
16·   ·Suite 4900
· ·   ·Atlanta, GA 30309-3424
17·   ·(404) 881-7000
· ·   ·BY:· B. PARKER MILLER, ESQ.
18·   ·parker.miller@alston.com
· ·   ·BY:· LAURA A. KOMAREK, ESQ.
19·   ·Laura.komarek@alston.com
· ·   ·BY:· VALARIE C.   WILLIAMS,
                      U.S. Legal SupportESQ.
                                         | www.uslegalsupport.com
20·   ·valarie.williams@alston.com
· ·   ·Attorneys for Plaintiff, McLane Company, Inc.
21

22

23

24

25


                   U.S. Legal Support | www.uslegalsupport.com             3


                                    Add.251
         Case 22-2079, Document 48, 04/20/2023,
                                         Hearing 3502340, Page176 of 194
                                         Hearing
                                    January 11, 2022
                                  January 11, 2022

·1· ·A P P E A R A N C E S:

·2·   ·CLEARY GOTTLIEB
· ·   ·One Liberty Plaza
·3·   ·New York, NY 10006
· ·   ·(212) 225-2000
·4·   ·BY:· RAHUL MUKHI, ESQ.
· ·   ·Rmukhi@cgsh.com
·5·   ·BY:· JOSEPH M. KAY, ESQ.
· ·   ·Jkay@cgsh.com
·6·   ·BY:· ZACH TSCHIDA, ESQ.
· ·   ·ztschida@cgsh.com
·7·   ·BY:· ALAN B. FREEDMAN, ESQ.
· ·   ·Attorneys for Keurig Green Mountain
·8

·9·   ·WINSTON & STRAWN, LLP
· ·   ·200 Park Avenue
10·   ·New York, New York 10166
· ·   ·(212) 294-4762
11·   ·BY:· ALDO BADINI, ESQ.
· ·   ·abadini@winston.com
12·   ·BY:· SUSANNAH P. TORPEY, ESQ.
· ·   ·storpey@winston.com
13·   ·BY:· MEGAN P. FITZGERALD, ESQ.
· ·   ·mfitzgerald@winston.com
14·   ·BY:· MALIK WILLIAMS, ESQ.
· ·   ·Mwilliams@winston.com
15·   ·BY:· JEENIE KAHNG, ESQ.
· ·   ·Jkahng@winston.com
16·   ·BY:· BRETT M. WATERS, ESQ.
· ·   ·Attorneys for TreeHouse Plaintiffs
17

18·   ·MOTLEY RICE LLC
· ·   ·777 Third Avenue
19·   ·27th Floor
· ·   ·New York, New York    10017
                      U.S. Legal Support | www.uslegalsupport.com
20·   ·(212) 577-0040
· ·   ·BY:· MICHAEL M. BUCHMAN, ESQ.
21·   ·Attorneys for Direct Purchaser Plaintiffs

22

23

24

25


                    U.S. Legal Support | www.uslegalsupport.com            4


                                     Add.252
        Case 22-2079, Document 48, 04/20/2023,
                                        Hearing 3502340, Page177 of 194
                                        Hearing
                                   January 11, 2022
                                 January 11, 2022

·1· ·A P P E A R A N C E S:

·2

·3·   ·ROBINS KAPLAN LLP
· ·   ·900 3rd Avenue, Suite 900
·4·   ·New York, NY 10022
· ·   ·BY:· DAVID B. ROCHELSON, ESQ.
·5·   ·BY:· WILLIAM V. REISS, ESQ.
· ·   ·Wreiss@robinskaplan.com
·6·   ·Attorneys for Direct Purchaser Plaintiffs

·7

·8· ·ALSO PRESENT:· Hearing Room Monitor and Stephen Cole,
· · ·Corporate Counsel for Keurig
·9

10

11

12

13

14

15

16

17

18

19
                       U.S. Legal Support | www.uslegalsupport.com
20

21

22

23

24

25


                  U.S. Legal Support | www.uslegalsupport.com             5


                                    Add.253
      Case 22-2079, Document 48, 04/20/2023,
                                      Hearing 3502340, Page178 of 194
                                      Hearing
                                 January 11, 2022
                               January 11, 2022

·1· ·Thank you.

·2· · · · · · · · · JUDGE CAVE:· Super.· Thank you.· Any

·3· ·other Plaintiffs' counsel who want to weigh in on the

·4· ·Plaintiffs' motion now?

·5· · · · · · · · · MR. JOHNSON:· Yes, your Honor, this

·6· ·is Dan Johnson, two very minor points.· First --

·7· · · · · · · · · JUDGE CAVE:· I can hear you, I can't

·8· ·see you.

·9· · · · · · · · · MR. JOHNSON:· That's probably a good

10· ·thing.· Two points, number one, there have been at

11· ·least three comments made about why Rogers did not

12· ·join in the motion.· The simple answer is the at the

13· ·time the motion was filed, we had moved to have our

14· ·case transferred to California and I did not want any

15· ·major motions pending because Keurig would argue at

16· ·that point that you've got this major motion pending

17· ·so the case should remain.· That is why we did it.

18· ·And it makes perfect sense.· Once a case is -- once

19· ·the motion was filed, it was filed, so to the extent
                     U.S. Legal Support | www.uslegalsupport.com
20· ·that there is any implication that we didn't believe

21· ·the motioned merit, that is simply not the case.

22· · · · · · · · · The second point that I would make,

23· ·your Honor, is that this spoliation case is

24· ·interesting because the people whose drives were

25· ·lost, whose documents were lost were some of the most


                U.S. Legal Support | www.uslegalsupport.com             195
                                                                              YVer1f




                                  Add.254
      Case 22-2079, Document 48, 04/20/2023,
                                      Hearing 3502340, Page179 of 194
                                      Hearing
                                 January 11, 2022
                               January 11, 2022

·1· ·critical witnesses in this case, across the board,

·2· ·Michelle Stacy, for example.· The prior president,

·3· ·Mr. Whoriskey was a critical witness.· So was for a

·4· ·technical standpoint -- drawing a blank on his name,

·5· ·Mr. Huang and there were others as well.· The whole

·6· ·question about the Sagentia memos and whether they

·7· ·existed or not, the reason why that was so critical

·8· ·was we saw for the first time the reference to Squid

·9· ·and what that meant and we had -- once we realized

10· ·that Squid was this -- in the words of the documents

11· ·an anti -- it was a scheme to lock out competition

12· ·and it says over and over again we then tried to

13· ·pursue that and not only did we not find the

14· ·documents but when we asked -- when we tried to get

15· ·testimony all we got is I don't remember it didn't

16· ·happen until we were finally able to confront some of

17· ·these witnesses.

18· · · · · · · · · So while there's been this large

19· ·discussion in the abstract, the fact of the matter is
                     U.S. Legal Support | www.uslegalsupport.com
20· ·that those documents that weren't provided

21· ·particularly when the witnesses were there and

22· ·available to effective to do a material impact on our

23· ·ability to proceed with our case.· We struggled.               I

24· ·think we did the best we could with what we had but

25· ·this is not -- to say that Michelle Stacy was no big


                U.S. Legal Support | www.uslegalsupport.com             196
                                                                              YVer1f




                                  Add.255
      Case 22-2079, Document 48, 04/20/2023,
                                      Hearing 3502340, Page180 of 194
                                      Hearing
                                 January 11, 2022
                               January 11, 2022

·1· ·deal or that Mr. Whoriskey, hey, he was okay, and the

·2· ·same is true for the others.· That's just wrong.

·3· ·These were the people who developed the scheme to

·4· ·lock out competition.· They started in 2009 and in

·5· ·2014, they're still talking about locking out

·6· ·competition and the communication with their various

·7· ·customers which started in 2013, demonstrated that

·8· ·they were telling everyone that they were not going

·9· ·to -- their device would not work with outside pods

10· ·and they had a tremendous effect.· I'm not going to

11· ·argue that today.· But I want to say this is not a

12· ·trivial exercise today, this is very, very important

13· ·and had a material impact not only on Keurig's case

14· ·but also on our ability to gather facts.· Thank you.

15· · · · · · · · · JUDGE CAVE:· Mr. Miller?

16· · · · · · · · · MR. MILLER:· Yes, your Honor, I

17· ·wanted to first promise brevity and then stick to it.

18· ·There was some representations made about McLane's

19· ·data production.· The Court hasn't expressed
                     U.S. Legal Support | www.uslegalsupport.com
20· ·extensive interest in that, so I'm not going to

21· ·respond to today's in detail other than to say I

22· ·believe the representations made by Keurig's counsel

23· ·were wholly inaccurate.· And I would also just echo

24· ·what Mr. Johnson said, the importance of the

25· ·witnesses that we're talking about today.


                U.S. Legal Support | www.uslegalsupport.com             197
                                                                              YVer1f




                                  Add.256
      Case 22-2079, Document 48, 04/20/2023,
                                      Hearing 3502340, Page181 of 194
                                      Hearing
                                 January 11, 2022
                               January 11, 2022

·1· · · · · · · · · · · C E R T I F I C A T E

·2· · · · · · · · · · · I, JENNIFER WIELAGE, a Notary

·3· · · · · ·Public and Certified Shorthand Reporter, do

·4· · · · · ·hereby state that the foregoing is a true

·5· · · · · ·and accurate transcript as taken

·6· · · · · ·stenographically by and before me at the

·7· · · · · ·time, place and on the date hereinbefore set

·8· · · · · ·forth.

·9· · · · · · · · · · · I do further state that I am

10· · · · · ·neither a relative nor employee nor attorney

11· · · · · ·nor counsel of any of the parties to this

12· · · · · ·action, and that I am neither a relative nor

13· · · · · ·employee of such attorney or counsel and

14· · · · · ·that I am not financially interested in this

15· · · · · ·action.

16· · · · · · · · · ·______________________________
· · · · · · · · · · · JENNIFER WIELAGE
17· · · · · · · · · · License No. 30X100191600

18· · · · · · · · · · 1/14/22

19
                      U.S. Legal Support | www.uslegalsupport.com
20

21

22

23

24

25


                U.S. Legal Support | www.uslegalsupport.com             276


                                   Add.257
       Case 22-2079, Document 48, 04/20/2023, 3502340, Page182 of 194

                                                                  CASREF,COMPLEX−CSMGMT,ECF,SM
                                U.S. District Court
                   Southern District of New York (Foley Square)
              CIVIL DOCKET FOR CASE #: 1:14−md−02542−VSB−SLC

In re: Keurig Green Mountain Single−Serve Coffee Antitrust         Date Filed: 06/05/2014
Litigation                                                         Jury Demand: Defendant
Assigned to: Judge Vernon S. Broderick                             Nature of Suit: 410 Anti−Trust
Referred to: Magistrate Judge Sarah L Cave                         Jurisdiction: Federal Question
Related Cases: 1:21−cv−07504−VSB
                1:14−cv−00905−VSB
                1:14−cv−01609−VSB
                1:14−cv−01671−VSB
                1:14−cv−01716−VSB
                1:14−cv−01836−VSB
                1:14−cv−04242−VSB
                1:14−cv−03032−VSB
                1:14−cv−02267−VSB
                1:14−cv−02255−VSB
                1:14−cv−01963−VSB
                1:14−cv−01716−VSB
                1:14−cv−02219−VSB
                1:14−cv−03790−VSB
                1:21−cv−07493−VSB
                1:14−cv−02530−VSB
                1:19−cv−00325−VSB
                1:14−cv−02582−VSB
                1:14−cv−02670−VSB
                1:14−cv−02692−VSB
                1:14−cv−03018−VSB
                1:14−cv−04392−VSB
                1:14−cv−04398−VSB
                1:14−cv−04399−VSB
                1:14−cv−04403−VSB
                1:14−cv−04405−VSB
                1:14−cv−04407−VSB
                1:14−cv−04414−VSB
                1:14−cv−04391−VSB
                1:14−cv−07750−VSB
                1:15−cv−08985−VSB
Cause: 15:1 Antitrust Litigation (Monopolizing Trade)

 Date Filed     #      Docket Text
 06/05/2014         1 CERTIFIED TRUE COPY OF CONDITIONAL MDL TRANSFER IN ORDER
                      FROM THE MDL PANEL... transferring this action from the United States District
                      Court − that pursuant to 28 U.S.C. 1407, the actions listed on the attached schedule A
                      and pending in the District of California, Delaware, Massachusetts and New York,
                      and the same hereby are, transferred to the Southern District of New York, with the
                      consent of that court, assigned to the Honorable Judge Vernon S. Broderick, for
                      coordinated or consolidated pretrial proceedings with the actions pending in that
                      district and listed on Schedule A. (Signed by MDL Panel on 6/3/2014) (sjo) (Entered:
                      06/05/2014)




                                              Add.258
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page183 of 194
02/02/2015   223 MOTION to Dismiss Amended and Supplemental Complaint Filed by TreeHouse
                 Foods, Inc., Bay Valley Foods, LLC, and Sturm Foods, Inc.. Document filed by
                 Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as
                 successor to Keurig, Incorporated.(Cary, George) (Entered: 02/02/2015)
02/02/2015   224 MEMORANDUM OF LAW in Support re: 223 MOTION to Dismiss Amended and
                 Supplemental Complaint Filed by TreeHouse Foods, Inc., Bay Valley Foods, LLC,
                 and Sturm Foods, Inc.. . Document filed by Keurig Green Mountain, Inc., f/k/a Green
                 Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated. (Cary,
                 George) (Entered: 02/02/2015)
02/02/2015   225 DECLARATION of Elaine Ewing in Support re: 223 MOTION to Dismiss Amended
                 and Supplemental Complaint Filed by TreeHouse Foods, Inc., Bay Valley Foods,
                 LLC, and Sturm Foods, Inc... Document filed by Keurig Green Mountain, Inc., f/k/a
                 Green Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Cary, George) (Entered: 02/02/2015)
02/02/2015   226 MOTION to Dismiss First Amended and Supplemental Complaint Filed by JBR, Inc..
                 Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee
                 Roasters, Inc., and as successor to Keurig, Incorporated.(Cary, George) (Entered:
                 02/02/2015)
02/02/2015   227 MEMORANDUM OF LAW in Support re: 226 MOTION to Dismiss First Amended
                 and Supplemental Complaint Filed by JBR, Inc.. . Document filed by Keurig Green
                 Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to
                 Keurig, Incorporated. (Cary, George) (Entered: 02/02/2015)
02/02/2015   228 DECLARATION of Elaine Ewing in Support re: 226 MOTION to Dismiss First
                 Amended and Supplemental Complaint Filed by JBR, Inc... Document filed by Keurig
                 Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to
                 Keurig, Incorporated. (Attachments: # 1 Exhibit 1)(Cary, George) (Entered:
                 02/02/2015)
02/02/2015   229 MOTION to Dismiss Consolidated Amended Class Action Complaint Filed by Direct
                 Purchaser Plaintiffs. Document filed by Keurig Green Mountain, Inc., f/k/a Green
                 Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated.(Cary,
                 George) (Entered: 02/02/2015)
02/02/2015   230 MEMORANDUM OF LAW in Support re: 229 MOTION to Dismiss Consolidated
                 Amended Class Action Complaint Filed by Direct Purchaser Plaintiffs. . Document
                 filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc.,
                 and as successor to Keurig, Incorporated. (Cary, George) (Entered: 02/02/2015)
02/02/2015   231 MOTION to Dismiss the Second Consolidated Amended Class Action Complaint
                 Filed by Indirect Purchaser Plaintiffs. Document filed by Keurig Green Mountain,
                 Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to Keurig,
                 Incorporated.(Cary, George) (Entered: 02/02/2015)
02/02/2015   232 MEMORANDUM OF LAW in Support re: 231 MOTION to Dismiss the Second
                 Consolidated Amended Class Action Complaint Filed by Indirect Purchaser
                 Plaintiffs. . Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                 Coffee Roasters, Inc., and as successor to Keurig, Incorporated. (Cary, George)
                 (Entered: 02/02/2015)
02/03/2015   233 NOTICE OF APPEARANCE by Amanda Marjorie Steiner on behalf of Todd W.
                 Springer. Filed In Associated Cases: 1:14−md−02542−VSB,
                 1:14−cv−02267−VSB(Steiner, Amanda) (Entered: 02/03/2015)
02/03/2015   234 MOTION for John A. Kehoe to Withdraw as Attorney . Document filed by Todd W.
                 Springer.Filed In Associated Cases: 1:14−md−02542−VSB,
                 1:14−cv−02267−VSB(Steiner, Amanda) (Entered: 02/03/2015)
02/04/2015   235 MEMO ENDORSEMENT granting (37) Motion to Withdraw as Attorney. Attorney
                 John Anthony Kehoe terminated in case 1:14−cv−02267−VSB; granting (234) Motion
                 to Withdraw as Attorney. Attorney John Anthony Kehoe terminated in case
                 1:14−md−02542−VSB. ENDORSEMENT: Application granted. (Signed by Judge
                 Vernon S. Broderick on 2/4/2015) Filed In Associated Cases: 1:14−md−02542−VSB,
                 1:14−cv−02267−VSB (lmb) (Entered: 02/04/2015)




                                        Add.259
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page184 of 194
11/21/2017   377 LETTER addressed to Judge Vernon S. Broderick from Leah Brannon dated
                 November 21, 2017 re: JBR's Request for Remand and Discovery. Document filed by
                 Keurig Green Mountain, Inc..(Brannon, Leah) (Entered: 11/21/2017)
11/27/2017   378 LETTER addressed to Judge Vernon S. Broderick from Daniel Johnson Jr. dated
                 11/27/2017 re: Keurig's 11/21/2017 letter. Document filed by JBR, Inc. (d/b/a Rogers
                 Family Company).(Moore, Mario) (Entered: 11/27/2017)
11/29/2017   379 ORDER: denying 223 Motion to Dismiss; denying 226 Motion to Dismiss; denying
                 229 Motion to Dismiss; granting in part and denying in part 231 Motion to Dismiss.
                 IT IS HEREBY ORDERED that for the reasons that will be set forth in a
                 memorandum and opinion to be issued at a later date, Defendant's motion to dismiss
                 (1) the Rogers Amended Complaint is DENIED; (2) the Treehouse Amended
                 Complaint is DENIED; (3) the DPP Amended Complaint is DENIED; and (4) the IPP
                 Second Amended Complaint is GRANTED with respect to the IPPs' Fourth, Fifth,
                 Sixth, Seventh, and Eighth Claims for Relief, (see IPP Sec. Am. Compl. 25194). A
                 decision on Defendant's motion to dismiss the IPP Second Amended Complaint with
                 respect to the IPPs' remaining Claims for Relief will be issued in the forthcoming
                 memorandum and opinion; IT IS FURTHER ORDERED that Discovery shall hereby
                 proceed in full pursuant to the proposed preliminary case management plan and
                 scheduling order filed by the parties on November 14, 2016, (see Doc. 354−1); IT IS
                 FURTHER ORDERED that all discovery deadlines heretofore subject to the
                 resolution of Defendant's motions to dismiss shall commence to run on December 1,
                 2017, (see id.); IT IS FURTHER ORDERED that Plaintiffs' letter motion requesting a
                 lift of the discovery stay, (Doc. 364), and Plaintiff J.B.R. Inc.'s letters requesting the
                 opportunity to supplement the evidentiary record concerning its request to lift the
                 discovery stay, (Doc. 375), and requesting leave to file documents under seal, (Doc.
                 376), are DENIED as moot; and IT IS FURTHER ORDERED that the discovery
                 conference scheduled for November 30, 2017, (Doc. 373), is hereby canceled, and as
                 further set forth in this order. (Docketed in 14md2542 and 14mc2542) (Signed by
                 Judge Vernon S. Broderick on 11/29/2017) (ap) (Entered: 11/29/2017)
12/01/2017   380 NOTICE OF APPEARANCE by Michelle C. Zolnoski on behalf of Judy Hoyer.
                 (Zolnoski, Michelle) (Entered: 12/01/2017)
12/05/2017   381 LETTER addressed to Judge Vernon S. Broderick from Fred Taylor Isquith dated
                 Dec. 5, 2017 re: Nov. 20, 2017 decision in In re Broiler Chicken Antitrust Litigation.
                 Document filed by All Indirect Purchaser Plaintiffs. (Attachments: # 1 Nov. 20, 2017
                 decision in In re Broiler Chicken Antitrust Litigation)(Isquith, Frederick) (Entered:
                 12/05/2017)
12/12/2017   382 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 LETTER MOTION to Compel TreeHouse Foods, Inc., Bay Valley Foods LLC and
                 Strum Foods, Inc. to Produce Unredacted Complaint and Demand for Jury Trial
                 addressed to Judge Vernon S. Broderick from Wayne F. Dennison dated 12/12/2017.
                 Document filed by Sagentia, Inc. (Attachments: # 1 Text of Proposed Order)Filed In
                 Associated Cases: 1:14−md−02542−VSB et al.(Dennison, Wayne) Modified on
                 12/13/2017 (db). (Entered: 12/12/2017)
12/13/2017         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR. Notice to Attorney Wayne F. Dennison to RE−FILE Document (63 in
                   1:14−cv−03790−VSB, 47 in 1:14−cv−02267−VSB, 17 in 1:15−cv−08985−VSB, 108
                   in 1:14−cv−00905−VSB, 59 in 1:14−cv−01671−VSB, 18 in 1:14−cv−07750−VSB,
                   45 in 1:14−cv−02692−VSB, 56 in 1:14−cv−04398−VSB, 45 in
                   1:14−cv−04414−VSB, 47 in 1:14−cv−04407−VSB, 40 in 1:14−cv−03032−VSB, 57
                   in 1:14−cv−04391−VSB, 46 in 1:14−cv−02255−VSB, 382 in
                   1:14−md−02542−VSB, 47 in 1:14−cv−01836−VSB, 48 in 1:14−cv−04403−VSB, 56
                   in 1:14−cv−01963−VSB, 48 in 1:14−cv−04405−VSB, 49 in 1:14−cv−02530−VSB,
                   42 in 1:14−cv−02582−VSB, 52 in 1:14−cv−02219−VSB, 58 in
                   1:14−cv−01609−VSB, 45 in 1:14−cv−02670−VSB, 46 in 1:14−cv−04392−VSB, 49
                   in 1:14−cv−04399−VSB, 51 in 1:14−cv−03018−VSB, 55 in 1:14−cv−01716−VSB,
                   100 in 1:14−cv−04242−VSB) LETTER MOTION to Compel TreeHouse Foods,
                   Inc., Bay Valley Foods LLC and Strum Foods, Inc. to Produce Unredacted
                   Complaint and Demand for Jury Trial addressed to Judge Vernon S. Broderick
                   from Wayne F. Dennison dated 12/12/2017. Use the event type Letter found
                   under the event list Other Documents. Filed In Associated Cases:




                                          Add.260
     Case 22-2079, Document 48, 04/20/2023, 3502340, Page185 of 194
04/02/2019   555 ORDER granting 403 Motion for Alexander Lee Simon to Appear Pro Hac Vice
                 (HEREBY ORDERED by Judge Vernon S. Broderick)(Text Only Order) (msa)
                 (Entered: 04/02/2019)
04/02/2019   556 LETTER addressed to Magistrate Judge Henry B. Pitman from All Plaintiffs dated
                 April 2, 2019 re: Selection of Special Master. Document filed by Bay Valley Foods,
                 LLC, Sturm Foods, Inc., Treehouse Foods, Inc..(Badini, Aldo) (Entered: 04/02/2019)
04/02/2019   557 ORDER granting 474 Letter Motion to Seal Document. APPLICATION GRANTED
                 SO ORDERED. (Signed by Judge Vernon S. Broderick on 4/2/2019) (jca)
                 Transmission to Sealed Records Clerk for processing. (Entered: 04/02/2019)
04/02/2019   558 MEMO ENDORSEMENT granting 367 Motion to Withdraw as Attorney.
                 ENDORSEMENT: SO ORDERED. Attorney Danielle Posen Mindlin terminated.
                 (Signed by Judge Vernon S. Broderick on 4/20/2019) (jca) (Entered: 04/02/2019)
04/04/2019   559 SEALED DOCUMENT placed in vault.(rz) (Entered: 04/04/2019)
04/04/2019   560 ORDER: On April 3, 2019, I sent a copy of my Opinion & Order on Defendants'
                 motions to dismiss, (Docs. 223, 226, 229, 231), to the parties. Because the Opinion &
                 Order refers to materials that were filed under seal, I have not yet filed it on the public
                 docket. To the extent that any party objects to my filing the Opinion & Order without
                 redaction, it is hereby: ORDERED that the parties shall meet and confer regarding a
                 timeline for any proposed redactions. The parties shall be prepared to discuss the
                 timeline at the status conference on April 5, 2019. SO ORDERED (Signed by Judge
                 Vernon S. Broderick on 4/4/2019) Filed In Associated Cases:
                 1:14−md−02542−VSB−HBP et al.(rro) (Entered: 04/04/2019)
04/04/2019   561 MEMORANDUM OF LAW in Opposition re: 466 MOTION seeking relief from two
                 orders entered by Magistrate Judge Henry B. Pitman during the November 9, 2018
                 conference (Redacted) . . Document filed by Keurig Green Mountain, Inc., f/k/a
                 Green Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated.
                 (Attachments: # 1 Exhibit A − Second Set of Requests for Production to Defendant
                 Keurig Green Mountain, Inc)(Brannon, Leah) (Entered: 04/04/2019)
04/04/2019   562 LETTER MOTION to Seal Document re: limited portions of Plaintiffs' Opposition to
                 Defendant Keurig Green Mountain Inc.'s Motion and Objections to Magistrate Judge
                 Ruling, addressed to Judge Vernon S. Broderick from All Plaintiffs dated April 4,
                 2019. Document filed by Bay Valley Foods, LLC, Sturm Foods, Inc., Treehouse
                 Foods, Inc..(Badini, Aldo) (Entered: 04/04/2019)
04/04/2019   563 MEMORANDUM OF LAW in Opposition re: 547 MOTION and Objections to
                 Magistrate Judge's Discovery Order re: 544 Order, Set Hearings,,,, . . Document filed
                 by Bay Valley Foods, LLC, Sturm Foods, Inc., Treehouse Foods, Inc.. (Badini, Aldo)
                 (Entered: 04/04/2019)
04/04/2019   564 DECLARATION of Aldo A. Badini in Opposition re: 547 MOTION and Objections
                 to Magistrate Judge's Discovery Order re: 544 Order, Set Hearings,,,, .. Document
                 filed by Bay Valley Foods, LLC, Sturm Foods, Inc., Treehouse Foods, Inc..
                 (Attachments: # 1 Exhibit A − August 31, 2018 email, # 2 Exhibit B − September 4,
                 2018 email, # 3 Exhibit C − September 14, 2018 email, # 4 Exhibit D − October 1,
                 2018 email, # 5 Exhibit E − December 18, 2018 email, # 6 Exhibit F − January 2,
                 2019 email)(Badini, Aldo) (Entered: 04/04/2019)
04/05/2019   565 ORDER in case 1:14−cv−00905−VSB; denying (466) Motion in case
                 1:14−md−02542−VSB−HBP. ORDERED that Plaintiff TreeHouse Foods, Inc.'s
                 ("TreeHouse") motion for an order reversing certain orders entered by Magistrate
                 Judge Henry B. Pitman on November 9, 2018, (Doc. 466), is DENIED. IT IS
                 FURTHER ORDERED that the parties shall appear for a status conference on July
                 24, 2019 at 2:30 p.m. SO ORDERED. (Signed by Judge Vernon S. Broderick on
                 4/5/2019) Filed In Associated Cases: 1:14−md−02542−VSB−HBP et al. (rro)
                 (Entered: 04/05/2019)
04/05/2019         Set/Reset Hearings: Status Conference set for 7/24/2019 at 02:30 PM before Judge
                   Vernon S. Broderick. Associated Cases: 1:14−md−02542−VSB−HBP et al.(rro)
                   (Entered: 04/05/2019)




                                          Add.261
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page186 of 194

                    adopted. No courtesy copies are needed at this time, though I will contact the parties
                    if that changes. SO ORDERED.. (Signed by Judge Vernon S. Broderick on
                    8/13/2021) (kv) (Entered: 08/13/2021)
08/17/2021 1437 ORDER re: (1436 in 1:14−md−02542−VSB−SLC) Order on Motion to Seal.
                Accordingly, it is hereby: ORDERED my order at Document 1436 applies to the
                Direct Purchaser Plaintiffs' reply brief in support of class certification. I adopt the
                parties' proposed sealing procedure as outlined in that order. SO ORDERED. (Signed
                by Judge Vernon S. Broderick on 8/17/2021) Filed In Associated Cases:
                1:14−md−02542−VSB−SLC et al. (kv) (Entered: 08/17/2021)
08/18/2021 1438 ORDER: To ensure the parties' confidential information is not disclosed, the Court
                will afford the parties a final opportunity to propose redactions to the Aug. 5, 2021
                Order by August 20, 2021. If the parties do not file any proposed redactions by the
                date, the Court will make the Aug. 5, 2021 Order available to the public. SO
                ORDERED. (Signed by Magistrate Judge Sarah L Cave on 8/18/2021) (rj) (Entered:
                08/18/2021)
08/18/2021 1439 MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Mohan
                Rao, Ph.D. Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah)
                (Entered: 08/18/2021)
08/18/2021 1440 MEMORANDUM OF LAW in Support re: 1439 MOTION to Exclude the Expert
                Reports and Testimony of Treehouse Expert Mohan Rao, Ph.D. [Redacted].
                Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee
                Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah) (Entered:
                08/18/2021)
08/18/2021 1441 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1439
                MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Mohan
                Rao, Ph.D. . Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                Coffee Roasters, Inc., and as successor to Keurig, Incorporated, Yelda Mesbah
                Bartlett, Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B. Burkley, Holly
                Ann Buss, Class Plaintiffs, Richard Constantino, John R Cusimano, Cusimano Carstar
                Collison Inc., William Daly, William Daly, Roger Davidson, Jonna Dugan, Michael J.
                Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando Herrera, Mary
                Hudson, JBR, Inc., Teena Marie Johnson, Darlene M. Kennedy, Lori Jo Kirkhart,
                John Lohin, James G. Long, McLane Company, Inc., Brier Miller Minor, Tracy
                Elizabeth Moreno, David Wayne Nation, Patricia J. Nelson, Ney Silverman Insurance
                Associates, L.L.C., Ken Overton, Timothy Quackenbush, Julie Rainwater, Lorie
                Rehma, Sally Rizzo, Henry A. Rocker, Gregory Rose, Jeffrey Rosen, Lauren Jill
                Schneider, Shirley Schroeder, Todd W. Springer, Sturm Foods, Inc., Rhett
                Montgomery Tanselle, Treehouse Foods, Inc., Constance Werthe, Toni Williams.
                Motion or Order to File Under Seal: 1436 .(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1442 MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Hal
                Poret. Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee
                Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah) (Entered:
                08/18/2021)
08/18/2021 1443 MEMORANDUM OF LAW in Support re: 1442 MOTION to Exclude the Expert
                Reports and Testimony of Treehouse Expert Hal Poret. . Document filed by Keurig
                Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to
                Keurig, Incorporated..(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1444 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1442
                MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Hal
                Poret. . Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                Coffee Roasters, Inc., and as successor to Keurig, Incorporated, Yelda Mesbah
                Bartlett, Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B. Burkley, Holly
                Ann Buss, Class Plaintiffs, Richard Constantino, John R Cusimano, Cusimano Carstar
                Collison Inc., William Daly, William Daly, Roger Davidson, Jonna Dugan, Michael J.
                Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando Herrera, Mary
                Hudson, JBR, Inc., Teena Marie Johnson, Darlene M. Kennedy, Lori Jo Kirkhart,
                John Lohin, James G. Long, McLane Company, Inc., Brier Miller Minor, Tracy
                Elizabeth Moreno, David Wayne Nation, Patricia J. Nelson, Ney Silverman Insurance




                                           Add.262
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page187 of 194

                    Associates, L.L.C., Ken Overton, Timothy Quackenbush, Julie Rainwater, Lorie
                    Rehma, Sally Rizzo, Henry A. Rocker, Gregory Rose, Jeffrey Rosen, Lauren Jill
                    Schneider, Shirley Schroeder, Todd W. Springer, Sturm Foods, Inc., Rhett
                    Montgomery Tanselle, Treehouse Foods, Inc., Constance Werthe, Toni Williams.
                    Motion or Order to File Under Seal: 1436 .(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1445 MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Sarah
                Butler. Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee
                Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah) (Entered:
                08/18/2021)
08/18/2021 1446 MEMORANDUM OF LAW in Support re: 1445 MOTION to Exclude the Expert
                Reports and Testimony of Treehouse Expert Sarah Butler. [Redacted]. Document
                filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc.,
                and as successor to Keurig, Incorporated..(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1447 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1445
                MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Sarah
                Butler. . Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                Coffee Roasters, Inc., and as successor to Keurig, Incorporated, Yelda Mesbah
                Bartlett, Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B. Burkley, Holly
                Ann Buss, Class Plaintiffs, Richard Constantino, John R Cusimano, Cusimano Carstar
                Collison Inc., William Daly, William Daly, Roger Davidson, Jonna Dugan, Michael J.
                Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando Herrera, Mary
                Hudson, JBR, Inc., Teena Marie Johnson, Darlene M. Kennedy, Lori Jo Kirkhart,
                John Lohin, James G. Long, McLane Company, Inc., Brier Miller Minor, Tracy
                Elizabeth Moreno, David Wayne Nation, Patricia J. Nelson, Ney Silverman Insurance
                Associates, L.L.C., Ken Overton, Timothy Quackenbush, Julie Rainwater, Lorie
                Rehma, Sally Rizzo, Henry A. Rocker, Gregory Rose, Jeffrey Rosen, Lauren Jill
                Schneider, Shirley Schroeder, Todd W. Springer, Sturm Foods, Inc., Rhett
                Montgomery Tanselle, Treehouse Foods, Inc., Constance Werthe, Toni Williams.
                Motion or Order to File Under Seal: 1436 .(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1448 DECLARATION of Matthew Pilsner in Support re: 1439 MOTION to Exclude the
                Expert Reports and Testimony of Treehouse Expert Mohan Rao, Ph.D., 1442
                MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Hal
                Poret., 1445 MOTION to Exclude the Expert Reports and Testimony of Treehouse
                Expert Sarah Butler.. Document filed by Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Pilsner,
                Matthew) (Entered: 08/18/2021)
08/18/2021 1449 MOTION to Exclude Certain Opinions in the Expert Reports and Testimony of Hon.
                James Ware and Hon. Randall Rader. Document filed by Keurig Green Mountain,
                Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to Keurig,
                Incorporated..(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1450 MEMORANDUM OF LAW in Support re: 1449 MOTION to Exclude Certain
                Opinions in the Expert Reports and Testimony of Hon. James Ware and Hon. Randall
                Rader. . Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah)
                (Entered: 08/18/2021)
08/18/2021 1451 DECLARATION of Matthew Pilsner in Support re: 1449 MOTION to Exclude
                Certain Opinions in the Expert Reports and Testimony of Hon. James Ware and Hon.
                Randall Rader.. Document filed by Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Pilsner,
                Matthew) (Entered: 08/18/2021)
08/18/2021 1452 MOTION to Exclude the Expert Reports and Testimony of McLane Expert Phillip M.
                Johnson, Ph.D. Document filed by Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon,
                Leah) (Entered: 08/18/2021)
08/18/2021 1453 MEMORANDUM OF LAW in Support re: 1452 MOTION to Exclude the Expert
                Reports and Testimony of McLane Expert Phillip M. Johnson, Ph.D. [Redacted].
                Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee
                Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah) (Entered:




                                         Add.263
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page188 of 194

                    08/18/2021)
08/18/2021 1454 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1452
                MOTION to Exclude the Expert Reports and Testimony of McLane Expert Phillip M.
                Johnson, Ph.D. . Document filed by Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated, Yelda
                Mesbah Bartlett, Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B.
                Burkley, Holly Ann Buss, Class Plaintiffs, Richard Constantino, John R Cusimano,
                Cusimano Carstar Collison Inc., William Daly, William Daly, Roger Davidson, Jonna
                Dugan, Michael J. Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando
                Herrera, Mary Hudson, JBR, Inc., Teena Marie Johnson, Darlene M. Kennedy, Lori
                Jo Kirkhart, John Lohin, James G. Long, McLane Company, Inc., Brier Miller Minor,
                Tracy Elizabeth Moreno, David Wayne Nation, Patricia J. Nelson, Ney Silverman
                Insurance Associates, L.L.C., Ken Overton, Timothy Quackenbush, Julie Rainwater,
                Lorie Rehma, Sally Rizzo, Henry A. Rocker, Gregory Rose, Jeffrey Rosen, Lauren
                Jill Schneider, Shirley Schroeder, Todd W. Springer, Sturm Foods, Inc., Rhett
                Montgomery Tanselle, Treehouse Foods, Inc., Constance Werthe, Toni Williams.
                Motion or Order to File Under Seal: 1436 .(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1455 DECLARATION of Matthew Pilsner in Support re: 1452 MOTION to Exclude the
                Expert Reports and Testimony of McLane Expert Phillip M. Johnson, Ph.D..
                Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee
                Roasters, Inc., and as successor to Keurig, Incorporated..(Pilsner, Matthew) (Entered:
                08/18/2021)
08/18/2021 1456 MOTION to Exclude the Expert Reports and Testimony of JBR Expert Gareth
                Macartney, Ph.D. Document filed by Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon,
                Leah) (Entered: 08/18/2021)
08/18/2021 1457 MEMORANDUM OF LAW in Support re: 1456 MOTION to Exclude the Expert
                Reports and Testimony of JBR Expert Gareth Macartney, Ph.D. [Redacted].
                Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee
                Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah) (Entered:
                08/18/2021)
08/18/2021 1458 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1456
                MOTION to Exclude the Expert Reports and Testimony of JBR Expert Gareth
                Macartney, Ph.D. . Document filed by Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated, Yelda
                Mesbah Bartlett, Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B.
                Burkley, Holly Ann Buss, Class Plaintiffs, Richard Constantino, John R Cusimano,
                Cusimano Carstar Collison Inc., William Daly, William Daly, Roger Davidson, Jonna
                Dugan, Michael J. Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando
                Herrera, Mary Hudson, JBR, Inc., Teena Marie Johnson, Darlene M. Kennedy, Lori
                Jo Kirkhart, John Lohin, James G. Long, McLane Company, Inc., Brier Miller Minor,
                Tracy Elizabeth Moreno, David Wayne Nation, Patricia J. Nelson, Ney Silverman
                Insurance Associates, L.L.C., Ken Overton, Timothy Quackenbush, Julie Rainwater,
                Lorie Rehma, Sally Rizzo, Henry A. Rocker, Gregory Rose, Jeffrey Rosen, Lauren
                Jill Schneider, Shirley Schroeder, Todd W. Springer, Sturm Foods, Inc., Rhett
                Montgomery Tanselle, Treehouse Foods, Inc., Constance Werthe, Toni Williams.
                Motion or Order to File Under Seal: 1436 .(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1459 DECLARATION of Matthew Pilsner in Support re: 1456 MOTION to Exclude the
                Expert Reports and Testimony of JBR Expert Gareth Macartney, Ph.D.. Document
                filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc.,
                and as successor to Keurig, Incorporated..(Pilsner, Matthew) (Entered: 08/18/2021)
08/18/2021 1460 MOTION to Exclude Opinions in the Expert Reports and Testimony of Treehouse
                Expert Lauren J. Stiroh, Ph.D. Document filed by Keurig Green Mountain, Inc., f/k/a
                Green Mountain Coffee Roasters, Inc., and as successor to Keurig,
                Incorporated..(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1461 MEMORANDUM OF LAW in Support re: 1460 MOTION to Exclude Opinions in
                the Expert Reports and Testimony of Treehouse Expert Lauren J. Stiroh, Ph.D.
                [Redacted]. Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah)




                                          Add.264
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page189 of 194

                    (Entered: 08/18/2021)
08/18/2021 1462 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1460
                MOTION to Exclude Opinions in the Expert Reports and Testimony of Treehouse
                Expert Lauren J. Stiroh, Ph.D. . Document filed by Keurig Green Mountain, Inc.,
                f/k/a Green Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated,
                Yelda Mesbah Bartlett, Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B.
                Burkley, Holly Ann Buss, Class Plaintiffs, Richard Constantino, John R Cusimano,
                Cusimano Carstar Collison Inc., William Daly, William Daly, Roger Davidson, Jonna
                Dugan, Michael J. Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando
                Herrera, Mary Hudson, JBR, Inc., Teena Marie Johnson, Darlene M. Kennedy, Lori
                Jo Kirkhart, John Lohin, James G. Long, McLane Company, Inc., Brier Miller Minor,
                Tracy Elizabeth Moreno, David Wayne Nation, Patricia J. Nelson, Ney Silverman
                Insurance Associates, L.L.C., Ken Overton, Timothy Quackenbush, Julie Rainwater,
                Lorie Rehma, Sally Rizzo, Henry A. Rocker, Gregory Rose, Jeffrey Rosen, Lauren
                Jill Schneider, Shirley Schroeder, Todd W. Springer, Sturm Foods, Inc., Rhett
                Montgomery Tanselle, Treehouse Foods, Inc., Constance Werthe, Toni Williams.
                Motion or Order to File Under Seal: 1436 .(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1463 DECLARATION of Matthew Pilsner in Support re: 1460 MOTION to Exclude
                Opinions in the Expert Reports and Testimony of Treehouse Expert Lauren J. Stiroh,
                Ph.D.. Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee
                Roasters, Inc., and as successor to Keurig, Incorporated..(Pilsner, Matthew) (Entered:
                08/18/2021)
08/18/2021 1464 MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Dr.
                David Sibley. Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah)
                (Entered: 08/18/2021)
08/18/2021 1465 MEMORANDUM OF LAW in Support re: 1464 MOTION to Exclude the Expert
                Reports and Testimony of Treehouse Expert Dr. David Sibley. [Redacted]. Document
                filed by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc.,
                and as successor to Keurig, Incorporated..(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1466 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1464
                MOTION to Exclude the Expert Reports and Testimony of Treehouse Expert Dr.
                David Sibley. . Document filed by Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated, Yelda
                Mesbah Bartlett, Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B.
                Burkley, Holly Ann Buss, Class Plaintiffs, Richard Constantino, John R Cusimano,
                Cusimano Carstar Collison Inc., William Daly, William Daly, Roger Davidson, Jonna
                Dugan, Michael J. Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando
                Herrera, Mary Hudson, JBR, Inc., Teena Marie Johnson, Darlene M. Kennedy, Lori
                Jo Kirkhart, John Lohin, James G. Long, McLane Company, Inc., Brier Miller Minor,
                Tracy Elizabeth Moreno, David Wayne Nation, Patricia J. Nelson, Ney Silverman
                Insurance Associates, L.L.C., Ken Overton, Timothy Quackenbush, Julie Rainwater,
                Lorie Rehma, Sally Rizzo, Henry A. Rocker, Gregory Rose, Jeffrey Rosen, Lauren
                Jill Schneider, Shirley Schroeder, Todd W. Springer, Sturm Foods, Inc., Rhett
                Montgomery Tanselle, Treehouse Foods, Inc., Constance Werthe, Toni Williams.
                Motion or Order to File Under Seal: 1436 .(Brannon, Leah) (Entered: 08/18/2021)
08/18/2021 1467 DECLARATION of Matthew Pilsner in Support re: 1464 MOTION to Exclude the
                Expert Reports and Testimony of Treehouse Expert Dr. David Sibley.. Document filed
                by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as
                successor to Keurig, Incorporated..(Pilsner, Matthew) (Entered: 08/18/2021)
08/18/2021 1468 MEMORANDUM OF LAW in Opposition re: 1406 MOTION in Limine to Exclude
                the Expert Report and Testimony of DPP Expert Gary L. French, Ph.D. [Redacted].
                Document filed by Kenneth B. Burkley, Roger Davidson, James G. Long, Ney
                Silverman Insurance Associates, L.L.C., Sally Rizzo, Henry A. Rocker, Todd W.
                Springer..(Rochelson, David) (Entered: 08/18/2021)
08/18/2021 1469 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 1406
                MOTION in Limine to Exclude the Expert Report and Testimony of DPP Expert Gary
                L. French, Ph.D. . Document filed by Roger Davidson, Henry A. Rocker, Kenneth B.
                Burkley, Ney Silverman Insurance Associates, L.L.C., James G. Long, Todd W.




                                            Add.265
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page190 of 194

                   Springer, Sally Rizzo, Bay Valley Foods, LLC, Green Mountain Coffee Roasters,
                   Inc., JBR, Inc., JBR, Inc. (d/b/a Rogers Family Company), Keurig Green Mountain,
                   Inc., Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as
                   successor to Keurig, Incorporated, Keurig Incorporated, Keurig, Incorporated,
                   McLane Company, Inc., Sturm Foods, Inc., Treehouse Foods, Inc.. Motion or Order
                   to File Under Seal: 1436 .(Rochelson, David) (Entered: 08/18/2021)
08/18/2021 1470 MOTION to Exclude Certain Opinions of Keurig Expert Keith R. Ugone . Document
                filed by McLane Company, Inc...(Brown, Alex) (Entered: 08/18/2021)
08/18/2021 1471 MEMORANDUM OF LAW in Support re: 1470 MOTION to Exclude Certain
                Opinions of Keurig Expert Keith R. Ugone . . Document filed by McLane Company,
                Inc...(Brown, Alex) (Entered: 08/18/2021)
08/18/2021 1472 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1470
                MOTION to Exclude Certain Opinions of Keurig Expert Keith R. Ugone . .
                Document filed by McLane Company, Inc., JBR, Inc., JBR, Inc. (d/b/a Rogers Family
                Company), Keurig Green Mountain, Inc., Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated, Keurig
                Incorporated, Treehouse Foods, Inc.. Motion or Order to File Under Seal: 1436
                .(Brown, Alex) (Entered: 08/18/2021)
08/18/2021 1473 DECLARATION of Alexander G. Brown in Support re: 1470 MOTION to Exclude
                Certain Opinions of Keurig Expert Keith R. Ugone .. Document filed by McLane
                Company, Inc...(Brown, Alex) (Entered: 08/18/2021)
08/18/2021 1474 MOTION to Exclude the Proposed Testimony of Kevin Murphy, Ph.D. . Document
                filed by JBR, Inc., JBR, Inc. (d/b/a Rogers Family Company)..(Johnson, Daniel)
                (Entered: 08/18/2021)
08/18/2021 1475 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1474
                MOTION to Exclude the Proposed Testimony of Kevin Murphy, Ph.D. . . Document
                filed by JBR, Inc. (d/b/a Rogers Family Company), JBR, Inc., Yelda Mesbah Bartlett,
                Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B. Burkley, Holly Ann
                Buss, Class Plaintiffs, Richard Constantino, John R Cusimano, Cusimano Carstar
                Collison Inc., William Daly, William Daly, Roger Davidson, Jonna Dugan, Michael J.
                Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando Herrera, Mary
                Hudson, Teena Marie Johnson, Darlene M. Kennedy, Keurig Green Mountain, Inc.,
                Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as
                successor to Keurig, Incorporated, Lori Jo Kirkhart, John Lohin, James G. Long,
                McLane Company, Inc., Brier Miller Minor, Tracy Elizabeth Moreno, David Wayne
                Nation, Patricia J. Nelson, Ney Silverman Insurance Associates, L.L.C., Ken Overton,
                Timothy Quackenbush, Julie Rainwater, Lorie Rehma, Sally Rizzo, Henry A. Rocker,
                Gregory Rose, Jeffrey Rosen, Lauren Jill Schneider, Shirley Schroeder, Todd W.
                Springer, Sturm Foods, Inc., Rhett Montgomery Tanselle, Treehouse Foods, Inc.,
                Constance Werthe, Toni Williams. Motion or Order to File Under Seal: 1436
                .(Johnson, Daniel) (Entered: 08/18/2021)
08/18/2021 1476 MEMORANDUM OF LAW in Support re: 1474 MOTION to Exclude the Proposed
                Testimony of Kevin Murphy, Ph.D. . . Document filed by JBR, Inc., JBR, Inc. (d/b/a
                Rogers Family Company)..(Johnson, Daniel) (Entered: 08/18/2021)
08/18/2021 1477 DECLARATION of Mario Moore in Support re: 1474 MOTION to Exclude the
                Proposed Testimony of Kevin Murphy, Ph.D. .. Document filed by JBR, Inc., JBR,
                Inc. (d/b/a Rogers Family Company)..(Moore, Mario) (Entered: 08/18/2021)
08/18/2021 1478 MOTION to Exclude the Proposed Testimony of Mark Wood . Document filed by
                JBR, Inc., JBR, Inc. (d/b/a Rogers Family Company)..(Johnson, Daniel) (Entered:
                08/18/2021)
08/18/2021 1479 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                1359 MOTION to Certify Class Direct Purchaser Plaintiffs' Motion for Class
                Certification and the Appointment of Class Representatives and Class Counsel. .
                Document filed by Class Plaintiffs. Motion or Order to File Under Seal: 1436
                .(Buchman, Michael) (Entered: 08/18/2021)




                                         Add.266
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page191 of 194
08/18/2021 1480 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1478
                MOTION to Exclude the Proposed Testimony of Mark Wood . . Document filed by
                JBR, Inc. (d/b/a Rogers Family Company), JBR, Inc., Yelda Mesbah Bartlett, Bay
                Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B. Burkley, Holly Ann Buss,
                Class Plaintiffs, Richard Constantino, John R Cusimano, Cusimano Carstar Collison
                Inc., William Daly, William Daly, Roger Davidson, Jonna Dugan, Michael J.
                Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando Herrera, Mary
                Hudson, Teena Marie Johnson, Darlene M. Kennedy, Keurig Green Mountain, Inc.,
                Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as
                successor to Keurig, Incorporated, Lori Jo Kirkhart, John Lohin, James G. Long,
                McLane Company, Inc., Brier Miller Minor, Tracy Elizabeth Moreno, David Wayne
                Nation, Patricia J. Nelson, Ney Silverman Insurance Associates, L.L.C., Ken Overton,
                Timothy Quackenbush, Julie Rainwater, Lorie Rehma, Sally Rizzo, Henry A. Rocker,
                Gregory Rose, Jeffrey Rosen, Lauren Jill Schneider, Shirley Schroeder, Todd W.
                Springer, Sturm Foods, Inc., Rhett Montgomery Tanselle, Treehouse Foods, Inc.,
                Constance Werthe, Toni Williams. Motion or Order to File Under Seal: 1436
                .(Johnson, Daniel) (Entered: 08/18/2021)
08/18/2021 1481 REPLY MEMORANDUM OF LAW in Support re: 1359 MOTION to Certify Class
                Direct Purchaser Plaintiffs' Motion for Class Certification and the Appointment of
                Class Representatives and Class Counsel. [Redacted]. Document filed by Class
                Plaintiffs..(Buchman, Michael) (Entered: 08/18/2021)
08/18/2021 1482 MEMORANDUM OF LAW in Support re: 1478 MOTION to Exclude the Proposed
                Testimony of Mark Wood . . Document filed by JBR, Inc., JBR, Inc. (d/b/a Rogers
                Family Company)..(Johnson, Daniel) (Entered: 08/18/2021)
08/18/2021 1483 DECLARATION of Mario Moore in Support re: 1478 MOTION to Exclude the
                Proposed Testimony of Mark Wood .. Document filed by JBR, Inc., JBR, Inc. (d/b/a
                Rogers Family Company)..(Moore, Mario) (Entered: 08/18/2021)
08/18/2021 1484 MOTION to Exclude the Proposed Testimony of Marc A. Hillmyer . Document filed
                by JBR, Inc., JBR, Inc. (d/b/a Rogers Family Company)..(Johnson, Daniel) (Entered:
                08/18/2021)
08/18/2021 1485 MEMORANDUM OF LAW in Support re: 1484 MOTION to Exclude the Proposed
                Testimony of Marc A. Hillmyer . . Document filed by JBR, Inc., JBR, Inc. (d/b/a
                Rogers Family Company)..(Johnson, Daniel) (Entered: 08/18/2021)
08/18/2021 1486 DECLARATION of Mario Moore in Support re: 1484 MOTION to Exclude the
                Proposed Testimony of Marc A. Hillmyer .. Document filed by JBR, Inc., JBR, Inc.
                (d/b/a Rogers Family Company)..(Moore, Mario) (Entered: 08/18/2021)
08/19/2021 1487 ***SELECTED PARTIES*** LETTER addressed to Judge Vernon S. Broderick
                from Michael M. Buchman dated August 19, 2021 re: Corrected Sealed Copy of
                DPPs' Reply in Support of Class Certification. Document filed by Holly Ann Buss,
                Jeffrey Rosen, Green Mountain Coffee Roasters, Inc., Bay Valley Foods, LLC,
                Keurig Incorporated, Darlene M. Kennedy, Lavinia Simona Biasell, Armando
                Herrera, Roger Davidson, Henry A. Rocker, Julie Rainwater, Timothy Quackenbush,
                Tracy Elizabeth Moreno, Lauren Jill Schneider, Constance Werthe, Kenneth B.
                Burkley, Gregory Rose, Keurig Green Mountain, Inc., McLane Company, Inc., Ney
                Silverman Insurance Associates, L.L.C., William Daly, Lorie Rehma, Shirley
                Schroeder, John R Cusimano, Richard Constantino, Mary Hudson, James G. Long,
                Matthew Hashem, Treehouse Foods, Inc., Todd W. Springer, Jonna Dugan, Teena
                Marie Johnson, JBR, Inc., Patricia J. Nelson, Ken Overton, Toni Williams, Patricia
                Hall, Lori Jo Kirkhart, William Daly, Keurig, Incorporated, Michael J. Flanagan,
                Amy Gray, Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc.,
                and as successor to Keurig, Incorporated, Sturm Foods, Inc., John Lohin, David
                Wayne Nation, Cusimano Carstar Collison Inc., Rhett Montgomery Tanselle, Yelda
                Mesbah Bartlett, Brier Miller Minor, Sally Rizzo, Class Plaintiffs. (Attachments: # 1
                Corrected Sealed Reply in Support of Class Certification)Motion or Order to File
                Under Seal: 1436 .(Buchman, Michael) (Entered: 08/19/2021)
08/23/2021 1488 ORDER re: 1438 Order. To date, the parties have neither filed proposed redactions
                nor sought an extension of the now−lapsed deadline to do so. Accordingly, the Clerk
                of Court is respectfully directed to make the Aug. 5, 2021 Order (ECF No. 1434)
                available to the public. SO ORDERED. (Signed by Magistrate Judge Sarah L Cave on




                                         Add.267
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page192 of 194

                   8/23/2021) (kv) (Entered: 08/23/2021)
08/25/2021 1489 MOTION for Summary Judgment by Plaintiffs. Document filed by Bay Valley Foods,
                LLC, Sturm Foods, Inc., Treehouse Foods, Inc...(Badini, Aldo) (Entered: 08/25/2021)
08/25/2021 1490 RULE 56.1 STATEMENT. Document filed by Bay Valley Foods, LLC, Sturm Foods,
                Inc., Treehouse Foods, Inc...(Badini, Aldo) (Entered: 08/25/2021)
08/25/2021 1491 ***SELECTED PARTIES***RULE 56.1 STATEMENT. Document filed by Bay
                Valley Foods, LLC, Treehouse Foods, Inc., Sturm Foods, Inc., Yelda Mesbah Bartlett,
                Lavinia Simona Biasell, Kenneth B. Burkley, Holly Ann Buss, Class Plaintiffs,
                Richard Constantino, John R Cusimano, Cusimano Carstar Collison Inc., William
                Daly, Roger Davidson, Jonna Dugan, Michael J. Flanagan, Amy Gray, Green
                Mountain Coffee Roasters, Inc., Patricia Hall, Matthew Hashem, Armando Herrera,
                Mary Hudson, JBR, Inc., JBR, Inc. (d/b/a Rogers Family Company), Teena Marie
                Johnson, Darlene M. Kennedy, Keurig Green Mountain, Inc., Keurig Green
                Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to
                Keurig, Incorporated, Lori Jo Kirkhart, John Lohin, James G. Long, McLane
                Company, Inc., Brier Miller Minor, Tracy Elizabeth Moreno, David Wayne Nation,
                Patricia J. Nelson, Ney Silverman Insurance Associates, L.L.C., Ken Overton,
                Timothy Quackenbush, Julie Rainwater, Lorie Rehma, Sally Rizzo, Henry A. Rocker,
                Gregory Rose, Jeffrey Rosen, Lauren Jill Schneider, Shirley Schroeder, Todd W.
                Springer, Rhett Montgomery Tanselle, Constance Werthe, Toni Williams. Motion or
                Order to File Under Seal: 1436 .(Badini, Aldo) (Entered: 08/25/2021)
08/25/2021 1492 MEMORANDUM OF LAW in Support re: 1489 MOTION for Summary Judgment
                by Plaintiffs. . Document filed by Bay Valley Foods, LLC, Sturm Foods, Inc.,
                Treehouse Foods, Inc...(Badini, Aldo) (Entered: 08/25/2021)
08/25/2021 1493 MOTION for Summary Judgment . Document filed by Keurig Green Mountain, Inc.,
                f/k/a Green Mountain Coffee Roasters, Inc., and as successor to Keurig,
                Incorporated..(Brannon, Leah) (Entered: 08/25/2021)
08/25/2021 1494 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1493
                MOTION for Summary Judgment . . Document filed by Keurig Green Mountain, Inc.,
                f/k/a Green Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated,
                Yelda Mesbah Bartlett, Bay Valley Foods, LLC, Lavinia Simona Biasell, Kenneth B.
                Burkley, Holly Ann Buss, Class Plaintiffs, Richard Constantino, John R Cusimano,
                Cusimano Carstar Collison Inc., William Daly, William Daly, Roger Davidson, Jonna
                Dugan, Michael J. Flanagan, Amy Gray, Patricia Hall, Matthew Hashem, Armando
                Herrera, Mary Hudson, JBR, Inc., Teena Marie Johnson, Darlene M. Kennedy, Lori
                Jo Kirkhart, John Lohin, James G. Long, McLane Company, Inc., Brier Miller Minor,
                Tracy Elizabeth Moreno, David Wayne Nation, Patricia J. Nelson, Ney Silverman
                Insurance Associates, L.L.C., Ken Overton, Timothy Quackenbush, Julie Rainwater,
                Lorie Rehma, Sally Rizzo, Henry A. Rocker, Gregory Rose, Jeffrey Rosen, Lauren
                Jill Schneider, Shirley Schroeder, Todd W. Springer, Sturm Foods, Inc., Rhett
                Montgomery Tanselle, Treehouse Foods, Inc., Constance Werthe, Toni Williams.
                Motion or Order to File Under Seal: 1436 .(Brannon, Leah) (Entered: 08/25/2021)
08/25/2021 1495 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 1489
                MOTION for Summary Judgment by Plaintiffs. . Document filed by Bay Valley
                Foods, LLC, Treehouse Foods, Inc., Sturm Foods, Inc., Yelda Mesbah Bartlett,
                Lavinia Simona Biasell, Kenneth B. Burkley, Holly Ann Buss, Class Plaintiffs,
                Richard Constantino, John R Cusimano, Cusimano Carstar Collison Inc., William
                Daly, Roger Davidson, Jonna Dugan, Michael J. Flanagan, Amy Gray, Green
                Mountain Coffee Roasters, Inc., Patricia Hall, Matthew Hashem, Armando Herrera,
                Mary Hudson, JBR, Inc., JBR, Inc. (d/b/a Rogers Family Company), Teena Marie
                Johnson, Darlene M. Kennedy, Keurig Green Mountain, Inc., Keurig Green
                Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to
                Keurig, Incorporated, Lori Jo Kirkhart, John Lohin, James G. Long, McLane
                Company, Inc., Brier Miller Minor, Tracy Elizabeth Moreno, David Wayne Nation,
                Patricia J. Nelson, Ney Silverman Insurance Associates, L.L.C., Ken Overton,
                Timothy Quackenbush, Julie Rainwater, Lorie Rehma, Sally Rizzo, Henry A. Rocker,
                Gregory Rose, Jeffrey Rosen, Lauren Jill Schneider, Shirley Schroeder, Todd W.
                Springer, Rhett Montgomery Tanselle, Constance Werthe, Toni Williams. Motion or
                Order to File Under Seal: 1436 .(Badini, Aldo) (Entered: 08/25/2021)




                                         Add.268
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page193 of 194
08/25/2021 1496 ***SELECTED PARTIES***RULE 56.1 STATEMENT. Document filed by Keurig
                Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to
                Keurig, Incorporated, Yelda Mesbah Bartlett, Bay Valley Foods, LLC, Lavinia
                Simona Biasell, Kenneth B. Burkley, Holly Ann Buss, Class Plaintiffs, Richard
                Constantino, John R Cusimano, Cusimano Carstar Collison Inc., William Daly,
                William Daly, Roger Davidson, Jonna Dugan, Michael J. Flanagan, Amy Gray,
                Patricia Hall, Matthew Hashem, Armando Herrera, Mary Hudson, JBR, Inc., Teena
                Marie Johnson, Darlene M. Kennedy, Lori Jo Kirkhart, John Lohin, James G. Long,
                McLane Company, Inc., Brier Miller Minor, Tracy Elizabeth Moreno, David Wayne
                Nation, Patricia J. Nelson, Ney Silverman Insurance Associates, L.L.C., Ken Overton,
                Timothy Quackenbush, Julie Rainwater, Lorie Rehma, Sally Rizzo, Henry A. Rocker,
                Gregory Rose, Jeffrey Rosen, Lauren Jill Schneider, Shirley Schroeder, Todd W.
                Springer, Sturm Foods, Inc., Rhett Montgomery Tanselle, Treehouse Foods, Inc.,
                Constance Werthe, Toni Williams. Motion or Order to File Under Seal: 1436
                .(Brannon, Leah) (Entered: 08/25/2021)
08/25/2021 1497 DECLARATION of Aldo A. Badini in Support re: 1489 MOTION for Summary
                Judgment by Plaintiffs.. Document filed by Bay Valley Foods, LLC, Sturm Foods,
                Inc., Treehouse Foods, Inc...(Badini, Aldo) (Entered: 08/25/2021)
08/25/2021 1498 MEMORANDUM OF LAW in Support re: 1493 MOTION for Summary Judgment .
                [Redacted]. Document filed by Keurig Green Mountain, Inc., f/k/a Green Mountain
                Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Brannon, Leah)
                (Entered: 08/25/2021)
08/25/2021 1499 RULE 56.1 STATEMENT. Document filed by Keurig Green Mountain, Inc., f/k/a
                Green Mountain Coffee Roasters, Inc., and as successor to Keurig,
                Incorporated..(Brannon, Leah) (Entered: 08/25/2021)
08/31/2021 1500 TRANSCRIPT of Proceedings re: CONFERENCE held on 6/4/2021 before Judge
                Vernon S. Broderick. Court Reporter/Transcriber: Pamela Utter, (212) 805−0300.
                Transcript may be viewed at the court public terminal or purchased through the Court
                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                that date it may be obtained through PACER. Redaction Request due 9/21/2021.
                Redacted Transcript Deadline set for 10/1/2021. Release of Transcript Restriction set
                for 11/29/2021.Filed In Associated Cases: 1:14−md−02542−VSB−SLC et al..(Moya,
                Goretti) (Entered: 08/31/2021)
08/31/2021 1501 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                official transcript of a CONFERENCE proceeding held on 6/4/21 has been filed by
                the court reporter/transcriber in the above−captioned matter. The parties have seven
                (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                transcript. If no such Notice is filed, the transcript may be made remotely
                electronically available to the public without redaction after 90 calendar days...Filed
                In Associated Cases: 1:14−md−02542−VSB−SLC et al..(Moya, Goretti) (Entered:
                08/31/2021)
09/08/2021 1502 PROPOSED STIPULATION AND ORDER. Document filed by Keurig Green
                Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to
                Keurig, Incorporated..(Malm, Carl) (Entered: 09/08/2021)
09/08/2021 1503 CERTIFICATE OF SERVICE of Proposed Order and Stipulation served on BJ's
                Wholesale Club, Inc. on 9/8/2021. Document filed by Keurig Green Mountain, Inc.,
                f/k/a Green Mountain Coffee Roasters, Inc., and as successor to Keurig,
                Incorporated..(Malm, Carl) (Entered: 09/08/2021)
09/14/2021 1504 ANSWER to Complaint with JURY DEMAND. Document filed by Keurig Green
                Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to
                Keurig, Incorporated..(Brannon, Leah) (Entered: 09/14/2021)
09/14/2021 1505 CERTIFICATE OF SERVICE of Keurig's Answer to BJ's Wholesale Club, Inc.'s
                Complaint served on BJ's Wholesale Club, Inc. on 9/14/2021. Document filed by
                Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as
                successor to Keurig, Incorporated..(Fitzpatrick, Christopher) (Entered: 09/14/2021)
09/22/2021 1506 TRANSCRIPT of Proceedings re: Telephone Conference held on 8/3/2021 before
                Magistrate Judge Sarah L. Cave. Court Reporter/Transcriber: Carole Ludwig, (212)
                420−0771. Transcript may be viewed at the court public terminal or purchased



                                          Add.269
      Case 22-2079, Document 48, 04/20/2023, 3502340, Page194 of 194

                    Exhibit Z − Macartney Report, # 28 Exhibit AA − Macartney Reply Report, # 29
                    Exhibit BB − Sibley Report, # 30 Exhibit EE − Ugone Rebuttal Report)Motion or
                    Order to File Under Seal: 1828 .(Badini, Aldo) (Entered: 04/28/2022)
04/28/2022 1830 LETTER addressed to Judge Vernon S. Broderick from Aldo A. Badini dated April
                28, 2022 re: Essendant and Staples' Updated Letter to Seal and Redact Confidential
                Information. Document filed by Bay Valley Foods, LLC, Sturm Foods, Inc.,
                Treehouse Foods, Inc.. (Attachments: # 1 Exhibit 1 − Essendant and Staples' Updated
                Letter Request, # 2 Exhibit A − ESND0000033 (Filed Under Seal), # 3 Exhibit B −
                ESND0000972−82 (Redacted), # 4 Exhibit C − ESND0002757 (Redacted), # 5
                Exhibit D − ESND0002762 (Redacted), # 6 Exhibit E − ESND0002763 (Redacted), #
                7 Exhibit F − ESND0005997−6005 (Redacted), # 8 Exhibit G − ESND0007144
                (Redacted), # 9 Exhibit H − ESND0009403 (Redacted), # 10 Exhibit I −
                STAPLES000023 (Redacted), # 11 Exhibit J − STAPLES000057 (Filed Under Seal),
                # 12 Exhibit K − STAPLES000071 (Redacted), # 13 Exhibit L − STAPLES000279
                (Redacted), # 14 Exhibit M − STAPLES000235 (Redacted), # 15 Exhibit N −
                STAPLES000263 (Redacted), # 16 Exhibit O − Exhibit H4 (Redacted), # 17 Exhibit
                P − Exhibit H14 (Redacted), # 18 Exhibit Q − ESND0012338−341 (Redacted), # 19
                Exhibit R − ESND0016287−293 (Redacted), # 20 Exhibit S − ESND0016327−328
                (Redacted), # 21 Exhibit T − ESND0031766−770 (Redacted), # 22 Exhibit U −
                Exhibit A246 (Redacted), # 23 Exhibit V − ECF 1565 − EX. 0469 (Redacted), # 24
                Exhibit W − ECF 1565 − Ex. 0705 (Redacted), # 25 Exhibit X − Haider Report
                (Redacted), # 26 Exhibit Y − French Report (Redacted), # 27 Exhibit Z − Macartney
                Report (Redacted), # 28 Exhibit AA − Macartney Reply Report (Redacted), # 29
                Exhibit BB − Sibley Report (Redacted), # 30 Exhibit CC − Sibley Reply Report, # 31
                Exhibit DD − Stiroh Report, # 32 Exhibit EE − Ugone Rebuttal Report
                (Redacted)).(Badini, Aldo) (Entered: 04/28/2022)
04/28/2022 1831 LETTER addressed to Judge Vernon S. Broderick from Leah Brannon dated April 28,
                2022 re: Response to Notice of Supplemental Authority, ECF 1819. Document filed
                by Keurig Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as
                successor to Keurig, Incorporated..(Brannon, Leah) (Entered: 04/28/2022)
05/02/2022 1832 REPLY MEMORANDUM OF LAW in Support re: 1816 MOTION and Objections to
                Magistrate Judge Cave's March 28, 2022 Opinion & Order re: 1806 Memorandum &
                Opinion,,,,,,,,,,,, . . Document filed by Keurig Green Mountain, Inc., f/k/a Green
                Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated..(Newton,
                Wendelynne) (Entered: 05/02/2022)
05/02/2022 1833 DECLARATION of Wendelynne J. Newton in Support re: 1816 MOTION and
                Objections to Magistrate Judge Cave's March 28, 2022 Opinion & Order re: 1806
                Memorandum & Opinion,,,,,,,,,,,, .. Document filed by Keurig Green Mountain, Inc.,
                f/k/a Green Mountain Coffee Roasters, Inc., and as successor to Keurig, Incorporated.
                (Attachments: # 1 Exhibit 1 − 1/30/14 Ferguson Email, # 2 Exhibit 2 − 1/29/14
                Ferguson Email, # 3 Exhibit 3 − Plaintiffs' Deposition Exhibit 2174).(Newton,
                Wendelynne) (Entered: 05/02/2022)
05/16/2022 1834 ORDER re: (1819 in 1:14−md−02542−VSB−SLC) Letter, filed by Kenneth B.
                Burkley, Sally Rizzo, Henry A. Rocker, Roger Davidson, James G. Long, Todd W.
                Springer. Accordingly, it is hereby: ORDERED that Plaintiffs' request for a trial date
                is DENIED. If necessary, following my resolution of the pending motions on
                summary judgment, (Docs. 1489, 1493), I will ask the parties to meet and confer and
                provide me with possible dates for trial. SO ORDERED. (Signed by Judge Vernon S.
                Broderick on 5/16/2022) Filed In Associated Cases: 1:14−md−02542−VSB−SLC et
                al. (kv) (Entered: 05/16/2022)
05/20/2022 1835 MOTION for Megan P. Fitzgerald to Withdraw as Attorney . Document filed by Bay
                Valley Foods, LLC, Sturm Foods, Inc., Treehouse Foods, Inc...(Fitzgerald, Megan)
                (Entered: 05/20/2022)
05/20/2022 1836 DECLARATION of Megan P. Fitzgerald in Support re: 1835 MOTION for Megan P.
                Fitzgerald to Withdraw as Attorney .. Document filed by Bay Valley Foods, LLC,
                Sturm Foods, Inc., Treehouse Foods, Inc...(Fitzgerald, Megan) (Entered: 05/20/2022)
05/27/2022 1837 JOINT LETTER MOTION for Extension of Time addressed to Judge Vernon S.
                Broderick from Carl Lawrence Malm dated May 27, 2022. Document filed by Keurig
                Green Mountain, Inc., f/k/a Green Mountain Coffee Roasters, Inc., and as successor to




                                          Add.270
